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Proposed Attorneys for the Debtors and
Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                           )
In re:                                                     )   Chapter 11
                                                           )
AMF BOWLING WORLDWIDE, INC., et al.,1                      )   Case No. 12-36495 (___)
                                                           )
                                    Debtors.               )   (Joint Administration Requested)
                                                           )

        DEBTORS’ MOTION FOR ENTRY OF AN ORDER DETERMINING
     ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE UTILITY SERVICES

          AMF Bowling Worldwide, Inc., and certain of its affiliates, as debtors and debtors in

possession (collectively, the “Debtors”), file this motion seeking entry of an order (the “Order”),

substantially in the form attached hereto as Exhibit A, determining the adequate assurance of



1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
    (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers
    Holdings Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF
    Holdings, Inc. (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc. (1641);
    Boliches AMF, Inc. (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin
    Holdings, LLC (5411); and Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is:
    7313 Bell Creek Road, Mechanicsville, Virginia 23111.



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payment for future utility services. In support of this motion, the Debtors respectfully state as

follows.2

                                                Jurisdiction

        1.      The United States Bankruptcy Court for the Eastern District of Virginia

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory bases for the relief requested herein are sections 105(a) and 366 of

the Bankruptcy Code, Rule 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rule 9013-1 of the Local Rules of the United States Bankruptcy Court for the

Eastern District of Virginia (the “Local Bankruptcy Rules”).

                                             Relief Requested

        4.      By this motion, the Debtors seek entry of the Order (a) determining that the

Utility Providers (as defined herein) have been provided with adequate assurance of payment

within the meaning of section 366 of the Bankruptcy Code, (b) approving the Debtors’ proposed

offer of adequate assurance and procedures governing the Utility Providers’ requests for

additional or different adequate assurance, (c) prohibiting the Utility Providers from altering,

refusing, or discontinuing services on account of prepetition amounts outstanding and on account

of any perceived inadequacy of the Debtors’ proposed adequate assurance, and (d) determining




2   A detailed description of the Debtors and their businesses, and the facts and circumstances supporting this
    motion and the Debtors’ chapter 11 cases, are set forth in greater detail in the Declaration of Stephen D.
    Satterwhite, Chief Financial Officer and Chief Operating Officer of AMF Bowling Worldwide, Inc., in Support
    of the Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day Declaration”), filed
    contemporaneously with the Debtors’ voluntary petitions for relief filed under chapter 11 of title 11 of the
    United States Code (the “Bankruptcy Code”), on November 12, 2012 (the “Petition Date”).

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that the Debtors are not required to provide any additional adequate assurance beyond what is

proposed by this motion.

                                        The Debtors’ Utility Providers

           5.     As set forth in the First Day Declaration, in the ordinary course of business, the

Debtors incur expenses for water, sewer, electric, natural gas, telecommunications, and waste

removal utility services provided by approximately 400 utility providers (collectively,

the “Utility Providers”). A list of the Utility Providers who render services to the Debtors as of

the Petition Date is provided on Exhibit 1 to Exhibit A attached hereto (the “Utility Service

List”).3

           6.     On average, the Debtors have spent approximately $2.15 million each month on

utility costs calculated over the past twelve months. Such services are essential to the Debtors’

ongoing operations and, therefore, to the success of their transition into chapter 11.                             Any

interruption of utility services—even for a brief period of time—would negatively affect the

Debtors’ operations, customer relationships, revenues, and profits, thereby seriously jeopardizing

the Debtors and their estates and, ultimately, the Debtors’ enterprise value and creditor

recoveries. It is critical that utility services continue on an uninterrupted basis during the chapter

11 cases.

I.         The Proposed Adequate Assurance.

           7.     The Debtors intend to pay postpetition obligations owed to the Utility Providers in

the ordinary course of business. The Debtors expect that their cash flow from operations, cash



3    Although the Debtors believe that the Utility Service List includes all of their Utility Providers, the Debtors
     reserve the right to supplement the Utility Service List if any Utility Provider has been inadvertently omitted.
     Additionally, the listing of an entity on the Utility Service List is not an admission that such entity is a utility
     within the meaning of section 366 of the Bankruptcy Code, and the Debtors reserve the right to contest any such
     characterization in the future.

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on hand, and postpetition financing will be sufficient to satisfy postpetition obligations related to

their utility services.

        8.       Nevertheless, to provide additional assurance of payment for future services to the

Utility Providers, the Debtors propose to deposit $1.075 million (the “Adequate Assurance

Deposit”), into a segregated, interest-bearing account (the “Adequate Assurance Deposit

Account”) within 3 business days following entry of the Order. The amount of the Adequate

Assurance Deposit approximately equals the estimated aggregate cost for two weeks of utility

service, calculated as a historical average over the past 12 months. The Adequate Assurance

Deposit will be held for the benefit of Utility Providers during the pendency of the chapter 11

cases. If any Utility Provider believes that additional assurance is required, that Utility Provider

may request such assurance pursuant to the procedures set forth below.4

        9.       The Debtors further propose that by failing to object to the proposed Adequate

Assurance Deposit pursuant to the procedures set forth below, the Utility Provider shall be

deemed to have (a) stipulated that the Adequate Assurance Deposit constitutes adequate

assurance of payment to such Utility Provider within the meaning of section 366 of the

Bankruptcy Code, and (b) waived any and all rights to seek additional or different adequate

assurance during the course of the chapter 11 cases.

        10.      The Debtors submit that the Adequate Assurance Deposit, in conjunction with the

Debtors’ demonstrated ability to pay for future utility services in the ordinary course of business

(together, the “Proposed Adequate Assurance”), constitutes sufficient adequate assurance to the

Utility Providers.


4   The Debtors further request that any Adequate Assurance Deposit required by, and deposited into the Adequate
    Assurance Deposit Account on behalf of, any Utility Provider pursuant to the procedures described herein be
    returned to the Debtors promptly upon the earlier of: (a) the Debtors’ termination of such Utility Provider’s
    services; or (b) the conclusion of the chapter 11 cases.

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       11.      Moreover, in light of the severe consequences to the Debtors of any interruption

in services by the Utility Providers, while at the same time recognizing the right of the Utility

Providers to evaluate the Proposed Adequate Assurance on a case-by-case basis, the Debtors

propose that the Court approve and adopt the following procedures (the “Adequate Assurance

Procedures”):

                a.     Within three business days after entry of the Order, the Debtors will mail a
                       copy of the Order to the Utility Providers on the Utility Service List.

                b.     If a Utility Provider is not satisfied with the Proposed Adequate Assurance
                       and seeks additional assurance of payment in the form of deposits,
                       prepayments or otherwise, such Utility Provider must serve a request
                       (an “Additional Assurance Request”) upon: (i) AMF Bowling Worldwide,
                       Inc., 7313 Bell Creek Road, Mechanicsville, Virginia 23111, Attn.: Dan
                       McCormack (dmccormack@amf.com); (ii) proposed co-counsel to the
                       Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New
                       York 10022, Attn.: Joshua A. Sussberg (joshua.sussberg@kirkland.com),
                       and Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654,
                       Attn.: Jeffrey D. Pawlitz (jeffrey.pawlitz@kirkland.com) and Michael W.
                       Weitz (michael.weitz@kirkland.com); and (iii) proposed co-counsel to the
                       Debtors, McGuireWoods LLP, One James Center, 901 East Cary Street,
                       Richmond,       Virginia      23219,     Attn.:       Sarah   B.    Boehm
                       (sboehm@mcguirewoods.com) (collectively, the “Notice Parties”).

                c.     Any Additional Assurance Request must: (i) be made in writing; (ii) set
                       forth the location for which utility services are provided; (iii) include a
                       summary of the Debtors’ payment history relevant to the affected
                       account(s), including any security deposits; (iv) certify the amount that is
                       equal to two weeks of utility service it provides to the Debtors, calculated
                       as a historical average over the past twelve months; (v) certify that it
                       currently is not paid in advance for its services; and (vi) explain why the
                       Utility Provider believes the Debtors’ Proposed Adequate Assurance is not
                       sufficient adequate assurance of future payment.

                d.     Upon the Debtors’ receipt of any Additional Assurance Request at the
                       addresses set forth above, the Debtors shall have twenty-one days from the
                       receipt of such Additional Assurance Request (the “Resolution Period”) to
                       negotiate with such Utility Provider to resolve such Utility Provider’s
                       request for additional assurance of payment.

                e.     The Debtors may, in their sole discretion, resolve any Additional
                       Assurance Request by mutual agreement with the Utility Provider and
                       without further notice to or order of the Court, and may, in connection

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                      with any such agreement, in their sole discretion, provide a Utility
                      Provider with additional adequate assurance of future payment, including,
                      but not limited to, cash deposits, prepayments, and other forms of security,
                      without further order of the Court if the Debtors believe such additional
                      assurance is reasonable.

               f.     If the Debtors determine that the Additional Assurance Request is not
                      reasonable and are not able to reach an alternative resolution with the
                      Utility Provider during the Resolution Period, the Debtors, during or
                      immediately after the Resolution Period, will request a hearing before the
                      Court at the next regularly scheduled omnibus hearing that is scheduled on
                      a date that is at least 5 business days after the conclusion of the Resolution
                      Period to determine the adequacy of assurances of payment with respect to
                      a particular Utility Provider (the “Determination Hearing”) pursuant to
                      section 366(c)(3) of the Bankruptcy Code.

               g.     Pending resolution of any such hearing, the Utility Provider filing such
                      Additional Assurance Request shall be prohibited from altering, refusing,
                      or discontinuing service to the Debtors on account of unpaid charges for
                      prepetition services or on account of any objections to the Debtors’
                      Proposed Adequate Assurance.

               h.     The Proposed Adequate Assurance shall be deemed adequate assurance of
                      payment for any Utility Provider that does not make an Additional
                      Assurance Request.

       12.     The Debtors further request that, absent compliance with the Adequate Assurance

Procedures, the Utility Providers are forbidden to alter, refuse, or discontinue service on account

of any prepetition charges, or require additional assurance of payment other than the Proposed

Adequate Assurance.

II.    Subsequent Modifications.

       13.     To the extent that the Debtors subsequently identify additional providers of utility

services, the Debtors seek authority to amend the Utility Service List to add or remove any

Utility Provider. The Debtors further request that the Court make the Order apply to any such

subsequently identified Utility Provider, regardless of when each Utility Provider was added to

the Utility Service List. The Debtors shall have the period specified in the proposed Adequate

Assurance Procedures to seek to resolve any subsequently added Utility Provider’s Additional

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     Assurance Request by mutual agreement with the Utility Provider without further notice to or

     order of the Court or to schedule a Determination Hearing with the Court to determine the

     adequacy of assurance of payment with respect to such Utility Provider in accordance with such

     Adequate Assurance Procedures.

            14.     The Debtors request that all Utility Providers, including subsequently added

     Utility Providers, be prohibited from altering, refusing, or discontinuing utility services to the

     Debtors absent further order of the Court.

                                              Basis for Relief

I.      The Debtors’ Proposed Adequate Assurance Constitutes Adequate Assurance of Future
        Payment as Required Under Section 366 of the Bankruptcy Code.

            15.     Section 366(c)(2) of the Bankruptcy Code provides that a utility provider may

     discontinue its services to a debtor if the debtor has not furnished adequate assurance of payment

     within 30 days after the petition date. Congress enacted section 366 of the Bankruptcy Code to

     protect debtors from utility service cutoffs upon a bankruptcy filing while also providing utility

     companies with adequate assurance that the debtors will pay for postpetition services. See H.R.

     Rep. No. 95-595, at 350 (1978), reprinted in 1978 U.S.C.C.A.N. 5963, 6306. Accordingly,

     section 366 of the Bankruptcy Code protects debtors by prohibiting utilities from altering,

     refusing, or discontinuing services to a debtor solely on account of unpaid prepetition amounts

     for a period of 30 days after a chapter 11 filing. At the same time, it protects utilities by

     permitting them to alter, refuse, or discontinue service after 30 days if the debtor has not

     furnished “adequate assurance” of payment in a form “satisfactory” to the utility provider.

            16.     Section 366(c) of the Bankruptcy Code also restricts the factors that a court may

     consider when determining whether an adequate assurance payment is, in fact, adequate.

     Specifically, courts may no longer consider: (a) the absence of a security deposit before the


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debtors’ petition date; (b) the debtors’ history of timely payments; or (c) the availability of an

administrative expense priority when determining the amount of a deposit. 11 U.S.C. § 366(c).

Notwithstanding these changes, it does not appear that Congress intended to—or did—abrogate

the bankruptcy court’s ability to determine the amount of adequate assurance necessary or

change the fundamental requirement that assurance of payment must simply be “adequate.”

       17.     Thus, while section 366(c) of the Bankruptcy Code limits the factors a court can

consider when determining whether a debtor has provided adequate assurance of payment, it

does not limit the court’s ability to determine the amount of payment necessary, if any, to

provide such adequate assurance. Instead, section 366(c) of the Bankruptcy Code gives courts

the same discretion in determining the amount of payment necessary for adequate assurance that

they previously had under section 366(b) of the Bankruptcy Code.             Compare 11 U.S.C.

§ 366(b) (2005) (“On request of a party in interest and after notice and a hearing, the court may

order reasonable modification of the amount of the deposit or other security necessary to provide

adequate assurance of payment”) with 11 U.S.C. § 366(c)(3)(a) (2005) (“On request of a party in

interest and after notice and a hearing, the court may order modification of the amount of an

assurance payment under paragraph (2).”).

       18.     In addition, it is well-established that section 366(b) of the Bankruptcy Code

permits a court to find that no adequate assurance payment at all is necessary to provide a utility

with adequate assurance of payment. See Va. Elec. & Power Co. v. Caldor Inc.-N.Y., 117 F.3d

646, 650 (2d Cir. 1997) (“Even assuming that ‘other security’ should be interpreted narrowly . . .

a bankruptcy court’s authority to ‘modify’ the level of the ‘deposit or other security’ provided for

under § 366(b), includes the power to require ‘no deposit or other security’ where none is

necessary to provide a utility supplier with ‘adequate assurance of payment.’”). This principle


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may be applicable in cases where the debtor has made prepetition deposits or prepayments for

services that utilities will ultimately render postpetition.    See 11 U.S.C. § 366(c)(1)(A)(v)

(recognizing a prepayment for postpetition services as adequate assurance). Accordingly, even

after the recent revisions to section 366 of the Bankruptcy Code, courts continue to have

discretion to determine the amount of adequate assurance payments and, where appropriate, to

determine that no such payment is necessary.

       19.     Finally, section 366(c) of the Bankruptcy Code, like section 366(b) of the

Bankruptcy Code, requires only that a utility’s assurance of payment be “adequate.” Courts

recognize that adequate assurance of performance does not constitute an absolute guarantee of a

Debtors’ ability to pay. See, e.g., In re Steinebach, 303 B.R. 634, 641 (Bankr. D. Ariz. 2004)

(“Adequate assurance of payment is not, however, absolute assurance . . . a Bankruptcy Court is

not required to give a utility company the equivalent of a guarantee of payment, but must only

determine that the utility is not subject to any unreasonable risk of non-payment for postpetition

services.”) (citing In re Adelphia Bus. Solutions, Inc., 280 B.R. 63, 80 (Bankr. S.D.N.Y. 2002));

see also In re Caldor, Inc.-N.Y., 199 B.R. 1, 3 (Bankr. S.D.N.Y. 1996) (section 366(b) “does not

require an ‘absolute guarantee of payment’”), aff’d sub nom. Va. Elec. & Power Co. v. Caldor,

Inc.-N.Y., 117 F.3d 646 (2d Cir. 1997).

       20.     Courts also have recognized that, in determining the requisite level of adequate

assurance, bankruptcy courts should “focus upon the need of the utility for assurance, and to

require that the debtor supply no more than that, since the debtor almost perforce has a

conflicting need to conserve scarce financial resources.” Va. Elec. & Power Co., 117 F.2d

at 650; see also In re Penn. Cent. Transp. Co., 467 F.2d 100, 103-04 (3d Cir. 1972) (affirming

the bankruptcy court’s ruling that no utility deposits were necessary where such deposits likely


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would “jeopardize the continuing operation of the [debtor] merely to give further security to

suppliers who already are reasonably protected”). Accordingly, demands by a Utility Provider

for a guarantee of payment should be refused when the Debtors’ specific circumstances already

afford adequate assurance of payment.

       21.     Based upon the foregoing, the Debtors submit that the Proposed Adequate

Assurance provides more than adequate assurance of future payment to the Utility Providers.

Furthermore, the Debtors expect that their revenue from continued operations, their available

cash on hand, and postpetition financing will be sufficient to pay their operating costs, including

utility costs, as they come due. In addition, the Debtors’ reliance on utility services for the

operation of their business provides them with a powerful incentive to stay current on their utility

obligations. These factors, which the Court may (and should) consider when determining the

amount of any adequate assurance payments, justify a finding that the Proposed Adequate

Assurance are more than sufficient to assure the Utility Providers of future payment.

       22.     As discussed, section 366 of the Bankruptcy Code recognizes the necessity of

continuous utility services and prohibits the Utility Providers from altering, refusing, or

discontinuing utility services to, or discriminating against, the Debtors due to either their

bankruptcy filing or any outstanding prepetition obligations for a period of thirty days after the

commencement of the chapter 11 cases. At the conclusion of that thirty day period, however, a

utility company may discontinue services if a debtor has not furnished adequate assurance of

payment. 11 U.S.C. § 366(c)(2).

       23.     The proposed Adequate Assurance Procedures are therefore necessary for the

Debtors to carry out their reorganization efforts. If they are not approved, the Debtors could be

forced to address numerous requests by their Utility Providers in a disorganized manner at a


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critical point in their reorganization. Moreover, the Debtors could be blindsided by a Utility

Provider unilaterally deciding—on or after the 30th day following the Petition Date—that it is

not adequately protected and discontinuing service or making an exorbitant demand for payment

to continue service. Such discontinuation of utility service could put the Debtors’ reorganization

efforts in jeopardy.

        24.      Under the circumstances of the chapter 11 cases, the Debtors believe that the

establishment of the Adequate Assurance Deposit, in an amount that is substantial relative to the

Debtors’ estimated monthly utilities consumption, constitutes adequate assurance of payment

under section 366(c) of the Bankruptcy Code. Courts in this district have regularly granted

similar relief to that requested herein in previous chapter 11 cases. See, e.g., In re Bear Island

Paper Co., L.L.C., No. 10-31202 (DOT) (Bankr. E.D. Va. Mar. 25, 2010); In re Movie Gallery,

Inc., No. 10-30696 (DOT) (Bankr. E.D. Va. Feb. 3, 2010); In re Ennstone, Inc., No. 09-31204

(DOT) (Bankr. E.D. Va. Feb. 27, 2009); In re S & K Famous Brands, Inc., No. 09-30805 (KRH)

(Bankr. E.D. Va. Feb. 10, 2009); In re LandAmerica Fin. Grp., Inc., No. 08-35994 (KRH)

(Bankr. E.D. Va. Nov. 28, 2008); In re Circuit City Stores, Inc., No. 08-35653 (KRH) (Bankr.

E.D. Va. Nov. 10, 2008); In re Movie Gallery, Inc., No. 07-33849 (DOT) (Bankr. E.D. Va.

Nov. 17, 2007); In re Rowe Furniture, Inc., No. 06-11143 (RGM) (Bankr. E.D. Va.

Oct. 23, 2006); In re Rowe Cos., No. 06-11142 (SSM) (Bankr. E.D. Va. Oct. 23, 2006); In re

Storehouse, Inc., No. 06-11144 (BFK) (Bankr. E.D. Va. Oct. 23, 2006).5

                     The Requirements of Bankruptcy Rule 6003 are Satisfied

        25.      Pursuant to Bankruptcy Rule 6003, the Court may grant relief regarding a motion

to pay all or part of a prepetition claim within 21 days after the Petition Date if the relief is


5   Because of the voluminous nature of the orders cited herein, such orders are not attached to this motion. Copies
    of these orders are available upon request of the Debtors’ proposed counsel.

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necessary to avoid immediate and irreparable harm. Immediate and irreparable harm exists

where the absence of relief would impair the debtor’s ability to reorganize or threaten the

debtor’s future as a going concern. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 36 n.2

(Bankr. S.D.N.Y. 1990) (discussing the elements of “immediate and irreparable harm” in relation

to Bankruptcy Rule 4001).

       26.     As described above, the Debtors believe any interruption of utility services could

seriously jeopardize the Debtors’ reorganization efforts and, ultimately, their value and creditor

recoveries. Accordingly, the Debtors submit they have satisfied Bankruptcy Rule 6003 to

support payment of the Adequate Assurance Deposit.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

       27.     To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).

                     Waiver of Memorandum of Points and Authorities

       28.     The Debtors respectfully request that the Court treat this motion as a written

memorandum of points and authorities or waive any requirement that this motion be

accompanied by a written memorandum of points and authorities as described in Local

Bankruptcy Rule 9013-1(G).

                              The Debtors’ Reservation of Rights

       29.     Nothing contained herein is intended or should be construed as an admission of

the validity of any claim against the Debtors, a waiver of the Debtors’ rights to dispute any

claim, or an approval or assumption of any agreement, contract, or lease under section 365 of the

Bankruptcy Code. The Debtors expressly reserve their right to contest any invoice or claim

related to the relief requested herein in accordance with applicable non-bankruptcy law.

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Likewise, if the Court grants the relief sought herein, any deposit made pursuant to the Court’s

order is not intended and should not be construed as an admission as to the validity of any claim

or a waiver of the Debtors’ rights to dispute such claim subsequently.

                                                Notice

        30.     The Debtors have provided notice of this motion to the following parties or, in

lieu thereof, to their counsel, if known: (a) the Office of the U.S. Trustee for the Eastern District

of Virginia; (b) the entities listed on the consolidated list of creditors holding the thirty largest

unsecured claims; (c) the agent for the Debtors’ proposed debtor-in-possession financing facility;

(d) the agent for the Debtors’ prepetition first lien credit facility; (e) the ad hoc group of first lien

lenders; (f) the agent for the Debtors’ prepetition second lien credit facility; (g) the ad hoc group

of second lien lenders; (h) any party that may have a particular interest in this motion; and (i) any

party that has requested notice pursuant to Bankruptcy Rule 2002. In light of the nature of the

relief requested herein, the Debtors respectfully submit that no further notice is necessary.

                                          No Prior Request

        31.     No prior request for the relief sought in this motion has been made to this or any

other court.

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       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

granting such other relief as is just and proper.

 Dated: November 12, 2012
        Richmond, Virginia                          By: /s/ Dion W. Hayes
                                                    Dion W. Hayes (VSB No. 34304)
                                                    John H. Maddock III (VSB No. 41011)
                                                    Sarah B. Boehm (VSB No. 45201)
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                                                            - and -

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                                                    Proposed Attorneys for the Debtors and
                                                    Debtors in Possession
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                                 EXHIBIT A

                                Proposed Order
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Proposed Attorneys for the Debtors and
Debtors in Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

                                                           )
In re:                                                     )   Chapter 11
                                                           )
AMF BOWLING WORLDWIDE, INC., et al.,1                      )   Case No. 12-36495 (___)
                                                           )
                                    Debtors.               )   (Joint Administration Requested)
                                                           )

                     ORDER DETERMINING ADEQUATE ASSURANCE OF
                       PAYMENT FOR FUTURE UTILITY SERVICES

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) authorizing the

Debtors to determine adequate assurance of payment for future utility services, all as more fully


1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number include: AMF Bowling Worldwide, Inc. (3272); 300, Inc. (3632); American Recreation Centers, Inc.
    (1151); AMF BCH LLC (9642); AMF Beverage Company of Oregon, Inc. (4960); AMF Bowling Centers
    Holdings Inc. (1697); AMF Bowling Centers, Inc. (1662); AMF Bowling Mexico Holding, Inc. (7931); AMF
    Holdings, Inc. (5037); AMF WBCH LLC (9643); AMF Worldwide Bowling Centers Holdings Inc. (1641);
    Boliches AMF, Inc. (9631); Bush River Corporation (7033); King Louie Lenexa, Inc. (0814); Kingpin
    Holdings, LLC (5411); and Kingpin Intermediate Corp. (5447). The location of the Debtors’ service address is:
    7313 Bell Creek Road, Mechanicsville, Virginia 23111.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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set forth in the Motion; and upon consideration of the First Day Declaration; and the Court

having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and

the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and the Debtors having provided appropriate notice of the Motion and the opportunity

for a hearing on the Motion under the circumstances; and the Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before the

Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before the Court; and any objections to the relief requested herein having

been withdrawn or overruled on the merits; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The relief provided in this Order is being granted on an interim basis, and to the

extent no objection is filed within fourteen days of the date of entry of this Order, this Order

shall automatically become final and non-appealable without further order of the Court. Any

objections must be served in accordance with the Bankruptcy Rules and the Local Bankruptcy

Rules, except as may be provided by the Court pursuant to any order entered in the chapter 11

cases or otherwise.




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         3.    To the extent an objection is filed in accordance herewith, a final hearing on the

Motion shall be held before the Court on __________, 2012, at __:__ _.m. (prevailing Eastern

Time).

         4.    All Utility Providers are prohibited from altering, refusing, or discontinuing utility

services to the Debtors on account of any unpaid prepetition charges or the commencement of

the chapter 11 cases.

         5.    All Utility Providers are prohibited from requiring additional adequate assurance

of payment other than pursuant to the Adequate Assurance Procedures described herein.

         6.    The Debtors shall deposit the Adequate Assurance Deposit into the Adequate

Assurance Deposit Account as provided in the Motion within three business days following entry

of this Order. The unapplied portion of any Utility Provider’s respective Adequate Assurance

Deposit shall be returned to the Debtors on the earlier of: (a) the Debtors’ termination of

services from such provider; or (b) the conclusion of the Debtors’ chapter 11 cases.

         7.    The Adequate Assurance Deposit, together with the Debtors’ ability to pay for

future utility services in the ordinary course of business, shall constitute adequate assurance of

future payment as required by section 366(b) of the Bankruptcy Code.

         8.    Any Utility Provider that desires to request additional or different adequate

assurance of future payment (each, an “Additional Assurance Request”) must do so in

accordance with the Adequate Assurance Procedures, as follows:

               a.       Within three business days after entry of this Order, the Debtors will mail
                        a copy of this Order to the Utility Providers on the Utility Service List.

               b.       If a Utility Provider is not satisfied with the Proposed Adequate Assurance
                        and seeks additional assurance of payment in the form of deposits,
                        prepayments, or otherwise, such Utility Provider must serve a request
                        (an “Additional Assurance Request”) upon: (i) AMF Bowling Worldwide,
                        Inc., 7313 Bell Creek Road, Mechanicsville, Virginia 23111,
                        Attn.: Daniel McCormack (dmccormack@amf.com); (ii) proposed
                                                 3
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                    co-counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington Avenue,
                    New York, New York 10022, Attn.:                 Joshua A. Sussberg
                    (joshua.sussberg@kirkland.com), and Kirkland & Ellis LLP, 300 North
                    LaSalle, Chicago, Illinois 60654, Attn.:           Jeffrey D. Pawlitz
                    (jeffrey.pawlitz@kirkland.com)      and      Michael      W.     Weitz
                    (michael.weitz@kirkland.com); and (iii) proposed co-counsel to the
                    Debtors, McGuireWoods LLP, One James Center, 901 East Cary Street,
                    Richmond,       Virginia   23219,    Attn.:       Sarah    B.   Boehm
                    (sboehm@mcguirewoods.com) (collectively, the “Notice Parties”).

           c.       Any Additional Assurance Request must: (i) be made in writing; (ii) set
                    forth the location for which utility services are provided; (iii) include a
                    summary of the Debtors’ payment history relevant to the affected
                    account(s), including any security deposits; (iv) certify the amount that is
                    equal to two weeks of utility service it provides to the Debtors, calculated
                    as a historical average over the past twelve months; (v) certify that it
                    currently is not paid in advance for its services; and (vi) explain why the
                    Utility Provider believes the Debtors’ Proposed Adequate Assurance is not
                    sufficient adequate assurance of future payment.

           d.       Upon the Debtors’ receipt of any Additional Assurance Request at the
                    addresses set forth above, the Debtors shall have twenty-one days from the
                    receipt of such Additional Assurance Request (the “Resolution Period”) to
                    negotiate with such Utility Provider to resolve such Utility Provider’s
                    request for additional assurance of payment.

           e.       The Debtors may, in their sole discretion, resolve any Additional
                    Assurance Request by mutual agreement with the Utility Provider and
                    without further notice to or order of the Court, and may, in connection
                    with any such agreement, in their sole discretion, provide a Utility
                    Provider with additional adequate assurance of future payment, including,
                    but not limited to, cash deposits, prepayments, and other forms of security,
                    without further order of the Court if the Debtors believe such additional
                    assurance is reasonable.

           f.       If the Debtors determine that the Additional Assurance Request is not
                    reasonable and are not able to reach an alternative resolution with the
                    Utility Provider during the Resolution Period, the Debtors, during or
                    immediately after the Resolution Period, will request a hearing before the
                    Court at the next regularly scheduled omnibus hearing that is scheduled on
                    a date that is at least 5 business days after the conclusion of the Resolution
                    Period to determine the adequacy of assurances of payment with respect to
                    a particular Utility Provider (the “Determination Hearing”) pursuant to
                    section 366(c)(3) of the Bankruptcy Code.

           g.       Pending resolution of any such hearing, the Utility Provider filing such
                    Additional Assurance Request shall be prohibited from altering, refusing,

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                       or discontinuing service to the Debtors on account of unpaid charges for
                       prepetition services or on account of any objections to the Debtors’
                       Proposed Adequate Assurance.

               h.      The Proposed Adequate Assurance shall be deemed adequate assurance of
                       payment for any Utility Provider that does not make an Additional
                       Assurance Request.

       9.      This Order applies to any subsequently identified Utility Provider, regardless of

when each Utility Provider was added to the Utility Service List.

       10.     The Debtors are authorized, in their sole discretion, to amend the Utility Service

List, a copy of which is attached hereto as Exhibit 1.

       11.     The Debtors’ service of the Motion upon the Utility Service List shall not

constitute an admission or concession that such entities are a utility within the meaning of

section 366 of the Bankruptcy Code, and the Debtors reserve all rights and defenses with respect

thereto.

       12.     Each of the financial institutions at which the Debtors maintain their accounts

relating to the payment of the obligations described in the Motion is directed to honor checks

presented for payment of obligations described in the Motion and all fund transfer requests made

by the Debtors related thereto to the extent that sufficient funds are on deposit in such amounts.

       13.     The Debtors are authorized to issue postpetition checks, or to effect postpetition

fund transfer requests, in replacement of any checks or fund transfer requests in respect of the

unsecured claims that are dishonored or rejected.

       14.     Each of the financial institutions at which the Debtors maintain their accounts

relating to the payment of the obligations described in the Motion is directed to honor checks

presented for payment of obligations described in the Motion and all fund transfer requests made

by the Debtors related thereto to the extent that sufficient funds are on deposit in such amounts.



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       15.     Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

claim against a Debtor entity; (b) a waiver of the Debtors’ right to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Order or the Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; or (f) a waiver of the Debtors’ rights under the Bankruptcy Code or any other

applicable law.

       16.     Notwithstanding the relief granted in this Order, any payment made by the

Debtors pursuant to the authority granted herein shall be subject to the orders approving entry

into debtor-in-possession financing and authorizing the continued use of cash collateral.

       17.     The requirements set forth in Bankruptcy 6003(b) are satisfied.

       18.     The requirement under Local Bankruptcy Rule 9013-1(G) to file a memorandum

of law in connection with the Motion is hereby waived.

       19.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice as to such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local

Bankruptcy Rules are satisfied by such notice.

       20.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

       21.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       22.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.


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       23.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated:
Richmond, Virginia

                                                    UNITED STATES BANKRUPTCY JUDGE




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 WE ASK FOR THIS:

  /s/ Dion W. Hayes
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 Sarah B. Boehm (VSB No. 45201)
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         - and -

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 Proposed Attorneys for the Debtors and
 Debtors in Possession

                      CERTIFICATION OF ENDORSEMENT
                   UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
 proposed order has been endorsed by or served upon all necessary parties.

                                               /s/ Dion W. Hayes
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                                 EXHIBIT 1

                              Utility Service List
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        Utility Provider               Account #                    Address         Service Type          Location Serviced
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-0                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-1                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-10                                              Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-11                                              Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-2                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-3                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-4                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-5                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-6                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-7                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-8                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      One Aberdeen Square
Aberdeen, NJ, Township of    1160-9                                               Sewer             535-Strathmore Lanes
                                                      Aberdeen, NJ 07747
                                                      Town Hall
Addison, TX, Town of         020478                   5300 Belt Line Road         Sewer             504-Auburn Lanes
                                                      Dallas, TX 75254-7606
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        Utility Provider                 Account #                      Address            Service Type          Location Serviced
                                                        Town Hall
Addison, TX, Town of            283201                  5300 Belt Line Road              Sewer             571-Fun Fest Lanes
                                                        Dallas, TX 75254-7606

                                                        Town Hall
Addison, TX, Town of            283201                  5300 Belt Line Road              Water             571-Fun Fest Lanes
                                                        Dallas, TX 75254-7606

                                                        Town Hall
Addison, TX, Town of            283301                  5300 Belt Line Road              Water             571-Fun Fest Lanes
                                                        Dallas, TX 75254-7606

                                                        Town Hall
Addison, TX, Town of            286001                  5300 Belt Line Road              Water             571-Fun Fest Lanes
                                                        Dallas, TX 75254-7606
                                                        301 Cleveland Avenue Southwest
AEP - Appalachian Power         020-063-752-1-2                                          Electric          144-Lynchburg Lanes
                                                        Canton, OH 44702
                                                        301 Cleveland Avenue Southwest
AEP - Appalachian Power         026-652-552-0-0                                          Electric          519-Hilltop Lanes
                                                        Canton, OH 44702
                                                        301 Cleveland Avenue Southwest
AEP - Appalachian Power         027-276-598-1-1                                          Electric          519-Hilltop Lanes
                                                        Canton, OH 44702
                                                        301 Cleveland Avenue Southwest
AEP - Appalachian Power         029-776-598-0-0                                          Electric          519-Hilltop Lanes
                                                        Canton, OH 44702
                                                        1 Riverside Plaza
AEP - Columbus Southern Power   104-163-401-0-6                                          Electric          174-Main Lanes CLOSING
                                                        Columbus, OH 43215
                                                        1 Riverside Plaza
AEP - Columbus Southern Power   109-557-172-0-1                                          Electric          530-Sawmill Lanes
                                                        Columbus, OH 43215
                                                        1 Riverside Plaza
AEP - Columbus Southern Power   102-356-332-0-2                                          Electric          534-Stardust Lanes
                                                        Columbus, OH 43215
                                                        1 Riverside Plaza
AEP - Columbus Southern Power   106-056-332-0-4                                          Electric          534-Stardust Lanes
                                                        Columbus, OH 43215



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        Utility Provider                 Account #                       Address      Service Type          Location Serviced
                                                        1 Riverside Plaza
AEP - Columbus Southern Power     109-156-332-0-9                                   Electric          534-Stardust Lanes
                                                        Columbus, OH 43215
                                                        2791 N US Highway 231
AEP - Indiana Michigan Power      041-159-625-2-6                                   Electric          272-Blossom Lanes
                                                        Rockport, IN 47635
                                                        2791 N US Highway 231
AEP - Indiana Michigan Power      044-259-625-2-1                                   Electric          272-Blossom Lanes
                                                        Rockport, IN 47635
                                                        Bankruptcy
AEP - Ohio Power                  074-454-942-1-9       1 AES Way                   Electric          188-Valley Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  074-506-533-1-1       1 AES Way                   Electric          188-Valley Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  077-606-533-1-6       1 AES Way                   Electric          188-Valley Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  071-073-163-1-2       1 AES Way                   Electric          517-Hall of Fame Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  075-931-300-1-1       1 AES Way                   Electric          517-Hall of Fame Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  078-863-163-1-9       1 AES Way                   Electric          517-Hall of Fame Lanes
                                                        Hurricane, WV 25526

                                                        Bankruptcy
AEP - Ohio Power                  074-062-453-1-1       1 AES Way                   Electric          533-Sportsman Lanes
                                                        Hurricane, WV 25526
AEP - Public Service Company of                         212 East 6th Street
                                  951-355-093-0-5                                   Electric          276-Sheridan Lanes
OK                                                      Tulsa, OK 74119


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         Utility Provider                  Account #                       Address              Service Type          Location Serviced
AEP - Public Service Company of                           212 East 6th Street
                                  956-670-351-1-7                                             Electric          276-Sheridan Lanes
OK                                                        Tulsa, OK 74119
                                                          146 South High Street - RM 211
Akron, OH, City of                53-0187.301                                                 Sewer             529-Riviera Lanes
                                                          Akron, OH 44308
                                                          146 South High Street - RM 211
Akron, OH, City of                53-0187.301                                                 Water             529-Riviera Lanes
                                                          Akron, OH 44308
                                                          600 N. 18th St.
Alabama Power                     47843-92010                                                 Electric          021-Auburn Lanes
                                                          Birmingham, AL 35203
                                                          600 N. 18th St.
Alabama Power                     53334-26015                                                 Electric          138-Bama Lanes
                                                          Birmingham, AL 35203
                                                          600 N. 18th St.
Alabama Power                     15715-07037                                                 Electric          615-Camellia Lanes
                                                          Birmingham, AL 35203
                                                          600 N. 18th St.
Alabama Power                     15925-07037                                                 Electric          615-Camellia Lanes
                                                          Birmingham, AL 35203
                                                          600 N. 18th St.
Alabama Power                     18524-86037                                                 Electric          616-Skyline Lanes
                                                          Birmingham, AL 35203
                                                          600 N. 18th St.
Alabama Power                     18734-86037                                                 Electric          616-Skyline Lanes
                                                          Birmingham, AL 35203
                                                          605 Richard Arrington Junior Blvd
Alagasco - Alabama Gas
                                  200000282795            North                               Natural Gas       138-Bama Lanes
Corporation
                                                          Birmingham, AL 35203
                                                          610 Aladdin Avenue
Alameda County Industries         000028                                                      Solid Waste       575-Southshore Lanes
                                                          San Leandro, CA 94577
                                                          2000 GRAND ST
Alameda Power & Telecom           32430-01                                                    Electric          575-Southshore Lanes
                                                          Alameda, CA 94501-0263
                                                          2000 GRAND ST
Alameda Power & Telecom           32431-01                                                    Electric          575-Southshore Lanes
                                                          Alameda, CA 94501-0263




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         Utility Provider               Account #                        Address            Service Type          Location Serviced
                                                         City Hall
Albany, OR, City of              025509-000              24 Eagle Street                  Sewer             611-Albany Lanes
                                                         Albany, NY 12207

                                                         City Hall
Albany, OR, City of              025509-000              24 Eagle Street                  Water             611-Albany Lanes
                                                         Albany, NY 12207
Albemarle County Service                                 168 SPOTNAP RD
                                 10208108-01                                              Sewer             297-Kegler's Lanes
Authority                                                Charlottesville, VA 22911-8690
Albemarle County Service                                 168 SPOTNAP RD
                                 10208108-01                                              Water             297-Kegler's Lanes
Authority                                                Charlottesville, VA 22911-8690
                                                         435 Hamilton St
Allentown, PA, City of           XX-XXXXXXX-000                                           Sewer             278-Parkway Lanes
                                                         Allentown, PA 18101
                                                         435 Hamilton St
Allentown, PA, City of           XX-XXXXXXX-000                                           Water             278-Parkway Lanes
                                                         Allentown, PA 18101
                                                         225 Newburyport Ave
Altamonte Springs, FL, City of   273700-28550                                             Sewer             400-Altamonte Lanes
                                                         Altamonte Springs, FL 32701
                                                         225 Newburyport Ave
Altamonte Springs, FL, City of   273700-119780                                            Water             400-Altamonte Lanes
                                                         Altamonte Springs, FL 32701
                                                         225 Newburyport Ave
Altamonte Springs, FL, City of   273700-28550                                             Water             400-Altamonte Lanes
                                                         Altamonte Springs, FL 32701
                                                         23532 NETWORK PLACE
Ameren Energy Marketing          3004264171                                               Electric          158-Circle Lanes
                                                         Chicago, IL 60673-1235
                                                         1901 Chouteau Avenue
Ameren Illinois                  30042-64171                                              Electric          158-Circle Lanes
                                                         St. Louis, MO 63103
                                                         1901 Chouteau Avenue
Ameren Illinois                  00423-10114                                              Electric          506-Bowland Lanes
                                                         St. Louis, MO 63103
                                                         1901 Chouteau Avenue
Ameren Illinois                  44500-03028                                              Electric          506-Bowland Lanes
                                                         St. Louis, MO 63103



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         Utility Provider              Account #                        Address      Service Type           Location Serviced
                                                       1901 Chouteau Avenue
Ameren Illinois                 68664-05116                                        Electric          506-Bowland Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Illinois                 44500-03028                                        Natural Gas       506-Bowland Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Illinois                 10378-57611                                        Natural Gas       537-Laketown Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Illinois                 03615-29213                                        Natural Gas       538-Strike N Spare Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Missouri                 07643-15118                                        Electric          160-Dick Weber Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Missouri                 77500-07328                                        Electric          160-Dick Weber Lanes
                                                       St. Louis, MO 63103
                                                       1901 Chouteau Avenue
Ameren Missouri                 87237-03214                                        Natural Gas       058-Town & Country Lanes
                                                       St. Louis, MO 63103
                                                       460 N Gulph Rd
AmeriGas/Bordentown, NJ         200492973                                          Propane           154-Bristol Pike Lanes
                                                       King of Prussia, PA 19406
                                                       200 S. Anaheim Blvd
Anaheim, CA, City of            794163 268174                                      Electric          638-300 Anaheim
                                                       Anaheim, CA 92805
                                                       200 S. Anaheim Blvd
Anaheim, CA, City of            794163 268174                                      Sewer             638-300 Anaheim
                                                       Anaheim, CA 92805
                                                       200 S. Anaheim Blvd
Anaheim, CA, City of            794163 268174                                      Water             638-300 Anaheim
                                                       Anaheim, CA 92805
                                                       Heritage Complex
Anne Arundel County Water and
                                5000-0594-4900-001     2662 Riva Road              Sewer             337-Ritchie Lanes
Wastewter
                                                       Annapolis, MD 21401

                                                       Heritage Complex
Anne Arundel County Water and
                                5000-0594-4900-004     2662 Riva Road              Sewer             337-Ritchie Lanes
Wastewter
                                                       Annapolis, MD 21401



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        Utility Provider               Account #                     Address        Service Type          Location Serviced
                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0117-5925-005    2662 Riva Road              Sewer             339-Southwest Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                3000-9002-8739-004    2662 Riva Road              Sewer             349-Southdale Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0594-4900-001    2662 Riva Road              Water             337-Ritchie Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0594-4900-004    2662 Riva Road              Water             337-Ritchie Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0117-5925-002    2662 Riva Road              Water             339-Southwest Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0117-5925-004    2662 Riva Road              Water             339-Southwest Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                5000-0117-5925-005    2662 Riva Road              Water             339-Southwest Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                3000-9002-8739-003    2662 Riva Road              Water             349-Southdale Lanes
Wastewter
                                                      Annapolis, MD 21401

                                                      Heritage Complex
Anne Arundel County Water and
                                3000-9002-8739-004    2662 Riva Road              Water             349-Southdale Lanes
Wastewter
                                                      Annapolis, MD 21401




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         Utility Provider              Account #                      Address       Service Type           Location Serviced
                                                      Heritage Complex
Anne Arundel County Water and
                                3000-9002-8739-005    2662 Riva Road              Water             349-Southdale Lanes
Wastewter
                                                      Annapolis, MD 21401
                                                      400 N. 5th Street
APS / Arizona Public Service    537083289                                         Electric          350-Deer Valley Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    583083284                                         Electric          350-Deer Valley Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    556083286                                         Electric          352-Shea Village Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    650383282                                         Electric          374-Union Hills Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    840383280                                         Electric          425-Desert Hills Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    379083285                                         Electric          426-Frontier Lanes
                                                      Phoenix, AZ 85004
                                                      400 N. 5th Street
APS / Arizona Public Service    838283283                                         Electric          426-Frontier Lanes
                                                      Phoenix, AZ 85004
                                                      689 N. Hermitage Rd.
Aqua Pennsylvania               000353245 0351267                                 Water             154-Bristol Pike Lanes
                                                      Hermitage, PA 16148
                                                      240 West Huntington Dr
Arcadia, CA, City of            0043-741000.04        PO Box 60021                Sewer             623-Bowling Square Lanes
                                                      Arcadia, CA 91066

                                                      240 West Huntington Dr
Arcadia, CA, City of            0043-741000.04        PO Box 60021                Water             623-Bowling Square Lanes
                                                      Arcadia, CA 91066

                                                      240 West Huntington Dr
Arcadia, CA, City of            0043-742000.09        PO Box 60021                Water             623-Bowling Square Lanes
                                                      Arcadia, CA 91066




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         Utility Provider                  Account #                      Address       Service Type          Location Serviced
                                                          City Hall
Arlington, TX, City of            29-1517.300             101 W. Abram Street         Sewer             089-Spare Time Lanes
                                                          Arlington, TX 76010

                                                          City Hall
                                                                                                        589-Arlington Lanes (Closed
Arlington, TX, City of            58-0792.301             101 W. Abram Street         Sewer
                                                                                                        7/8/12)
                                                          Arlington, TX 76010

                                                          City Hall
Arlington, TX, City of            29-1517.300             101 W. Abram Street         Water             089-Spare Time Lanes
                                                          Arlington, TX 76010

                                                          City Hall
                                                                                                        589-Arlington Lanes (Closed
Arlington, TX, City of            58-0792.301             101 W. Abram Street         Water
                                                                                                        7/8/12)
                                                          Arlington, TX 76010
                                                          664 Churchmans Road
Artesian Water Company, Inc.      1209100000                                          Water             230-Price Lanes
                                                          Newark, DE 19702
                                                          664 Churchmans Road
Artesian Water Company, Inc.      2488100000                                          Water             230-Price Lanes
                                                          Newark, DE 19702
                                                          8101 Ralston Rd
Arvada, CO, City of               014548                  PO Box 8101                 Sewer             302-Arvada Lanes
                                                          Arvada, CO 80001-8101

                                                          8101 Ralston Rd
Arvada, CO, City of               014548                  PO Box 8101                 Water             302-Arvada Lanes
                                                          Arvada, CO 80001-8101

                                                          City Hall
Asheville, NC, City of            2150431-573468          70 Court Plaza              Sewer             024-Star Lanes
                                                          Asheville, NC 28801

                                                          City Hall
Asheville, NC, City of            2150431-573468          70 Court Plaza              Water             024-Star Lanes
                                                          Asheville, NC 28801




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         Utility Provider            Account #                     Address        Service Type           Location Serviced
                                                      Corporate Headquarters
                                                                                Telephone Exp.
AT & T                        405 145-0175 341 4      208 S Akard St                               AMF Windsor Lanes
                                                                                Regular
                                                      Dallas, TX 75202

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT & T                        314 123-6208 417 0      P O Box 769                                  AMF Dick Weber Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT & T                        314 838-0804 744 4      P O Box 769                                  AMF Dick Weber Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT & T                        816 128-0002 617 5      P O Box 769                                  AMF Northland Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT&T                          408 296-7201 244 4      P O Box 769                                  AMF Moonlite Lanes
                                                                                Food & Beverage
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT&T                          334 M22-4856 000 0530   P O Box 769                                  AMF Auburn Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT&T                          056 203 6239 001        P O Box 769                                  AMF Bama Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT&T                          630 R27-0109 049 5      P O Box 769                                  AMF Bolingbrook Lanes
                                                                                Regular
                                                      Arlington, TX 76004

                                                      Bankruptcy Department
                                                                                Telephone Exp.
AT&T                          626 294-9673 462 6      P O Box 769                                  AMF Bowling Square Lanes
                                                                                Regular
                                                      Arlington, TX 76004




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       Utility Provider            Account #                     Address        Service Type          Location Serviced
                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        831 000 0065 568        P O Box 769                                 AMF Bowl-O-Drome Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        831 000 0037 977        P O Box 769                                 AMF Garland Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        847 839-1356 232 2      P O Box 769                                 AMF Hoffman Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        847 Z99-3961 761 8      P O Box 769                                 AMF Hoffman Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        217 Z99-1569 025 4      P O Box 769                                 AMF Laketown Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        408 296-7201 244 04     P O Box 769                                 AMF Moonlite Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        408 296-1061 433 5      P O Box 769                                 AMF Moonlite Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        408 296-1673 065 5      P O Box 769                                 AMF Moonlite Lanes
                                                                              Regular
                                                    Arlington, TX 76004

                                                    Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        803 791-7831 607 1890   P O Box 769                                 AMF Park Lanes
                                                                              Regular
                                                    Arlington, TX 76004




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       Utility Provider            Account #                      Address       Service Type          Location Serviced
                                                     Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        954 436-1382 312 1804    P O Box 769                                AMF Pembroke Pines Lanes
                                                                              Regular
                                                     Arlington, TX 76004

                                                     Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        407 438-9808 190 3143    P O Box 769                                AMF Sky Lanes
                                                                              Regular
                                                     Arlington, TX 76004

                                                     Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        517 R21-0669 120 1       P O Box 769                                AMF Summit Lanes
                                                                              Regular
                                                     Arlington, TX 76004

                                                     Bankruptcy Department
                                                                              Telephone Exp.
AT&T                        059 233 9442 001         P O Box 769                                AMF Woodlawn Lanes
                                                                              Regular
                                                     Arlington, TX 76004
                                                     1005 Convention Plaza
Atmos Energy                8000037634609363764                               Natural Gas       025-Hurst Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                50-004601053-0313011-3                            Natural Gas       033-Peach Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634612402450                               Natural Gas       089-Spare Time Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634608327729                               Natural Gas       411-Lake Air Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634604219904                               Natural Gas       412-Westview Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634611137339                               Natural Gas       557-Euless Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634614972485                               Natural Gas       559-Garland Lanes
                                                     St. Louis, MO 63101
                                                     1005 Convention Plaza
Atmos Energy                8000037634615413066                               Natural Gas       571-Fun Fest Lanes
                                                     St. Louis, MO 63101



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         Utility Provider              Account #                      Address             Service Type           Location Serviced
                                                        1005 Convention Plaza
Atmos Energy                   30-000760616-0462471-8                                   Natural Gas       576-Midland Park Lanes
                                                        St. Louis, MO 63101
                                                        1005 Convention Plaza                             589-Arlington Lanes (Closed
Atmos Energy                   8000037634609895519                                      Natural Gas
                                                        St. Louis, MO 63101                               7/8/12)
                                                        1005 Convention Plaza
Atmos Energy                   8000037634612964624                                      Natural Gas       593-Irving Lanes
                                                        St. Louis, MO 63101
                                                        1005 Convention Plaza
Atmos Energy                   8000037634610058057                                      Natural Gas       595-Lewisville Lanes
                                                        St. Louis, MO 63101
                                                        1005 Convention Plaza
Atmos Energy                   8000037634614003420                                      Natural Gas       596-Richardson Lanes
                                                        St. Louis, MO 63101
                                                        1005 Convention Plaza
Atmos Energy                   25-001236037-0576678-5                                   Natural Gas       621-All Star Lanes
                                                        St. Louis, MO 63101
                                                        1501 W SAMFORD AVE
Auburn, AL, City of            41725                                                    Sewer             021-Auburn Lanes
                                                        Auburn, AL 36832-6327
                                                        1501 W SAMFORD AVE
Auburn, AL, City of            41725                                                    Water             021-Auburn Lanes
                                                        Auburn, AL 36832-6327
                                                        360 Bay St
Augusta Utilities Department   5-1818.302               Suite 180                       Sewer             031-Masters Lanes
                                                        Augusta, GA 30901

                                                        360 Bay St
Augusta Utilities Department   5-1818.302               Suite 180                       Water             031-Masters Lanes
                                                        Augusta, GA 30901
                                                        15151 E Alameda Pkwy STE 1200
Aurora Water                   36859-29684                                              Sewer             330-Aurora Lanes
                                                        Aurora, CO 80012
                                                        15151 E Alameda Pkwy STE 1200
Aurora Water                   36859-29684                                              Water             330-Aurora Lanes
                                                        Aurora, CO 80012
                                                        Austin City Hall
Austin, TX, City of            76865 10000              301 West 2nd                    Electric          558-Showplace Lanes
                                                        Austin, TX 78701


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         Utility Provider               Account #                      Address                    Service Type          Location Serviced
                                                         Austin City Hall
Austin, TX, City of              66865 10000             301 West 2nd                           Sewer             558-Showplace Lanes
                                                         Austin, TX 78701

                                                         Austin City Hall
Austin, TX, City of              76865 10000             301 West 2nd                           Sewer             558-Showplace Lanes
                                                         Austin, TX 78701

                                                         Austin City Hall
Austin, TX, City of              66865 10000             301 West 2nd                           Water             558-Showplace Lanes
                                                         Austin, TX 78701

                                                         Edif. Sergio Cuevas Bustamante, Hato
                                                         Rey
Autoridad de Acueductos y
                                 00021310217 1           #604 Avenida Barbosa                   Sewer             305-Bolera Paradise Lanes
Alcantarillado
                                                         PO Box 7066
                                                         San Juan, PR 00916-7066

                                                         Edif. Sergio Cuevas Bustamante, Hato
                                                         Rey
Autoridad de Acueductos y
                                 00021310217 1           #604 Avenida Barbosa                   Water             305-Bolera Paradise Lanes
Alcantarillado
                                                         PO Box 7066
                                                         San Juan, PR 00916-7066

                                                         Ave. Ponce de Leon 1250
Autoridad de Energia Electrica   9554102000 5            PO Box 13248                           Electric          305-Bolera Paradise Lanes
                                                         San Juan, PR 00908
                                                         1600 Truxtun Avenue
Bakersfield, CA, City of         18303-11474                                                    Sewer             608-Southwest Lanes
                                                         Bakersfield, CA 93301
                                                         1600 Truxtun Avenue
Bakersfield, CA, City of         18305-10430                                                    Sewer             609-Westchester Lanes
                                                         Bakersfield, CA 93301
                                                         1600 Truxtun Avenue
Bakersfield, CA, City of         18303-11474                                                    Solid Waste       608-Southwest Lanes
                                                         Bakersfield, CA 93301




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         Utility Provider                  Account #                    Address               Service Type           Location Serviced
                                                          1600 Truxtun Avenue
Bakersfield, CA, City of          18305-10430                                               Solid Waste       609-Westchester Lanes
                                                          Bakersfield, CA 93301
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  05396134008                                               Water             087-Country Club Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  09396135007                                               Water             087-Country Club Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  08024788005                                               Water             332-Westview Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  08024789003                                               Water             332-Westview Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  04121177002                                               Water             336-Timonium Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  04121178000                                               Water             336-Timonium Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  09043235002                                               Water             340-Pikesville Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  04127366005                                               Water             342-Towson Lanes
water)                                                    Baltimore, MD 21202
Baltimore, MD, City of (metered                           200 North Holliday Street Rm #1
                                  08023584009                                               Water             343-Woodlawn Lanes
water)                                                    Baltimore, MD 21202
Beaufort-Jasper Water & Sewer                             6 Snake Road
                                  218104                                                    Sewer             022-Ribaut Lanes
Authority                                                 Okatie, SC 29909-3937
Beaufort-Jasper Water & Sewer                             6 Snake Road
                                  218104                                                    Water             022-Ribaut Lanes
Authority                                                 Okatie, SC 29909-3937

                                                          City Clerk's Office
                                                          450 110th Ave. NE                                   543-Sun Villa Lanes (Closing
Bellevue City Treasurer, WA       31188004                                                  Sewer
                                                          PO Box 90012                                        June 2012)
                                                          Bellevue, WA 98009




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         Utility Provider              Account #                      Address         Service Type           Location Serviced

                                                        City Clerk's Office
                                                        450 110th Ave. NE                             543-Sun Villa Lanes (Closing
Bellevue City Treasurer, WA      41571003                                           Sewer
                                                        PO Box 90012                                  June 2012)
                                                        Bellevue, WA 98009

                                                        City Clerk's Office
                                                        450 110th Ave. NE                             543-Sun Villa Lanes (Closing
Bellevue City Treasurer, WA      31188004                                           Water
                                                        PO Box 90012                                  June 2012)
                                                        Bellevue, WA 98009

                                                        1725 Territorial Road
Benton Charter Township, MI      M139-002305-0000-01                                Sewer             272-Blossom Lanes
                                                        Benton Harbor, MI 49022
                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   86924-30000            2 Center Plaza              Electric          087-Country Club Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   65885-02000            2 Center Plaza              Electric          324-Kings Point Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   71217-02000            2 Center Plaza              Electric          324-Kings Point Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   84979-41000            2 Center Plaza              Electric          332-Westview Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   28653-60000            2 Center Plaza              Electric          336-Timonium Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   54058-40000            2 Center Plaza              Electric          337-Ritchie Lanes
                                                        Baltimore, MD 21201




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         Utility Provider              Account #                      Address         Service Type           Location Serviced
                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   02678-50000            2 Center Plaza              Electric          339-Southwest Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   34930-81000            2 Center Plaza              Electric          340-Pikesville Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   39003-01000            2 Center Plaza              Electric          340-Pikesville Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   64274-31000            2 Center Plaza              Electric          341-Dundalk Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   63396-60000            2 Center Plaza              Electric          342-Towson Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   46252-90000            2 Center Plaza              Electric          343-Woodlawn Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   79723-51000            2 Center Plaza              Electric          343-Woodlawn Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   23750-60000            2 Center Plaza              Electric          349-Southdale Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   98454-50000            2 Center Plaza              Electric          360-Laurel Lanes
                                                        Baltimore, MD 21201




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         Utility Provider              Account #                      Address         Service Type           Location Serviced
                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   86924-30000            2 Center Plaza              Natural Gas       087-Country Club Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   65885-02000            2 Center Plaza              Natural Gas       324-Kings Point Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   84979-41000            2 Center Plaza              Natural Gas       332-Westview Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   28653-60000            2 Center Plaza              Natural Gas       336-Timonium Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   54058-40000            2 Center Plaza              Natural Gas       337-Ritchie Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   21371-21000            2 Center Plaza              Natural Gas       339-Southwest Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   39003-01000            2 Center Plaza              Natural Gas       340-Pikesville Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   64274-31000            2 Center Plaza              Natural Gas       341-Dundalk Lanes
                                                        Baltimore, MD 21201

                                                        110 West Fayette Street
BGE - Baltimore Gas & Electric   63396-60000            2 Center Plaza              Natural Gas       342-Towson Lanes
                                                        Baltimore, MD 21201




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         Utility Provider               Account #                      Address            Service Type          Location Serviced
                                                         110 West Fayette Street
BGE - Baltimore Gas & Electric   46252-90000             2 Center Plaza                 Natural Gas       343-Woodlawn Lanes
                                                         Baltimore, MD 21201

                                                         110 West Fayette Street
BGE - Baltimore Gas & Electric   23750-60000             2 Center Plaza                 Natural Gas       349-Southdale Lanes
                                                         Baltimore, MD 21201

                                                         110 West Fayette Street
BGE - Baltimore Gas & Electric   98454-50000             2 Center Plaza                 Natural Gas       360-Laurel Lanes
                                                         Baltimore, MD 21201

                                                         Legal Department
Bloomington, IL, City of         000472-000              109 East Olive Street          Sewer             158-Circle Lanes
                                                         Bloomington, IL 61701

                                                         Legal Department
Bloomington, IL, City of         000472-000              109 East Olive Street          Water             158-Circle Lanes
                                                         Bloomington, IL 61701

                                                         City of Boynton Beach
Boynton Beach, FL, City of -                             100 E. Boynton Beach Blvd
                                 182817-45321                                           Sewer             312-Boynton Beach Lanes
Utilities Dept                                           PO Box 310
                                                         Boynton Beach, FL 33435-0310

                                                         City of Boynton Beach
Boynton Beach, FL, City of -                             100 E. Boynton Beach Blvd
                                 182817-45321                                           Solid Waste       312-Boynton Beach Lanes
Utilities Dept                                           PO Box 310
                                                         Boynton Beach, FL 33435-0310

                                                         City of Boynton Beach
Boynton Beach, FL, City of -                             100 E. Boynton Beach Blvd
                                 182817-45321                                           Water             312-Boynton Beach Lanes
Utilities Dept                                           PO Box 310
                                                         Boynton Beach, FL 33435-0310

                                                         101 OLD MAIN ST
Bradenton, FL, City of           02101693 132.094.030                                   Sewer             203-Bradenton Lanes
                                                         Bradenton, FL 34205-7865


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         Utility Provider               Account #                      Address              Service Type           Location Serviced
                                                         101 Old Main St
Bradenton, FL, City of           02101693 132.094.030                                     Solid Waste       203-Bradenton Lanes
                                                         Bradenton, FL 34205-7865
                                                         101 Old Main St
Bradenton, FL, City of           02101693 132.094.030                                     Water             203-Bradenton Lanes
                                                         Bradenton, FL 34205-7865
                                                         1535 Chestnut St Ste 200
Brahin Properties, Inc.          Lease #002-9990A-2669                                    Water             324-Kings Point Lanes
                                                         Philadelphia, PA 19102
                                                         6301 Shingle Creek Parkway
Brooklyn Center, MN, City of     00038190-0060420002                                      Electric          251-Earle Brown Lanes
                                                         Brooklyn Center, MN 55430
                                                         6301 Shingle Creek Parkway
Brooklyn Center, MN, City of     00038190-0060420002                                      Sewer             251-Earle Brown Lanes
                                                         Brooklyn Center, MN 55430
                                                         6301 Shingle Creek Parkway
Brooklyn Center, MN, City of     00038190-0060420002                                      Water             251-Earle Brown Lanes
                                                         Brooklyn Center, MN 55430
                                                         15505 Whittier Boulevard
California Domestic Water Co     4062002                                                  Water             570-Friendly Hills Lanes
                                                         Whittier, CA 90603-1339
                                                         15505 Whittier Boulevard
California Domestic Water Co     4063002                                                  Water             570-Friendly Hills Lanes
                                                         Whittier, CA 90603-1339
California Water Service-                                3725 South H Street
                                 6798588888                                               Water             608-Southwest Lanes
Bakersfield                                              Bakersfield, CA 93304
California Water Service-                                3725 South H Street
                                 7171111888                                               Water             608-Southwest Lanes
Bakersfield                                              Bakersfield, CA 93304
California Water Service-                                3725 South H Street
                                 8897488888                                               Water             609-Westchester Lanes
Bakersfield                                              Bakersfield, CA 93304
California Water Service-                                3725 South H Street
                                 9741111888                                               Water             609-Westchester Lanes
Bakersfield                                              Bakersfield, CA 93304
                                                         2222 Doctor Martin Luther King
California Water Service-Chico   4719711883              Junior Parkway                   Water             282-Orchard Lanes
                                                         Chico, CA 95928




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         Utility Provider                   Account #                    Address                    Service Type           Location Serviced
                                                           2222 Doctor Martin Luther King
California Water Service-Chico     9315605973              Junior Parkway                         Water             282-Orchard Lanes
                                                           Chico, CA 95928
                                                           216 North Valley Oaks Drive
California Water Service-Visalia   6918911888                                                     Sewer             598-Visalia Lanes
                                                           Visalia, CA 93292
                                                           216 North Valley Oaks Drive
California Water Service-Visalia   6918911888                                                     Solid Waste       598-Visalia Lanes
                                                           Visalia, CA 93292
                                                           216 North Valley Oaks Drive
California Water Service-Visalia   6918911888                                                     Water             598-Visalia Lanes
                                                           Visalia, CA 93292
                                                           216 North Valley Oaks Drive
California Water Service-Visalia   8185688888                                                     Water             598-Visalia Lanes
                                                           Visalia, CA 93292
                                                           CalMet Services Corporate Office
CalMet Services, Inc.              178146                  7202 Petterson Lane                    Solid Waste       567-Cerritos Lanes
                                                           Paramount, CA 90723

                                                           Office of Communications
Canton City Utilities              5336-12915              218 Cleveland Avenue S.W., 8th Floor   Water             517-Hall of Fame Lanes
                                                           Canton, OH 44702

                                                           Cary Town Hall
Cary, NC, Town of                  94020-8840              316 N. Academy St                      Sewer             066-South Hills Lanes
                                                           Cary, NC 27513

                                                           Cary Town Hall
Cary, NC, Town of                  94020-8840              316 N. Academy St                      Water             066-South Hills Lanes
                                                           Cary, NC 27513

                                                           1800 12th Street Extension
Cayce, SC, City of                 0100002100.01           PO Box 2004                            Sewer             013-Park Lanes
                                                           Cayce, SC 29171

                                                           1800 12th Street Extension
Cayce, SC, City of                 0100002100.01           PO Box 2004                            Water             013-Park Lanes
                                                           Cayce, SC 29171


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         Utility Provider                Account #                       Address          Service Type          Location Serviced
                                                           725 Front Street
CELD: Chicopee Electric Light
                                  00090379-01-7            PO Box 405                   Electric          314-Chicopee Lanes
Department
                                                           Chicopee, MA 01020
                                                           1111 Louisiana Street
CenterPoint Energy                4777915-2                                             Natural Gas       415-Alpha Lanes
                                                           Houston, TX 77002
                                                           1111 Louisiana Street
CenterPoint Energy - Minnegasco   5396226-2                                             Natural Gas       251-Earle Brown Lanes
                                                           Houston, TX 77002
                                                           1111 Louisiana Street
CenterPoint Energy - Minnegasco   5334079-0                                             Natural Gas       291-Southtown Lanes
                                                           Houston, TX 77002
                                                           1111 Louisiana Street
CenterPoint Energy - Minnegasco   5582763-8                                             Natural Gas       293-Maple Lanes
                                                           Houston, TX 77002
                                                           Corporate Headquarters
                                                                                        Telephone Exp.
CENTURY LINK                      K-303-422-3412 585M      100 CenturyLink Dr                             AMF Arvada Lanes
                                                                                        Regular
                                                           Monroe, LA 71203

                                                           Corporate Headquarters
                                                                                        Telephone Exp.
CENTURY LINK                      480-899-0151 454B        100 CenturyLink Dr                             AMF Chandler Lanes
                                                                                        Regular
                                                           Monroe, LA 71203

                                                           Corporate Headquarters
                                                                                        Telephone Exp.
CENTURYLINK                       311183893                100 CenturyLink Dr                             AMF Kissimmee Lanes
                                                                                        Regular
                                                           Monroe, LA 71203

                                                           Corporate Headquarters
                                                                                        Telephone Exp.
CENTURYLINK                       311723551                100 CenturyLink Dr                             AMF Leesburg Lanes
                                                                                        Regular
                                                           Monroe, LA 71203

                                                           Corporate Headquarters
                                                                                        Telephone Exp.
CENTURYLINK                       30334173                 100 CenturyLink Dr                             AMF Gates Lanes
                                                                                        Regular
                                                           Monroe, LA 71203
                                                           18125 S. Bloomfield Avenue
Cerritos, CA, City of             0000548604300055                                      Sewer             567-Cerritos Lanes
                                                           Cerritos, CA 90703



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         Utility Provider               Account #                      Address                   Service Type          Location Serviced
                                                        18125 S. Bloomfield Avenue
Cerritos, CA, City of            0000548604300055                                              Water             567-Cerritos Lanes
                                                        Cerritos, CA 90703
                                                        975 E. Armstrong Way, Building L
Chandler, AZ, City of            006629-01                                                     Sewer             354-Chandler Lanes
                                                        Chandler, AZ 85286
                                                        975 E. Armstrong Way, Building L
Chandler, AZ, City of            026011-01                                                     Sewer             428-Mcray Plaza Lanes
                                                        Chandler, AZ 85286
                                                        975 E. Armstrong Way, Building L
Chandler, AZ, City of            006629-01                                                     Water             354-Chandler Lanes
                                                        Chandler, AZ 85286
                                                        975 E. Armstrong Way, Building L
Chandler, AZ, City of            026011-01                                                     Water             428-Mcray Plaza Lanes
                                                        Chandler, AZ 85286
                                                        200 Baltimore St
Charles County Government        1344 C56113                                                   Sewer             373-Waldorf Lanes
                                                        La Plata, MD 20646
                                                        200 Baltimore St
Charles County Government        1344 C56113                                                   Water             373-Waldorf Lanes
                                                        La Plata, MD 20646

                                                        Lonnie Hamilton, III Public Services
                                                        Building
Charleston County                3500500045                                                    Solid Waste       012-Charleston Lanes
                                                        4045 Bridge View Drive, Suite C110
                                                        North Charleston, SC 29405-7464

                                                        103 St. Philip Street
Charleston Water System          035616-01-0                                                   Sewer             012-Charleston Lanes
                                                        Charleston, SC 29403
                                                        103 St. Philip Street
Charleston Water System          035616-01-0                                                   Water             012-Charleston Lanes
                                                        Charleston, SC 29403
                                                        600 East 4th Street
Charlotte, NC, City of           13127-11180                                                   Sewer             077-Centennial Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of           110981-166373                                                 Sewer             508-Carolina Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of           215038-5166                                                   Sewer             508-Carolina Lanes
                                                        Charlotte, NC 28202



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         Utility Provider                Account #                     Address         Service Type           Location Serviced
                                                        600 East 4th Street
Charlotte, NC, City of         50225-49341                                           Sewer             546-University Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of         13127-11180                                           Water             077-Centennial Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of         110981-166373                                         Water             508-Carolina Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of         215038-5166                                           Water             508-Carolina Lanes
                                                        Charlotte, NC 28202
                                                        600 East 4th Street
Charlotte, NC, City of         50225-49341                                           Water             546-University Lanes
                                                        Charlotte, NC 28202
                                                        605 E. Main St
Charlottesville, VA, City of   1018470                                               Natural Gas       297-Kegler's Lanes
                                                        Charlottesville, VA 22902
                                                        2207 Olan Mills Dr
Chattanooga Gas Company        5775776143                                            Natural Gas       298-Tri State Lanes
                                                        Chattanooga, TN 37421
                                                        3301 Broadway Ave
Cheektowaga, NY, Town of       00-0053                                               Solid Waste       220-Airport Lanes
                                                        Cheektowaga, NY 14227
                                                        3301 Broadway Ave
Cheektowaga, NY, Town of       00-0078                                               Solid Waste       233-Thruway Lanes
                                                        Cheektowaga, NY 14227
                                                        415 Welsh Street
Chester Water Authority, PA    02700077742                                           Water             277-Conchester Lanes
                                                        Chester, PA 19013
                                                        274 FRONT ST
Chicopee, MA, City of          02-02510723-00                                        Sewer             314-Chicopee Lanes
                                                        Chicopee, MA 01013
                                                        274 FRONT ST
Chicopee, MA, City of          02-02510723-00                                        Water             314-Chicopee Lanes
                                                        Chicopee, MA 01013
City Water Light & Power,                               300 S 7th St Rm 101
                               033105512-00015083                                    Electric          537-Laketown Lanes
Springfield IL                                          Springfield, IL 62757-0001
City Water Light & Power,                               300 S 7th St Rm 101
                               091289984-00055807                                    Electric          538-Strike N Spare Lanes
Springfield IL                                          Springfield, IL 62757-0001



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         Utility Provider                   Account #                        Address                  Service Type          Location Serviced
City Water Light & Power,                                     300 S 7th St Rm 101
                                     033105512-00015083                                             Sewer             537-Laketown Lanes
Springfield IL                                                Springfield, IL 62757-0001
City Water Light & Power,                                     300 S 7th St Rm 101
                                     091289984-00055807                                             Sewer             538-Strike N Spare Lanes
Springfield IL                                                Springfield, IL 62757-0001
City Water Light & Power,                                     300 S 7th St Rm 101
                                     033105512-00015083                                             Water             537-Laketown Lanes
Springfield IL                                                Springfield, IL 62757-0001
City Water Light & Power,                                     300 S 7th St Rm 101
                                     091289984-00055807                                             Water             538-Strike N Spare Lanes
Springfield IL                                                Springfield, IL 62757-0001
                                                              900 Bay Area Blvd
Clear Lake City Water, TX            3-90-10000-01                                                  Sewer             390-Clear Lake Lanes
                                                              Houston, TX 77058-2691
                                                              900 Bay Area Blvd
Clear Lake City Water, TX            3-90-10000-01                                                  Water             390-Clear Lake Lanes
                                                              Houston, TX 77058-2691
                                                              Public Utilities
Clearwater, FL, City of              4102837                  1650 N. Arcturas Avenue Building #C   Sewer             129-Clearwater Lanes
                                                              Clearwater, FL 33765-1945

                                                              Public Utilities
Clearwater, FL, City of              4102837                  1650 N. Arcturas Avenue Building #C   Water             129-Clearwater Lanes
                                                              Clearwater, FL 33765-1945
Cleveland, OH, City of-Division of                            1201 Lakeside Avenue
                                     3429030000                                                     Sewer             223-Brookgate Lanes
Water                                                         Cleveland, OH 44114
Cleveland, OH, City of-Division of                            1201 Lakeside Avenue
                                     3429030000                                                     Water             223-Brookgate Lanes
Water                                                         Cleveland, OH 44114
                                                              1033 Fifth
Clovis, CA, City of                  273-066729.01                                                  Sewer             584-Rodeo Lanes
                                                              Clovis, CA 93612
                                                              1033 Fifth
Clovis, CA, City of                  273-066729.01                                                  Solid Waste       584-Rodeo Lanes
                                                              Clovis, CA 93612
                                                              1033 Fifth
Clovis, CA, City of                  273-066729.01                                                  Water             584-Rodeo Lanes
                                                              Clovis, CA 93612



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        Utility Provider               Account #                       Address         Service Type          Location Serviced
                                                         2025 Roosevelt Ave.
Columbia Gas of Massachusetts   987-813-006-7            PO Box 2025                 Natural Gas       314-Chicopee Lanes
                                                         Springfield, MA 01102

                                                         2025 Roosevelt Ave.
Columbia Gas of Massachusetts   385-613-002-3            PO Box 2025                 Natural Gas       544-Taunton Lanes
                                                         Springfield, MA 01102
                                                         200 Civic Center Dr.
Columbia Gas of Ohio            11687730 011 000 8                                   Natural Gas       523-Medina Lanes
                                                         Columbus, OH 43215-4138
                                                         200 Civic Center Dr.
Columbia Gas of Ohio            11687730 009 000 2                                   Natural Gas       530-Sawmill Lanes
                                                         Columbus, OH 43215-4138
                                                         200 Civic Center Dr.
Columbia Gas of Ohio            11687730 008 000 3                                   Natural Gas       533-Sportsman Lanes
                                                         Columbus, OH 43215-4138
                                                         200 Civic Center Dr.
Columbia Gas of Ohio            11687730 010 000 9                                   Natural Gas       534-Stardust Lanes
                                                         Columbus, OH 43215-4138
                                                         1020 North Hartley Street
Columbia Gas of Pennsylvania    14789471 002 000 0                                   Natural Gas       211-Mt. Lebanon Lanes
                                                         York, PA 17404
                                                         1809 Coyote Drive
Columbia Gas of Virginia        12844849 002 000 5                                   Natural Gas       118-Walnut Hills Lanes
                                                         Chester, VA 23836
                                                         1809 Coyote Drive
Columbia Gas of Virginia        13087367 002 000 2                                   Natural Gas       142-Fredericksburg Lanes
                                                         Chester, VA 23836
                                                         1809 Coyote Drive
Columbia Gas of Virginia        12785863 002 000 7                                   Natural Gas       144-Lynchburg Lanes
                                                         Chester, VA 23836
                                                         1809 Coyote Drive
Columbia Gas of Virginia        14885086 002 000 0                                   Natural Gas       249-Western Branch Lanes
                                                         Chester, VA 23836
                                                         701 E. Broadway
Columbia, MO, City of           228949-50108             PO Box 6015                 Electric          058-Town & Country Lanes
                                                         Columbia, MO 65205




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         Utility Provider               Account #                     Address         Service Type          Location Serviced
                                                        701 E. Broadway
Columbia, MO, City of           228949-50108            PO Box 6015                 Sewer             058-Town & Country Lanes
                                                        Columbia, MO 65205

                                                        701 E. Broadway
Columbia, MO, City of           228949-50108            PO Box 6015                 Solid Waste       058-Town & Country Lanes
                                                        Columbia, MO 65205

                                                        701 E. Broadway
Columbia, MO, City of           228949-50108            PO Box 6015                 Water             058-Town & Country Lanes
                                                        Columbia, MO 65205

                                                        1136 Washington St.
Columbia, SC, City of - Water
                                01-48203575-1045125-7   PO Box 147                  Water             126-Columbia Lanes
Dept
                                                        Columbia, SC 29217-0147

                                                        1421 Veterans Parkway
Columbus Water Works            79156                   PO Box 1600                 Sewer             033-Peach Lanes
                                                        Columbus, GA 31902-1600

                                                        1421 Veterans Parkway
Columbus Water Works            79156                   PO Box 1600                 Water             033-Peach Lanes
                                                        Columbus, GA 31902-1600

                                                        90 West Broad Street
Columbus-City Treasurer         265417-1195501          Room 111                    Sewer             530-Sawmill Lanes
                                                        Columbus, OH 43215

                                                        90 West Broad Street
Columbus-City Treasurer         289601-1167302          Room 111                    Sewer             534-Stardust Lanes
                                                        Columbus, OH 43215

                                                        90 West Broad Street
Columbus-City Treasurer         265417-1195501          Room 111                    Water             530-Sawmill Lanes
                                                        Columbus, OH 43215




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         Utility Provider            Account #                     Address               Service Type          Location Serviced
                                                     90 West Broad Street
Columbus-City Treasurer       289601-1167302         Room 111                          Water             534-Stardust Lanes
                                                     Columbus, OH 43215
                                                     Two Lincoln Center
Com Ed                        5583747009                                               Electric          165-Forest Lanes
                                                     Oakbrook Terrace, IL 60181-4260
                                                     Two Lincoln Center
Com Ed                        7919813001                                               Electric          382-Valley Lanes (Clsd 6/28/12)
                                                     Oakbrook Terrace, IL 60181-4260
                                                     Two Lincoln Center
Com Ed                        4041732007                                               Electric          385-Rolling Meadows Lanes
                                                     Oakbrook Terrace, IL 60181-4260
                                                     Two Lincoln Center
Com Ed                        7569641002                                               Electric          387-Bolingbrook Lanes
                                                     Oakbrook Terrace, IL 60181-4260
                                                     Two Lincoln Center
Com Ed                        0770644016                                               Electric          618-Hoffman Lanes
                                                     Oakbrook Terrace, IL 60181-4260
                                                     Two Lincoln Center
Com Ed                        0870151018                                               Electric          632-Classic Lanes (New)
                                                     Oakbrook Terrace, IL 60181-4260
                                                     390 WEST ROUTE 59
Con Edison                    21-2546-4715-0002-1                                      Electric          210-34th Avenue Lanes
                                                     Spring Valley, NY 10977-5300
                                                     390 WEST ROUTE 59
Con Edison                    55-5857-4260-0102-2                                      Electric          551-White Plains Lanes
                                                     Spring Valley, NY 10977-5300
                                                     390 WEST ROUTE 59
Con Edison                    49-4092-3070-0001-8                                      Natural Gas       076-Chelsea Piers Lanes
                                                     Spring Valley, NY 10977-5300
                                                     390 WEST ROUTE 59
Con Edison                    55-5857-4260-0102-2                                      Natural Gas       551-White Plains Lanes
                                                     Spring Valley, NY 10977-5300
                                                     107 Selden Street
Connecticut Light & Power     51337333090                                              Electric          173-Rip Van Winkle Lanes
                                                     Berlin, CT 06037
                                                     107 Selden Street
Connecticut Light & Power     51992553073                                              Electric          173-Rip Van Winkle Lanes
                                                     Berlin, CT 06037
                                                     107 Selden Street
Connecticut Light & Power     51425682085                                              Electric          184-Saybrook Lanes
                                                     Berlin, CT 06037


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        Utility Provider              Account #                     Address         Service Type          Location Serviced
                                                      107 Selden Street
Connecticut Light & Power      51105722003                                        Electric          185-Silver Lanes
                                                      Berlin, CT 06037
                                                      107 Selden Street
Connecticut Light & Power      51149622060                                        Electric          185-Silver Lanes
                                                      Berlin, CT 06037
                                                      107 Selden Street
Connecticut Light & Power      51353942014                                        Electric          185-Silver Lanes
                                                      Berlin, CT 06037
                                                      107 Selden Street
Connecticut Light & Power      51618622013                                        Electric          185-Silver Lanes
                                                      Berlin, CT 06037
Connecticut Natural Gas Corp                          76 Meadow Street
                               040-0010354-8885                                   Natural Gas       185-Silver Lanes
(CNG)                                                 East Hartford, CT 06108
Connecticut Natural Gas Corp                          76 Meadow Street
                               040-0010354-8984                                   Natural Gas       185-Silver Lanes
(CNG)                                                 East Hartford, CT 06108
Connecticut Natural Gas Corp                          76 Meadow Street
                               040-0010554-3108                                   Natural Gas       185-Silver Lanes
(CNG)                                                 East Hartford, CT 06108
                                                      93 West Main Street
Connecticut Water Company      00147755                                           Water             184-Saybrook Lanes
                                                      Clinton, CT 06413-0562
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRTL                                           Electric          210-34th Avenue Lanes
                                                      Chicago, IL 60693
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRTV                                           Electric          217-Gates Lanes
                                                      Chicago, IL 60693
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRU0                                           Electric          217-Gates Lanes
                                                      Chicago, IL 60693
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRUC                                           Electric          217-Gates Lanes
                                                      Chicago, IL 60693
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRUS                                           Electric          217-Gates Lanes
                                                      Chicago, IL 60693
                                                      14217 Collections Ctr Dr
Constellation NewEnergy        1-4UKRUY                                           Electric          217-Gates Lanes
                                                      Chicago, IL 60693



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        Utility Provider            Account #                    Address         Service Type          Location Serviced
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRV4                                          Electric          220-Airport Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRV9                                          Electric          227-Lancaster Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRVF                                          Electric          233-Thruway Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRVL                                          Electric          233-Thruway Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRVR                                          Electric          514-Dewey Garden Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRVX                                          Electric          516-Empire Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRWD                                          Electric          526-Pin-o-rama Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRWI                                          Electric          526-Pin-o-rama Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRWO                                          Electric          526-Pin-o-rama Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRWU                                          Electric          540-Strike N Spare Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRX0                                          Electric          540-Strike N Spare Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRX6                                          Electric          545-Terrace Gardens Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy      1-4UKRTQ                                          Electric          551-White Plains Lanes
                                                   Chicago, IL 60693
                                                   14217 Collections Ctr Dr
Constellation NewEnergy/TX   1-VFI-4273                                        Electric          090-Diamond Lanes
                                                   Chicago, IL 60693



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         Utility Provider                   Account #                      Address             Service Type          Location Serviced
                                                             14217 Collections Ctr Dr
Constellation NewEnergy/TX           1-VEL-1825                                              Electric          393-Houston North Lanes
                                                             Chicago, IL 60693
                                                             530 West Willow Street
Consumers Energy                     100000331478                                            Electric          175-Muskegon Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000292472                                            Electric          234-Town N Country Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000261535                                            Electric          515-Eastbrook Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000282200                                            Electric          522-Lincoln Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100024013276                                            Electric          522-Lincoln Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000282051                                            Electric          542-Summit Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000282309                                            Electric          542-Summit Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100000282812                                            Electric          542-Summit Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100006846719                                            Natural Gas       231-Rose Bowl Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100005772387                                            Natural Gas       234-Town N Country Lanes
                                                             Lansing, MI 48906
                                                             530 West Willow Street
Consumers Energy                     100024146274                                            Natural Gas       542-Summit Lanes
                                                             Lansing, MI 48906
                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338213-66510            1201 Leopard St                 Sewer             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825




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         Utility Provider                   Account #                      Address             Service Type          Location Serviced
                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338233-66514            1201 Leopard St                 Sewer             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825

                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338243-66512            1201 Leopard St                 Sewer             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825

                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338213-66510            1201 Leopard St                 Water             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825

                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338233-66514            1201 Leopard St                 Water             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825

                                                             City Hall
Corpus Christi,TX, City of-Utility
                                     338243-66512            1201 Leopard St                 Water             143-Saratoga Lanes
Business
                                                             Corpus Christi, TX 78401-2825

                                                             Bankruptcy Section
CPS Energy                           300-0572-292            145 Navarro, Mail Drop 101013   Electric          095-Ponderosa Lanes
                                                             San Antonio, TX 78205

                                                             Bankruptcy Section
CPS Energy                           300-0572-293            145 Navarro, Mail Drop 101013   Electric          095-Ponderosa Lanes
                                                             San Antonio, TX 78205

                                                             Bankruptcy Section
CPS Energy                           300-0572-294            145 Navarro, Mail Drop 101013   Electric          095-Ponderosa Lanes
                                                             San Antonio, TX 78205

                                                             Bankruptcy Section
CPS Energy                           300-0572-286            145 Navarro, Mail Drop 101013   Electric          155-Country Lanes
                                                             San Antonio, TX 78205




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         Utility Provider              Account #                   Address              Service Type           Location Serviced
                                                      Bankruptcy Section
CPS Energy                    300-0572-288            145 Navarro, Mail Drop 101013   Electric          155-Country Lanes
                                                      San Antonio, TX 78205

                                                      Bankruptcy Section
CPS Energy                    300-0572-289            145 Navarro, Mail Drop 101013   Electric          155-Country Lanes
                                                      San Antonio, TX 78205

                                                      Bankruptcy Section
CPS Energy                    300-0572-293            145 Navarro, Mail Drop 101013   Natural Gas       095-Ponderosa Lanes
                                                      San Antonio, TX 78205

                                                      Bankruptcy Section
CPS Energy                    300-0572-287            145 Navarro, Mail Drop 101013   Natural Gas       155-Country Lanes
                                                      San Antonio, TX 78205
                                                      5609 MAPLEDALE PLZ
Dale Service Corp             001-5435                                                Sewer             372-Dale City Lanes
                                                      WOODBRIDGE, VA 22193
                                                      1002 Central Parkway SW
Decatur Utilities             03302630-02             PO Box 2232                     Electric          035-River City Lanes
                                                      Decatur, AL 35609

                                                      1002 Central Parkway SW
Decatur Utilities             03302630-02             PO Box 2232                     Sewer             035-River City Lanes
                                                      Decatur, AL 35609

                                                      1002 Central Parkway SW
Decatur Utilities             03302630-02             PO Box 2232                     Water             035-River City Lanes
                                                      Decatur, AL 35609
Dekalb County Water/Sewer                             1580 Roadhaven Drive
                              482396                                                  Sewer             319-Chamblee Lanes
System                                                Stone Mountain, GA 30083
Dekalb County Water/Sewer                             1580 Roadhaven Drive
                              482396                                                  Water             319-Chamblee Lanes
System                                                Stone Mountain, GA 30083




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         Utility Provider               Account #                    Address                    Service Type          Location Serviced
                                                       Public Works
Del City, OK, City of            27-0735-01            4500 NE 4th                            Sewer             587-Sunny Lanes
                                                       Del City, OK 73117

                                                       Public Works
Del City, OK, City of            27-0735-01            4500 NE 4th                            Solid Waste       587-Sunny Lanes
                                                       Del City, OK 73117

                                                       Public Works
Del City, OK, City of            27-0735-01            4500 NE 4th                            Water             587-Sunny Lanes
                                                       Del City, OK 73117

                                                       New Castle Regional Office
Delmarva Power                   3149 7529 9996        I95 at Route 273                       Electric          230-Price Lanes
                                                       Newark, DE 19713

                                                       New Castle Regional Office
Delmarva Power                   3149 7529 9970        I95 at Route 273                       Natural Gas       230-Price Lanes
                                                       Newark, DE 19713

                                                       Denver Water Administration Building
Denver Water                     9704920000            1600 W. 12th Ave.                      Sewer             229-Monaco Lanes
                                                       Denver, CO 80204-3412


                                                       Denver Water Administration Building
Denver Water                     9704920000            1600 W. 12th Ave.                      Water             229-Monaco Lanes
                                                       Denver, CO 80204-3412


                                                       Denver Water Administration Building
Denver Water                     2749230000            1600 W. 12th Ave.                      Water             432-Broadway Lanes
                                                       Denver, CO 80204-3412




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        Utility Provider                Account #                    Address                    Service Type          Location Serviced

                                                       Denver's Wastewater Management
                                                       Division
Denver, CO, City & County of   77-0617407060000                                               Sewer             229-Monaco Lanes
                                                       2000 West 3rd Avenue
                                                       Denver, CO 80223

                                                       Denver's Wastewater Management
                                                       Division
Denver, CO, City & County of   77-0617407070000                                               Sewer             229-Monaco Lanes
                                                       2000 West 3rd Avenue
                                                       Denver, CO 80223

                                                       2201 George Flagg Pkwy
Des Moines Water Works         0000204820                                                     Sewer             321-Des Moines Lanes
                                                       Des Moines, IA 50321-1174
                                                       2201 George Flagg Pkwy
Des Moines Water Works         0000204820                                                     Water             321-Des Moines Lanes
                                                       Des Moines, IA 50321-1174
                                                       Tonya Warren Utility Billing Manager
Desoto Water Utilities         016-0000500-002         211 E. Pleasant Run Road               Sewer             603-Desoto Lanes
                                                       DeSoto, TX 75115

                                                       Tonya Warren Utility Billing Manager
Desoto Water Utilities         016-0000500-002         211 E. Pleasant Run Road               Water             603-Desoto Lanes
                                                       DeSoto, TX 75115

                                                       Tonya Warren Utility Billing Manager
Desoto Water Utilities         016-0000502-002         211 E. Pleasant Run Road               Water             603-Desoto Lanes
                                                       DeSoto, TX 75115
                                                       1001 Liberty Ave.
Direct Energy                  820717                                                         Electric          175-Muskegon Lanes
                                                       Pittsburgh, PA 15222
                                                       120 Tredegar Street
Dominion East Ohio             1 5000 0722 2063                                               Natural Gas       223-Brookgate Lanes
                                                       Richmond, VA 23219
                                                       120 Tredegar Street                                      255-Twin Star Lanes (CLS
Dominion East Ohio             2 5000 0718 0663                                               Natural Gas
                                                       Richmond, VA 23219                                       7/24/12)
                                                       120 Tredegar Street
Dominion East Ohio             4 4215 0019 7404                                               Natural Gas       517-Hall of Fame Lanes
                                                       Richmond, VA 23219


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        Utility Provider             Account #                   Address          Service Type           Location Serviced
                                                    120 Tredegar Street
Dominion East Ohio            9 5000 1079 5161                                  Natural Gas       529-Riviera Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    0522598341                                        Electric          102-Williamsburg Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    4788007302                                        Electric          102-Williamsburg Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    8291075045                                        Electric          108-Hanover Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    2867954097                                        Electric          115-Sunset Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    0953881141                                        Electric          118-Walnut Hills Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    3684674900                                        Electric          128-Shrader Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    8280208649                                        Electric          142-Fredericksburg Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street                           1631-Bell Creek Offices / Corp
Dominion Virginia/NC Power    9722337483                                        Electric
                                                    Richmond, VA 23219                            Offices
                                                    120 Tredegar Street
Dominion Virginia/NC Power    3047253939                                        Electric          213-Annandale Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    6324545232                                        Electric          213-Annandale Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    1100695137                                        Electric          214-Alexandria Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    3564673196                                        Electric          214-Alexandria Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power    5756163282                                        Electric          243-Indian River Lanes
                                                    Richmond, VA 23219



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        Utility Provider            Account #                     Address         Service Type          Location Serviced
                                                    120 Tredegar Street
Dominion Virginia/NC Power   3387745254                                         Electric          244-Norfolk Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   2413254307                                         Electric          245-Lynnhaven Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   5211588321                                         Electric          245-Lynnhaven Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   3715947853                                         Electric          248-Chesapeake Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   4983425010                                         Electric          249-Western Branch Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   8042451115                                         Electric          250-York Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   1439930171                                         Electric          297-Kegler's Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   9945124221                                         Electric          372-Dale City Lanes
                                                    Richmond, VA 23219
                                                    120 Tredegar Street
Dominion Virginia/NC Power   4119338673                                         Electric          388-Centreville Lanes
                                                    Richmond, VA 23219
                                                    One Energy Plaza
DTE Energy                   0002-1128-4                                        Electric          231-Rose Bowl Lanes
                                                    Detroit, MI 48226
                                                    One Energy Plaza
DTE Energy                   4562 581 0001 9                                    Natural Gas       175-Muskegon Lanes
                                                    Detroit, MI 48226
                                                    One Energy Plaza
DTE Energy                   4548 924 0008 5                                    Natural Gas       515-Eastbrook Lanes
                                                    Detroit, MI 48226
                                                    One Energy Plaza
DTE Energy                   4548 930 0002 5                                    Natural Gas       515-Eastbrook Lanes
                                                    Detroit, MI 48226
                                                    One Energy Plaza
DTE Energy                   4614 194 0001 9                                    Natural Gas       522-Lincoln Lanes
                                                    Detroit, MI 48226



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       Utility Provider            Account #                    Address         Service Type           Location Serviced
                                                  One Energy Plaza
DTE Energy                  4614 194 0002 7                                   Natural Gas       522-Lincoln Lanes
                                                  Detroit, MI 48226
                                                  526 South Church Street
Duke Energy                 1393438145                                        Electric          023-Star Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1407872906                                        Electric          023-Star Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1369085250                                        Electric          034-All Star Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 2099579904                                        Electric          034-All Star Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1263597015                                        Electric          064-Durham Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1719806098                                        Electric          077-Centennial Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1122039038                                        Electric          107-Colonial Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1555635458                                        Electric          107-Colonial Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1801505924                                        Electric          107-Colonial Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1194554962                                        Electric          123-Winston-salem Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1996069496                                        Electric          123-Winston-salem Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 2126243041                                        Electric          508-Carolina Lanes
                                                  Charlotte, NC 28202
                                                  526 South Church Street
Duke Energy                 1137240996                                        Electric          546-University Lanes
                                                  Charlotte, NC 28202



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         Utility Provider                Account #                       Address            Service Type          Location Serviced
                                                          526 South Church Street
Duke Energy                       1335031862                                              Electric          546-University Lanes
                                                          Charlotte, NC 28202
                                                          526 South Church Street
Duke Energy                       1696165258                                              Electric          546-University Lanes
                                                          Charlotte, NC 28202
                                                          Legal
Duquesne Light Company            0000-999-479-002        411 Seventh Avenue (16-1)       Electric          211-Mt. Lebanon Lanes
                                                          Pittsburgh, PA 15219

                                                          Legal
Duquesne Light Company            3000-999-480-002        411 Seventh Avenue (16-1)       Electric          211-Mt. Lebanon Lanes
                                                          Pittsburgh, PA 15219

                                                          Legal
Duquesne Light Company            0001-007-517-002        411 Seventh Avenue (16-1)       Electric          212-Noble Manor Lanes
                                                          Pittsburgh, PA 15219

                                                          Legal
Duquesne Light Company            1000-999-484-002        411 Seventh Avenue (16-1)       Electric          212-Noble Manor Lanes
                                                          Pittsburgh, PA 15219

                                                          Legal
Duquesne Light Company            7000-999-483-002        411 Seventh Avenue (16-1)       Electric          212-Noble Manor Lanes
                                                          Pittsburgh, PA 15219

                                                          City Hall
Durham, NC, City of
                                  152884403431            101 City Hall Plaza 1st Floor   Sewer             064-Durham Lanes
(Sewer/Water)
                                                          Durham, NC 27701

                                                          City Hall
Durham, NC, City of
                                  152884403431            101 City Hall Plaza 1st Floor   Water             064-Durham Lanes
(Sewer/Water)
                                                          Durham, NC 27701
East Bay Municipal Utility Dist                           375 11th Street
                                  31201600001                                             Sewer             575-Southshore Lanes
(EBMUD)                                                   Oakland, CA 94607
East Bay Municipal Utility Dist                           375 11th Street
                                  31201500001                                             Water             575-Southshore Lanes
(EBMUD)                                                   Oakland, CA 94607


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         Utility Provider                Account #                     Address         Service Type          Location Serviced
East Bay Municipal Utility Dist                          375 11th Street
                                  31201600001                                        Water             575-Southshore Lanes
(EBMUD)                                                  Oakland, CA 94607
East Bay Municipal Utility Dist                          375 11th Street
                                  46555500001                                        Water             581-Pinole Valley Lanes
(EBMUD)                                                  Oakland, CA 94607
East Bay Municipal Utility Dist                          375 11th Street
                                  46556100001                                        Water             581-Pinole Valley Lanes
(EBMUD)                                                  Oakland, CA 94607
                                                         100 East First
Edmond, OK, City of               31296000-002-3                                     Electric          091-Boulevard Lanes
                                                         Edmond, OK 73034
                                                         100 East First
Edmond, OK, City of               31296000-002-3                                     Sewer             091-Boulevard Lanes
                                                         Edmond, OK 73034
                                                         100 East First
Edmond, OK, City of               31296000-002-3                                     Solid Waste       091-Boulevard Lanes
                                                         Edmond, OK 73034
                                                         100 East First
Edmond, OK, City of               31296000-002-3                                     Water             091-Boulevard Lanes
                                                         Edmond, OK 73034
                                                         55 JEROME AVE
Elm Hill Water District           0478                                               Water             504-Auburn Lanes
                                                         AUBURN, MA 01501
                                                         Englewood Civic Center
Englewood, CO, City of            00009246 03029049006   1000 Englewood Park         Sewer             304-Belleview Lanes
                                                         Englewood, CO 80110

                                                         Englewood Civic Center
Englewood, CO, City of            00038769 30000054652   1000 Englewood Park         Sewer             432-Broadway Lanes
                                                         Englewood, CO 80110

                                                         Englewood Civic Center
Englewood, CO, City of            00038769 30000054652   1000 Englewood Park         Solid Waste       432-Broadway Lanes
                                                         Englewood, CO 80110

                                                         Englewood Civic Center
Englewood, CO, City of            00009246 03029049006   1000 Englewood Park         Water             304-Belleview Lanes
                                                         Englewood, CO 80110




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         Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                    Attn : One Point
Entergy Louisiana, Inc.        26611806             446 North Boulevard         Electric          621-All Star Lanes
                                                    Baton Rouge, LA 70821
                                                    350 Pine Street
Entergy Texas, Inc.            2225065                                          Electric          413-Woodlands Lanes
                                                    Beaumont, TX 77701
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       013-Park Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       020-Pin Palace Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       021-Auburn Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       023-Star Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       024-Star Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       025-Hurst Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       029-Rose Bowl Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       031-Masters Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       033-Peach Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       034-All Star Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       035-River City Lanes
                                                    Essington, PA 19029-1710
                                                    221 Powhattan St
Environmental Waste Systems    1208024                                          Solid Waste       036-Strike N Spare Lanes
                                                    Essington, PA 19029-1710


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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       042-Northland Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       044-College Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       048-Pla Mor Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       061-Arc Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       062-Parkway Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       064-Durham Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       065-Pleasant Valley Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       066-South Hills Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       068-Main Street Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       070-American Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       072-Marietta Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       077-Centennial Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       078-Garden City Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       081-Pro Bowl Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       087-Country Club Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       089-Spare Time Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       090-Diamond Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       095-Ponderosa Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       102-Williamsburg Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       103-Gastonia Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       104-Boulevard Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       107-Colonial Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       108-Hanover Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       113-Savannah Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       115-Sunset Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       118-Walnut Hills Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       123-Winston-salem Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       124-University Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       126-Columbia Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       128-Shrader Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       129-Clearwater Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       138-Bama Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       139-Derby Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       142-Fredericksburg Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       143-Saratoga Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       144-Lynchburg Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       145-East Carolina Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       148-Eagle Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       154-Bristol Pike Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       155-Country Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       158-Circle Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       160-Dick Weber Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       1631-Bell Creek Facitlities
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       163-East Meadow Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       164-Firebird Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       165-Forest Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       173-Rip Van Winkle Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       179-Pro 300 Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       183-Smithtown Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       184-Saybrook Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       185-Silver Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       189-Wallington Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       202-Sheridan Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       204-Gulf Gate Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       205-Venice Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       208-Babylon Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       209-Plainview Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       210-34th Avenue Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       211-Mt. Lebanon Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       212-Noble Manor Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       213-Annandale Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       214-Alexandria Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       217-Gates Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       218-Sierra Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       220-Airport Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       223-Brookgate Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       225-Florida Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       226-Holiday Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       227-Lancaster Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       229-Monaco Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       230-Price Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       231-Rose Bowl Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       233-Thruway Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       234-Town N Country Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       235-Woodhaven Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       237-Bay Shore Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       238-Centereach Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       239-Melville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       240-Sayville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       241-Shirley Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       242-Syosset Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       243-Indian River Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       244-Norfolk Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       245-Lynnhaven Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       248-Chesapeake Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       249-Western Branch Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       250-York Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       251-Earle Brown Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       253-Imperial Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       256-Arrowhead Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       257-Bahama Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       259-Beverly Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       261-Bowl-o-drome Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       262-Carter Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       263-El Dorado Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       264-Mar Vista Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       265-Midtown Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       267-Riverside Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       270-Woodlake Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       271-Ritz Club
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       274-Maplewood Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       276-Sheridan Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       277-Conchester Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       278-Parkway Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       280-Hemet Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       282-Orchard Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       284-Valley View Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       285-World on Wheels
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       287-Fairview Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       288-Starlite Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       291-Southtown Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       292-Saxon Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       293-Maple Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       295-Sonesta Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       297-Kegler's Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       302-Arvada Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       304-Belleview Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       305-Bolera Paradise Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       306-Sky Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       307-Davie Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       309-Casselberry Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       311-Pembroke Pines Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       314-Chicopee Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       316-Snellville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       319-Chamblee Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       321-Des Moines Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       324-Kings Point Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       326-Milford Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       330-Aurora Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       332-Westview Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       336-Timonium Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       337-Ritchie Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       339-Southwest Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       340-Pikesville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       341-Dundalk Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       342-Towson Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       343-Woodlawn Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       349-Southdale Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       350-Deer Valley Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       351-Glendale Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       352-Shea Village Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       353-Tempe Village Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       354-Chandler Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       357-Marlow Heights Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       358-Northglenn Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       360-Laurel Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       361-College Park Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       362-Capital Plaza Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       368-Shady Grove Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       372-Dale City Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       373-Waldorf Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       374-Union Hills Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       384-Mesa Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       387-Bolingbrook Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       388-Centreville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       390-Clear Lake Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       391-Bunker Hill Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       394-Willow Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       396-Humble Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       397-Windfern Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       398-Stafford Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       400-Altamonte Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       402-Deltona Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       404-Longwood Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       405-Semoran Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       408-Woodstock Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       411-Lake Air Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       415-Alpha Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       422-Squaw Peak Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       423-Christown Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       425-Desert Hills Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       426-Frontier Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       427-Peoria Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       430-Littleton Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       432-Broadway Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       447-Town & Country Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       501-20th Century Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       504-Auburn Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       508-Carolina Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       509-Circle Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       512-Commack Vet's Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       513-Cranston Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       514-Dewey Garden Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       515-Eastbrook Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       516-Empire Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       517-Hall of Fame Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       519-Hilltop Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       522-Lincoln Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       526-Pin-o-rama Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       529-Riviera Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       530-Sawmill Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       533-Sportsman Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       534-Stardust Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       535-Strathmore Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       536-Strike N Spare Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       537-Laketown Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type           Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       538-Strike N Spare Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       540-Strike N Spare Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       541-Sturgis Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       542-Summit Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       544-Taunton Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       545-Terrace Gardens Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       546-University Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       548-Wantagh Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       551-White Plains Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       558-Showplace Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       561-Alpine Valley Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       564-Bowlero Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       570-Friendly Hills Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       571-Fun Fest Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider            Account #                   Address          Service Type          Location Serviced
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       572-Land Park Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       573-Mardi Gras Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       575-Southshore Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       577-Mission Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       580-Oakridge Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       581-Pinole Valley Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       583-Rocklin Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       586-South Park Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       595-Lewisville Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       599-Waukesha Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       600-West Allis Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       601-West Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       602-Windsor Lanes
                                                   Essington, PA 19029-1710
                                                   221 Powhattan St
Environmental Waste Systems   1208024                                          Solid Waste       603-Desoto Lanes
                                                   Essington, PA 19029-1710



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        Utility Provider             Account #                      Address         Service Type           Location Serviced
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       610-Boulevard Lanes
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       615-Camellia Lanes
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       618-Hoffman Lanes
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       621-All Star Lanes
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       623-Bowling Square Lanes
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Solid Waste       635-Alley Katz's Corner
                                                      Essington, PA 19029-1710
                                                      221 Powhattan St
Environmental Waste Systems   1208024                                             Water             012-Charleston Lanes
                                                      Essington, PA 19029-1710
EPB - Electric Power Board-                           10 West M.L. King Blvd.
                              242-0032.001                                        Electric          298-Tri State Lanes
Chattanooga                                           Chattanooga, TN 37402
                                                      225 North Shore Drive
Equitable Gas Company         004494282000018                                     Natural Gas       212-Noble Manor Lanes
                                                      Pittsburgh, PA 15212
                                                      295 Main St
Erie County Water Authority   31065504-0                                          Water             220-Airport Lanes
                                                      Buffalo, NY 14203-2412
                                                      295 Main St
Erie County Water Authority   71003033-1                                          Water             220-Airport Lanes
                                                      Buffalo, NY 14203-2412
                                                      295 Main St
Erie County Water Authority   70555923-3                                          Water             227-Lancaster Lanes
                                                      Buffalo, NY 14203-2412
                                                      295 Main St
Erie County Water Authority   71000392-8                                          Water             227-Lancaster Lanes
                                                      Buffalo, NY 14203-2412
                                                      295 Main St
Erie County Water Authority   70554140-2                                          Water             233-Thruway Lanes
                                                      Buffalo, NY 14203-2412



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         Utility Provider              Account #                      Address                  Service Type          Location Serviced
                                                       295 Main St
Erie County Water Authority      71000072-0                                                  Water             233-Thruway Lanes
                                                       Buffalo, NY 14203-2412
                                                       1513 Westpark Way
Euless, TX, City of              32201-2086                                                  Sewer             557-Euless Lanes
                                                       Euless, TX 76040
                                                       1513 Westpark Way
Euless, TX, City of              32201-2086                                                  Solid Waste       557-Euless Lanes
                                                       Euless, TX 76040
                                                       1513 Westpark Way
Euless, TX, City of              32201-2086                                                  Water             557-Euless Lanes
                                                       Euless, TX 76040
                                                       Civic Center Complex Room 104
Evansville, IN Waterworks Dept   614-21250             1 N.W. Martin Luther King, Jr. Blvd   Sewer             061-Arc Lanes
                                                       Evansville, IN 47708-1833

                                                       Civic Center Complex Room 104
Evansville, IN Waterworks Dept   614-21250             1 N.W. Martin Luther King, Jr. Blvd   Water             061-Arc Lanes
                                                       Evansville, IN 47708-1833

                                                       Civic Center Complex Room 104
Evansville, IN Waterworks Dept   630-01930             1 N.W. Martin Luther King, Jr. Blvd   Water             061-Arc Lanes
                                                       Evansville, IN 47708-1833
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301196572                                               Sewer             213-Annandale Lanes
                                                       Fairfax, VA 22031
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301733408                                               Sewer             214-Alexandria Lanes
                                                       Fairfax, VA 22031
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301882197                                               Sewer             388-Centreville Lanes
                                                       Fairfax, VA 22031
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301196572                                               Water             213-Annandale Lanes
                                                       Fairfax, VA 22031
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301733408                                               Water             214-Alexandria Lanes
                                                       Fairfax, VA 22031
                                                       8570 Executive Park Avenue
Fairfax Water - VA               0000301882197                                               Water             388-Centreville Lanes
                                                       Fairfax, VA 22031


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         Utility Provider                 Account #                    Address               Service Type          Location Serviced
                                                         31 SOUTH MAIN STREET
Fairport Municipal Commission    5682001                                                   Electric          287-Fairview Lanes
                                                         FAIRPORT, NY 14450
                                                         136 North Blanchard Street
Findlay Water & Sewage Depts     40.17697.1                                                Sewer             533-Sportsman Lanes
                                                         Findlay, OH 45840
                                                         136 North Blanchard Street
Findlay Water & Sewage Depts     40.17751.1                                                Sewer             533-Sportsman Lanes
                                                         Findlay, OH 45840
                                                         136 North Blanchard Street
Findlay Water & Sewage Depts     40.17697.1                                                Water             533-Sportsman Lanes
                                                         Findlay, OH 45840
                                                         136 North Blanchard Street
Findlay Water & Sewage Depts     40.17751.1                                                Water             533-Sportsman Lanes
                                                         Findlay, OH 45840
                                                         341 White Pond Dr., Building B3
FirstEnergy Solutions            40018083                                                  Electric          223-Brookgate Lanes
                                                         Akron, OH 44320
                                                         341 White Pond Dr., Building B3
FirstEnergy Solutions            40033123                                                  Electric          523-Medina Lanes
                                                         Akron, OH 44320
                                                         341 White Pond Dr., Building B3
FirstEnergy Solutions            676835                                                    Electric          529-Riviera Lanes
                                                         Akron, OH 44320
                                                         4000 Executive Parkway Ste 400    Telephone Exp.
FIVE 9 INC                       40807                                                                       Group Sales
                                                         San Ramon, CA 94583               Regular

Flint Township-Board of Public                           G 1490 South Dye Road
                                 07-0000102040-150254                                      Sewer             234-Town N Country Lanes
Works                                                    Flint, MI 48532


Flint Township-Board of Public                           G 1490 South Dye Road
                                 07-0000102040-150254                                      Water             234-Town N Country Lanes
Works                                                    Flint, MI 48532

                                                         Attn: PPC Room 2420
Florida Power & Light Company
                                 00647-76461             9250 West Flagler St              Electric          203-Bradenton Lanes
(FPL)
                                                         Miami, FL 33174




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         Utility Provider                Account #                       Address         Service Type          Location Serviced
                                                           Attn: PPC Room 2420
Florida Power & Light Company
                                  92965-80419              9250 West Flagler St        Electric          204-Gulf Gate Lanes
(FPL)
                                                           Miami, FL 33174

                                                           Attn: PPC Room 2420
Florida Power & Light Company
                                  29337-41411              9250 West Flagler St        Electric          205-Venice Lanes
(FPL)
                                                           Miami, FL 33174

                                                           Attn: PPC Room 2420
Florida Power & Light Company
                                  56213-32419              9250 West Flagler St        Electric          307-Davie Lanes
(FPL)
                                                           Miami, FL 33174

                                                           Attn: PPC Room 2420
Florida Power & Light Company
                                  90473-88310              9250 West Flagler St        Electric          311-Pembroke Pines Lanes
(FPL)
                                                           Miami, FL 33174

                                                           Attn: PPC Room 2420
Florida Power & Light Company
                                  86540-10415              9250 West Flagler St        Electric          312-Boynton Beach Lanes
(FPL)
                                                           Miami, FL 33174
                                                           2331 South Main
Fort Bend Co WCID #2              1-06-00125-01                                        Sewer             398-Stafford Lanes
                                                           Stafford, TX 77477-5519
                                                           2331 South Main
Fort Bend Co WCID #2              1-06-00125-01                                        Water             398-Stafford Lanes
                                                           Stafford, TX 77477-5519
                                                           6431 University Avenue NE
Fridley, MN, City of              110445-478410                                        Sewer             293-Maple Lanes
                                                           Fridley, MN 55432
                                                           6431 University Avenue NE
Fridley, MN, City of              110445-478410                                        Water             293-Maple Lanes
                                                           Fridley, MN 55432
                                                           303 West Commonwealth
Fullerton, CA, City of            09105150                                             Sewer             262-Carter Lanes
                                                           Fullerton, CA 92832-1775
                                                           303 West Commonwealth
Fullerton, CA, City of            09105150                                             Solid Waste       262-Carter Lanes
                                                           Fullerton, CA 92832-1775
                                                           303 West Commonwealth
Fullerton, CA, City of            04808640                                             Water             262-Carter Lanes
                                                           Fullerton, CA 92832-1775


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          Utility Provider               Account #                     Address                   Service Type           Location Serviced
                                                        303 West Commonwealth
Fullerton, CA, City of            09105150                                                     Water             262-Carter Lanes
                                                        Fullerton, CA 92832-1775
                                                        301 SE 4th Avenue
Gainesville Regional Utilities    2000-2102-3608                                               Electric          635-Alley Katz's Corner
                                                        Gainesville, FL 32601
                                                        301 SE 4th Avenue
Gainesville Regional Utilities    2000-2102-3608                                               Sewer             635-Alley Katz's Corner
                                                        Gainesville, FL 32601
                                                        301 SE 4th Avenue
Gainesville Regional Utilities    2000-2102-3608                                               Water             635-Alley Katz's Corner
                                                        Gainesville, FL 32601
                                                        13802 Newhope Street
Garden Grove, CA, City of         010377054                                                    Sewer             284-Valley View Lanes
                                                        Garden Grove, CA 92843
                                                        13802 Newhope Street
Garden Grove, CA, City of         010377054                                                    Water             284-Valley View Lanes
                                                        Garden Grove, CA 92843
                                                        13802 Newhope Street
Garden Grove, CA, City of         010377104                                                    Water             284-Valley View Lanes
                                                        Garden Grove, CA 92843
                                                        Jack L. May Field Operations Complex
Garland , TX, City of - Utility
                                  95443-1873            2343 Forest Lane                       Electric          559-Garland Lanes
Services
                                                        Garland, TX 75042

                                                        Jack L. May Field Operations Complex
Garland , TX, City of - Utility
                                  95443-1873            2343 Forest Lane                       Sewer             559-Garland Lanes
Services
                                                        Garland, TX 75042

                                                        Jack L. May Field Operations Complex
Garland , TX, City of - Utility
                                  95443-1873            2343 Forest Lane                       Solid Waste       559-Garland Lanes
Services
                                                        Garland, TX 75042

                                                        Jack L. May Field Operations Complex
Garland , TX, City of - Utility
                                  95435-1616            2343 Forest Lane                       Water             559-Garland Lanes
Services
                                                        Garland, TX 75042

                                                        Jack L. May Field Operations Complex
Garland , TX, City of - Utility
                                  95443-1873            2343 Forest Lane                       Water             559-Garland Lanes
Services
                                                        Garland, TX 75042


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         Utility Provider              Account #                      Address                   Service Type           Location Serviced



                                                        1300 N. Broad St
Gastonia, NC, City of            20326330                                                     Electric          103-Gastonia Lanes
                                                        Gastonia, NC 28054




                                                        1300 N. Broad St
Gastonia, NC, City of            20326330                                                     Sewer             103-Gastonia Lanes
                                                        Gastonia, NC 28054




                                                        1300 N. Broad St
Gastonia, NC, City of            20326330                                                     Water             103-Gastonia Lanes
                                                        Gastonia, NC 28054



                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     88843-91000                                                  Electric          087-Country Club Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     15989-51002                                                  Electric          154-Bristol Pike Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     59089-60006                                                  Electric          211-Mt. Lebanon Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     93584-11005                                                  Electric          211-Mt. Lebanon Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     26319-91003                                                  Electric          212-Noble Manor Lanes
                                                        Houston, TX 77056-3831




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        Utility Provider             Account #                      Address                   Service Type           Location Serviced
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   35324-80008                                                  Electric          212-Noble Manor Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   89904-50003                                                  Electric          212-Noble Manor Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   35689-81003                                                  Electric          278-Parkway Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   10707-82009                                                  Electric          324-Kings Point Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   54508-71007                                                  Electric          324-Kings Point Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   90744-33005                                                  Electric          332-Westview Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   50230-72009                                                  Electric          336-Timonium Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   39599-13004                                                  Electric          337-Ritchie Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   01470-12002                                                  Electric          339-Southwest Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   34160-42006                                                  Electric          340-Pikesville Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   69385-22006                                                  Electric          340-Pikesville Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   99598-41009                                                  Electric          341-Dundalk Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   18409-43009                                                  Electric          342-Towson Lanes
                                                      Houston, TX 77056-3831
                                                      1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA   06204-03009                                                  Electric          343-Woodlawn Lanes
                                                      Houston, TX 77056-3831



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         Utility Provider              Account #                      Address                   Service Type           Location Serviced
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     90985-52007                                                  Electric          343-Woodlawn Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     25439-77002                                                  Electric          349-Southdale Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     00384-63008                                                  Electric          360-Laurel Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     79959-05002                                                  Electric          361-College Park Lanes
                                                        Houston, TX 77056-3831
                                                        1990 Post Oak Boulevard, Suite 1900
GDF Suez Energy Resources NA     92739-34007                                                  Electric          368-Shady Grove Lanes
                                                        Houston, TX 77056-3831
                                                        96 Annex
Georgia Power                    14163-73004                                                  Electric          031-Masters Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex
Georgia Power                    88425-65019                                                  Electric          031-Masters Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex
Georgia Power                    88425-65028                                                  Electric          031-Masters Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex
Georgia Power                    39336-35014                                                  Electric          033-Peach Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex                                                112-Victory Lanes (Clsd-lsehold
Georgia Power                    66760-02034                                                  Electric
                                                        Atlanta, GA 30396                                       6/2013)
                                                        96 Annex
Georgia Power                    44260-09023                                                  Electric          113-Savannah Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex
Georgia Power                    24257-87017                                                  Electric          319-Chamblee Lanes
                                                        Atlanta, GA 30396
                                                        96 Annex
Georgia Power                    68749-22019                                                  Electric          408-Woodstock Lanes
                                                        Atlanta, GA 30396
                                                        General Administration
Glendale, AZ, City of            00181586-00            7070 W. Northern Ave                  Sewer             351-Glendale Lanes
                                                        Glendale, AZ 85303


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         Utility Provider              Account #                       Address         Service Type          Location Serviced
                                                         General Administration
Glendale, AZ, City of            00181586-00             7070 W. Northern Ave        Water             351-Glendale Lanes
                                                         Glendale, AZ 85303
                                                         260 East Street
GNHWPCA                          0065091-00325910                                    Sewer             509-Circle Lanes
                                                         New Haven, CT 06511
                                                         City Hall
Goldsboro, NC, City of           29267-361780            200 North Center Street     Sewer             104-Boulevard Lanes
                                                         Goldsboro, NC 27530

                                                         City Hall
Goldsboro, NC, City of           29267-361781            200 North Center Street     Sewer             104-Boulevard Lanes
                                                         Goldsboro, NC 27530

                                                         City Hall
Goldsboro, NC, City of           29267-361780            200 North Center Street     Water             104-Boulevard Lanes
                                                         Goldsboro, NC 27530

                                                         City Hall
Goldsboro, NC, City of           29267-361781            200 North Center Street     Water             104-Boulevard Lanes
                                                         Goldsboro, NC 27530
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2040499                                           Sewer             515-Eastbrook Lanes
                                                         Grand Rapids, MI 49503
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2016184                                           Sewer             522-Lincoln Lanes
                                                         Grand Rapids, MI 49503
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2040498                                           Water             515-Eastbrook Lanes
                                                         Grand Rapids, MI 49503
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2040499                                           Water             515-Eastbrook Lanes
                                                         Grand Rapids, MI 49503
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2016183                                           Water             522-Lincoln Lanes
                                                         Grand Rapids, MI 49503
                                                         300 Monroe Avenue NW
Grand Rapids, MI, City of        WS2016184                                           Water             522-Lincoln Lanes
                                                         Grand Rapids, MI 49503


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        Utility Provider               Account #                   Address          Service Type           Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF All Star Lanes - LA
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Auburn Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bolingbrook Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Boulevard Lanes - OK
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bowling Square Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bradenton Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Cranston Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Derby Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Dewey Garden Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Durham Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Eastbrook Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Empire Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Gulf Gate Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Hall of Fame Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Hilltop Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Indian River Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Kissimmee Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lakeland Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lincoln Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Longwood Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Mar Vista Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Masters Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Medina Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Mesa Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Midtown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Norfolk Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Northland Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Park Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pin Palace Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pin-O-Rama Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Plainview Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Rose Bowl Lanes - North
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Saxon Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Semoran Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sheridan Lanes - NY
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Silver Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sonesta Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Spare Time Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Star Lanes - Greenville
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.    AMF Town & Country Lanes -
Granite Telecommunications LLC   1664739              PO Box 983119
                                                                                  Regular           MO
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Triangle Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Wallington Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Woodstock Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Anaheim
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Atlanta
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Houston
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Long Island
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 New York
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Pasadena
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 San Jose
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 300 Shady Grove
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF 20th Century Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF 34th Avenue Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Airport Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Albany Lanes - Oregon
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Alexandria Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF All Star Lanes-Greensboro
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Alley Katz
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Alpha Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Alpha Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Altamonte Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF American Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Annandale Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Apache Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Arc Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Arrowhead Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Arvada Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Auburn Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Aurora Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Babylon Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bama Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bay Shore Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bay Shore Lanes - CA
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Belleview Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Beverly Lanes - CA
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Boulevard Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Boulevard Lanes - CA
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bowlero Lanes - WI
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bowl-O-Drome Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Boynton Beach Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Bristol Pike Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Broadway Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Brookgate Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Camellia Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Capital Plaza Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Carolina Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Carter Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Casselberry Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Centennial Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Centereach Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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        Utility Provider               Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Centreville Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Cerritos Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Chandler Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Chesapeake Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Chicopee Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Christown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Circle Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Circle Lanes - East Haven
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF City Limits Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Classic Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Clearwater Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF College Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF College Park Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Colonial Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Columbia Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Commack Vet Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Conchester Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Country Club Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Country Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Dale City Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Davie Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Deer Valley Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Deltona Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Desert Hills Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF DeSoto Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Diamond Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Dick Weber Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Dundalk Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF E. Carolina Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Eagle Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Earle Brown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF East Meadow Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF El Dorado Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Euless Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Fairview Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Firebird Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type           Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Florida Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Forest Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Fredericksburg Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Friendly Hills Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Galaxy East Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Galaxy West Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Garden City Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Garland Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Gastonia Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Gates Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Glendale Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Hanover Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Hemet Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Hoffman Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Holiday Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Houston North Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Humble Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Imperial Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Kegler's Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lake Air Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Laketown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lancaster Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Land Park Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Laurel Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Leesburg Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lewisville Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Littleton Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lynchburg Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Lynnhaven Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Main Street Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Maplewood Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Mardi Gras Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Marietta Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Marlow Heights Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF McRay Plaza Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Midland Park Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Milford Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Mission Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Monaco Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Moonlite Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Moore Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Mt. Lebanon Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Noble Manor Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Orchard Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Parkway Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Parkway Lanes - AL
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Peach Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pembroke Pines Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Peoria Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pikesville Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pinole Valley Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pla Mor Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pleasant Valley Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Ponderosa Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Price Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pro 300 Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Pro Bowl Lanes - MO
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Richardson Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Rip Van Winkle Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Ritchie Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Ritz Classic Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF River City Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Riverside Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Riviera Lanes - OH
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Rocklin Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Rodeo Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Rose Bowl Lanes - MI
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Saratoga Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Savannah Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sawmill Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Saybrook Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Saybrook Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sayville Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Scottsdale Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sheridan Lanes - OK
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Shirley Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Showplace Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Shrader Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sierra Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sky Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Skyline Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Smithtown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Snellville Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF South Hills Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF South Park Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Southdale Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Southshore Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Southtown Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Southwest Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Southwest Lanes - CA
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type           Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sportsman Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Squaw Peak Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Star Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Star Lanes - Asheville
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Stardust Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Starlite Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Strathmore Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Strike 'N Spare Lanes - IL
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Strike 'N Spare Lanes - NJ
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Strike 'N Spare Lanes - NY
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Strike 'N Spare Lanes-MO
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sturgis Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Summit Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Sunset Lanes - VA
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Syosset Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Taunton Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Tempe Village Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Terrace Gardens Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Thruway Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Timonium Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.    AMF Town & Country Lanes -
Granite Telecommunications LLC   1664739              PO Box 983119
                                                                                  Regular           MA
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Town N Country Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Towson Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Union Hills Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF University Lanes - FL
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF University Lanes - NC
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Valley View Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Venice Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Visalia Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Waldorf Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Walnut Hill Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Wantagh Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Waukesha Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF West Allis Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF West Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Westchester Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Western Branch Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Westview Lanes - MD
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Westview Lanes - TX
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF White Plains Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Williamsburg Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Willow Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Windfern Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Windsor Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Woodlake Lanes
                                                                                  Regular
                                                      Boston, MA 02298




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       Utility Provider                Account #                   Address          Service Type          Location Serviced
                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Woodlands Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Woodlawn Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Woodlawn Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF York Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 AMF Yukon Lanes
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 Group Sales
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 Network Services
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 Network Services
                                                                                  Regular
                                                      Boston, MA 02298

                                                      Client ID 311
                                                                                  Telephone Exp.
Granite Telecommunications LLC   1664739              PO Box 983119                                 Northeast Region Cost
                                                                                  Regular
                                                      Boston, MA 02298




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         Utility Provider                 Account #                      Address                Service Type           Location Serviced
                                                           Client ID 311
                                                                                              Telephone Exp.
Granite Telecommunications LLC     1664739                 PO Box 983119                                        Oklahoma District
                                                                                              Regular
                                                           Boston, MA 02298

                                                           Client ID 311
                                                                                              Telephone Exp.
Granite Telecommunications LLC     1664739                 PO Box 983119                                        Pennsylvania/MD District
                                                                                              Regular
                                                           Boston, MA 02298

                                                           Client ID 311
                                                                                              Telephone Exp.
Granite Telecommunications LLC     1664739                 PO Box 983119                                        South Carolina District
                                                                                              Regular
                                                           Boston, MA 02298

                                                           Client ID 311
                                                                                              Telephone Exp.
Granite Telecommunications LLC     1664739                 PO Box 983119                                        West Region Cost
                                                                                              Regular
                                                           Boston, MA 02298

                                                           Client ID 311
                                                                                              Telephone Exp.
Granite Telecommunications LLC     1664739                 PO Box 983119                                        World on Wheels - Midtown
                                                                                              Regular
                                                           Boston, MA 02298
Greenburgh Consolidated Water                              177 Hillside Ave
                                   6195-6194                                                  Water             551-White Plains Lanes
District                                                   Greenburgh, NY 10607
                                                           Melvin Municipal Office Building
Greensboro, NC, City of            410-0216.301            300 West Washington Street         Sewer             034-All Star Lanes
                                                           Greensboro, NC 27401

                                                           Melvin Municipal Office Building
Greensboro, NC, City of            410-0216.301            300 West Washington Street         Solid Waste       034-All Star Lanes
                                                           Greensboro, NC 27401

                                                           Melvin Municipal Office Building
Greensboro, NC, City of            410-0216.301            300 West Washington Street         Water             034-All Star Lanes
                                                           Greensboro, NC 27401
Greenville Utilities Commission,                           200 West Fifth Street
                                   7424044                                                    Electric          145-East Carolina Lanes
NC                                                         Greenville, NC 27834



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         Utility Provider                  Account #                    Address         Service Type           Location Serviced
Greenville Utilities Commission,                          200 West Fifth Street
                                   7424044                                            Natural Gas       145-East Carolina Lanes
NC                                                        Greenville, NC 27834
Greenville Utilities Commission,                          200 West Fifth Street
                                   7424044                                            Sewer             145-East Carolina Lanes
NC                                                        Greenville, NC 27834
Greenville Utilities Commission,                          200 West Fifth Street
                                   7424044                                            Water             145-East Carolina Lanes
NC                                                        Greenville, NC 27834
                                                          407 West Broad Street
Greenville Water System, SC        0001761900                                         Sewer             023-Star Lanes
                                                          Greenville, SC 29601
                                                          407 West Broad Street
Greenville Water System, SC        0001761940                                         Sewer             023-Star Lanes
                                                          Greenville, SC 29601
                                                          407 West Broad Street
Greenville Water System, SC        0001761900                                         Water             023-Star Lanes
                                                          Greenville, SC 29601
                                                          407 West Broad Street
Greenville Water System, SC        0001761940                                         Water             023-Star Lanes
                                                          Greenville, SC 29601
                                                          684 Winder Highway
Gwinnett Co. Water Resources       20231969                                           Sewer             316-Snellville Lanes
                                                          Lawrenceville, GA 30045
                                                          684 Winder Highway
Gwinnett Co. Water Resources       20187518                                           Water             316-Snellville Lanes
                                                          Lawrenceville, GA 30045
                                                          684 Winder Highway
Gwinnett Co. Water Resources       20231969                                           Water             316-Snellville Lanes
                                                          Lawrenceville, GA 30045
                                                          7516 County Complex Road
Hanover County Public Utilities    6889-60610             PO Box 470                  Sewer             108-Hanover Lanes
                                                          Hanover, VA 23069-0470

                                                          7516 County Complex Road
Hanover County Public Utilities    6889-60610             PO Box 470                  Water             108-Hanover Lanes
                                                          Hanover, VA 23069-0470

                                                          7516 County Complex Road
Hanover County Public Utilities    6891-60612 fireline    PO Box 470                  Water             108-Hanover Lanes
                                                          Hanover, VA 23069-0470


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         Utility Provider                 Account #                     Address                     Service Type          Location Serviced
                                                         Headquarters
                                                                                                  Telephone Exp.
Hargray Remittance Center        1000036001              856 William Hilton Pkwy                                    AMF Main Street Lanes
                                                                                                  Regular
                                                         Hilton Head Island, SC 29928
                                                         445 East Florida Ave
Hemet, CA, City of               14-115300-04                                                     Sewer             280-Hemet Lanes
                                                         Hemet, CA 92543
                                                         445 East Florida Ave
Hemet, CA, City of               14-115300-04                                                     Water             280-Hemet Lanes
                                                         Hemet, CA 92543
Hempstead, NY, Town of-Dept of                           1995 Prospect Avenue
                                 510436                                                           Water             078-Garden City Lanes
Water/EMWD                                               East Meadow, NY 11554
Hempstead, NY, Town of-Dept of                           1995 Prospect Avenue
                                 540680                                                           Water             078-Garden City Lanes
Water/EMWD                                               East Meadow, NY 11554
Hempstead, NY, Town of-Dept of                           1995 Prospect Avenue
                                 020048                                                           Water             163-East Meadow Lanes
Water/EMWD                                               East Meadow, NY 11554
Hempstead, NY, Town of-Dept of                           1995 Prospect Avenue
                                 020049                                                           Water             163-East Meadow Lanes
Water/EMWD                                               East Meadow, NY 11554
Hempstead, NY, Town of-Dept of                           1995 Prospect Avenue
                                 044083                                                           Water             163-East Meadow Lanes
Water/EMWD                                               East Meadow, NY 11554
                                                         4301 East Parham Road
Henrico County, VA               0010628-00080528                                                 Sewer             115-Sunset Lanes
                                                         Henrico, VA 23228
                                                         4301 East Parham Road
Henrico County, VA               0042820-00319249                                                 Sewer             128-Shrader Lanes
                                                         Henrico, VA 23228
                                                         4301 East Parham Road
Henrico County, VA               0010628-00080528                                                 Water             115-Sunset Lanes
                                                         Henrico, VA 23228
                                                         4301 East Parham Road
Henrico County, VA               0042820-00319249                                                 Water             128-Shrader Lanes
                                                         Henrico, VA 23228

                                                         Kevin Greer, Assistant Public Services
                                                         Director/Public Utilities
Hickory, NC, City of             106724-48865                                                     Sewer             107-Colonial Lanes
                                                         1441 9th Ave
                                                         Hickory, NC 28601


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         Utility Provider                 Account #                      Address                     Service Type          Location Serviced

                                                          Kevin Greer, Assistant Public Services
                                                          Director/Public Utilities
Hickory, NC, City of              106724-48865                                                     Water             107-Colonial Lanes
                                                          1441 9th Ave
                                                          Hickory, NC 28601

                                                          62 West Plaza Drive
Highlands Ranch Metro Districts   56964                                                            Electric          430-Littleton Lanes
                                                          Highlands Ranch, CO 80126
                                                          62 West Plaza Drive
Highlands Ranch Metro Districts   56964                                                            Sewer             430-Littleton Lanes
                                                          Highlands Ranch, CO 80126
                                                          62 West Plaza Drive
Highlands Ranch Metro Districts   56964                                                            Water             430-Littleton Lanes
                                                          Highlands Ranch, CO 80126
                                                          21 Oak Park Drive
Hilton Head #1 Public Service     10305                                                            Sewer             068-Main Street Lanes
                                                          Hilton Head Island, SC 29926
                                                          21 Oak Park Drive
Hilton Head #1 Public Service     10305                                                            Water             068-Main Street Lanes
                                                          Hilton Head Island, SC 29926

                                                          Department of Public Works and
Houston, TX, City of -                                    Engineering
                                  2501-4092-1041                                                   Sewer             391-Bunker Hill Lanes
Water/Wastewater                                          611 Walker
                                                          Houston, TX 77002

                                                          Department of Public Works and
Houston, TX, City of -                                    Engineering
                                  8550-0578-5016                                                   Sewer             391-Bunker Hill Lanes
Water/Wastewater                                          611 Walker
                                                          Houston, TX 77002

                                                          Department of Public Works and
Houston, TX, City of -                                    Engineering
                                  3270-1110-2123                                                   Sewer             393-Houston North Lanes
Water/Wastewater                                          611 Walker
                                                          Houston, TX 77002




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         Utility Provider            Account #                    Address              Service Type          Location Serviced

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              3270-1130-2103                                         Sewer             393-Houston North Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              4301-2327-1065                                         Sewer             397-Windfern Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              2501-4092-1041                                         Water             391-Bunker Hill Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              3270-1110-2123                                         Water             393-Houston North Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              3270-1130-2103                                         Water             393-Houston North Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    Department of Public Works and
Houston, TX, City of -                              Engineering
                              4301-2327-1065                                         Water             397-Windfern Lanes
Water/Wastewater                                    611 Walker
                                                    Houston, TX 77002

                                                    1440 Air Rail Avenue
HRSD/HRUBS                    9422750005                                             Sewer             102-Williamsburg Lanes
                                                    Virginia Beach, VA 23455
                                                    1440 Air Rail Avenue
HRSD/HRUBS                    3112170005                                             Sewer             243-Indian River Lanes
                                                    Virginia Beach, VA 23455




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        Utility Provider              Account #                    Address         Service Type          Location Serviced
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     3996670004                                        Sewer             243-Indian River Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     7478120001                                        Sewer             244-Norfolk Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     3131160001                                        Sewer             245-Lynnhaven Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     9783210002                                        Sewer             248-Chesapeake Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     0749920003                                        Sewer             249-Western Branch Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     6855700003                                        Sewer             250-York Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     9422750005                                        Water             102-Williamsburg Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     0449670000                                        Water             243-Indian River Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     7478120001                                        Water             244-Norfolk Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     9783210002                                        Water             248-Chesapeake Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     0749920003                                        Water             249-Western Branch Lanes
                                                     Virginia Beach, VA 23455
                                                     1440 Air Rail Avenue
HRSD/HRUBS                     7894230001                                        Water             249-Western Branch Lanes
                                                     Virginia Beach, VA 23455
                                                     114 W HIGGINS ST
Humble, TX, City of            106-0015900-001                                   Sewer             396-Humble Lanes
                                                     Humble, TX 77338
                                                     114 W HIGGINS ST
Humble, TX, City of            106-0015900-001                                   Water             396-Humble Lanes
                                                     Humble, TX 77338



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         Utility Provider                 Account #                     Address           Service Type          Location Serviced
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010125585                                          Electric          020-Pin Palace Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010077185                                          Electric          062-Parkway Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010077198                                          Electric          062-Parkway Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010125585                                          Natural Gas       020-Pin Palace Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010077198                                          Natural Gas       062-Parkway Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010125585                                          Sewer             020-Pin Palace Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010077198                                          Sewer             062-Parkway Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010125585                                          Water             020-Pin Palace Lanes
                                                          Huntsville, AL 35811
                                                          1145 Jordan Rd
Huntsville Utilities, AL          211010077198                                          Water             062-Parkway Lanes
                                                          Huntsville, AL 35811
                                                          1505 Precinct Line Road
Hurst, TX, City of                18157                                                 Sewer             025-Hurst Lanes
                                                          Hurst, TX 76054-3395
                                                          1505 Precinct Line Road
Hurst, TX, City of                18157                                                 Water             025-Hurst Lanes
                                                          Hurst, TX 76054-3395
                                                          300 North Water Works Drive
Illinois-American Water Company   XX-XXXXXXX-0                                          Sewer             387-Bolingbrook Lanes
                                                          Belleville, IL 62223
                                                          300 North Water Works Drive
Illinois-American Water Company   XX-XXXXXXX-0                                          Water             387-Bolingbrook Lanes
                                                          Belleville, IL 62223
                                                          300 North Water Works Drive
Illinois-American Water Company   XX-XXXXXXX-2                                          Water             387-Bolingbrook Lanes
                                                          Belleville, IL 62223



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          Utility Provider              Account #                      Address           Service Type          Location Serviced
                                                        11610 E. Truman Rd.
Independence, MO, City of        5210-13001-0001-001                                   Electric          036-Strike N Spare Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        4095-03701-0001-001                                   Electric          043-Independence Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        5210-13001-5000-001                                   Sewer             036-Strike N Spare Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        4095-03701-0001-001                                   Sewer             043-Independence Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        5210-13001-5000-001                                   Water             036-Strike N Spare Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        4095-03701-0000-000                                   Water             043-Independence Lanes
                                                        Independence, MO 64050
                                                        11610 E. Truman Rd.
Independence, MO, City of        4095-03701-0001-001                                   Water             043-Independence Lanes
                                                        Independence, MO 64050
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-6                                              Electric          165-Forest Lanes
                                                        De Pere, WI 54115
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-1                                              Electric          385-Rolling Meadows Lanes
                                                        De Pere, WI 54115
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-2                                              Electric          387-Bolingbrook Lanes
                                                        De Pere, WI 54115
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-7                                              Electric          506-Bowland Lanes
                                                        De Pere, WI 54115
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-3                                              Electric          618-Hoffman Lanes
                                                        De Pere, WI 54115
                                                        1716 Lawrence Dr.
Integrys Energy Services, Inc.   713728-4                                              Electric          618-Hoffman Lanes
                                                        De Pere, WI 54115
                                                        Todd W. Reck, P.E., Director
Irving, TX, City of              31439201003            333 Valley View Lane           Sewer             593-Irving Lanes
                                                        Irving, TX 75061


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          Utility Provider             Account #                     Address           Service Type           Location Serviced
                                                      Todd W. Reck, P.E., Director
Irving, TX, City of            31439201003            333 Valley View Lane           Solid Waste       593-Irving Lanes
                                                      Irving, TX 75061

                                                      Todd W. Reck, P.E., Director
Irving, TX, City of            31439201003            333 Valley View Lane           Water             593-Irving Lanes
                                                      Irving, TX 75061

                                                      Todd W. Reck, P.E., Director
Irving, TX, City of            31470601001            333 Valley View Lane           Water             593-Irving Lanes
                                                      Irving, TX 75061
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Accounts Payable
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Accounts Payable
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Accounts Payable
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Accounts Payable
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Centers Accounting
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Central Florida District
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Comp/Benefits/HRIS
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Denver/KC District
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Employee Relations/Recruiting
                                                      Hollywood, CA 90028            Regular
                                                      6922 Hollywood Blvd.           Telephone Exp.
j2 Global Communications Inc   13608                                                                   Employee Relations/Recruiting
                                                      Hollywood, CA 90028            Regular


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        Utility Provider               Account #                   Address          Service Type           Location Serviced
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Employee Relations/Recruiting
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Employee Relations/Recruiting
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Facilities (A/P Dept CP450)
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Facilities (A/P Dept CP450)
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Group Sales
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Group Sales
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Houston District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Houston District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Houston District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                HR
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Los Angeles South District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Los Angeles South District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Minneapolis District
                                                      Hollywood, CA 90028         Regular
                                                      6922 Hollywood Blvd.        Telephone Exp.
j2 Global Communications Inc   13608                                                                Minneapolis District
                                                      Hollywood, CA 90028         Regular



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         Utility Provider                Account #                    Address                 Service Type           Location Serviced
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Oklahoma District
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Phoenix District
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Purchasing
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Purchasing
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Richmond District
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Sales Audit
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Sales Audit
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Support Desk
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Support Desk
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Virginia District
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         West Region Cost
                                                        Hollywood, CA 90028                 Regular
                                                        6922 Hollywood Blvd.                Telephone Exp.
j2 Global Communications Inc    13608                                                                         Western Michigan District
                                                        Hollywood, CA 90028                 Regular
                                                        1221 Elmwood Pk. Blvd., Suite 909
Jefferson Parish, LA            189688                                                      Sewer             621-All Star Lanes
                                                        Jefferson, LA 70123
                                                        1221 Elmwood Pk. Blvd., Suite 909
Jefferson Parish, LA            189688                                                      Solid Waste       621-All Star Lanes
                                                        Jefferson, LA 70123



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         Utility Provider                Account #                    Address                 Service Type           Location Serviced
                                                        1221 Elmwood Pk. Blvd., Suite 909
Jefferson Parish, LA            189688                                                      Water             621-All Star Lanes
                                                        Jefferson, LA 70123
                                                        125 Convent Road
Jericho Water District          36603100-1                                                  Water             242-Syosset Lanes
                                                        Syosset, NY 11791-3898
                                                        125 Convent Road
Jericho Water District          36603100-2                                                  Water             242-Syosset Lanes
                                                        Syosset, NY 11791-3898
                                                        300 Madison Avenue
Jersey Central Power & Light    10 00 43 0290 0 6                                           Electric          535-Strathmore Lanes
                                                        Morristown, NJ 07962
                                                        300 Madison Avenue
Jersey Central Power & Light    10 00 43 0625 8 5                                           Electric          535-Strathmore Lanes
                                                        Morristown, NJ 07962
                                                        11811 S. Sunset Drive, Suite 2500
Johnson County Wastewater       0020810695                                                  Sewer             044-College Lanes
                                                        Olathe, KS 66061-7061
                                                        1200 Main
Kansas City Power & Light Co.   0895-16-2867                                                Electric          042-Northland Lanes
                                                        Kansas City, MO 64105
                                                        1200 Main
Kansas City Power & Light Co.   2245-36-1919                                                Electric          044-College Lanes
                                                        Kansas City, MO 64105
                                                        1200 Main
Kansas City Power & Light Co.   1384-61-9109                                                Electric          081-Pro Bowl Lanes
                                                        Kansas City, MO 64105
                                                        1200 Main
Kansas City Power & Light Co.   9291-08-4215                                                Electric          081-Pro Bowl Lanes
                                                        Kansas City, MO 64105

                                                        Sherri McIntyre
KCMO Water Services                                     414 E. 12th Street
                                000024657 0025988 7                                         Sewer             042-Northland Lanes
Department                                              20th floor, City Hall
                                                        Kansas City, MO 64106

                                                        Sherri McIntyre
KCMO Water Services                                     414 E. 12th Street
                                000024657 0025988 7                                         Water             042-Northland Lanes
Department                                              20th floor, City Hall
                                                        Kansas City, MO 64106




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         Utility Provider                  Account #                      Address                Service Type          Location Serviced

                                                            Sherri McIntyre
KCMO Water Services                                         414 E. 12th Street
                                    000178092 0190870 1                                        Water             042-Northland Lanes
Department                                                  20th floor, City Hall
                                                            Kansas City, MO 64106

                                                            1177 High Ridge Road
Keter Environmental Services, Inc   1022002                                                    Solid Waste       638-300 Anaheim
                                                            Stamford, CT 06905
                                                            1701 W. Carroll St.
Kissimmee Utility Authority         1321340-311710                                             Electric          407-Kissimmee Lanes
                                                            Kissimmee, FL 34741
                                                            1701 W. Carroll St.
Kissimmee Utility Authority         1321340-311710                                             Sewer             407-Kissimmee Lanes
                                                            Kissimmee, FL 34741
                                                            1701 W. Carroll St.
Kissimmee Utility Authority         1321340-311710                                             Solid Waste       407-Kissimmee Lanes
                                                            Kissimmee, FL 34741
                                                            1701 W. Carroll St.
Kissimmee Utility Authority         1321340-311710                                             Water             407-Kissimmee Lanes
                                                            Kissimmee, FL 34741
                                                            4210 West Old Shakopee Road, Ste
Kraus Anderson                      City of Bloomington     200                                Water             291-Southtown Lanes
                                                            Bloominton , MN 55437
                                                            720 Olive Street
Laclede Gas Company                 228718-001-5                                               Natural Gas       160-Dick Weber Lanes
                                                            St. Louis, MO 63101
Lakeland Electric/City of                                   501 East Lemon Street
                                    3006678                                                    Electric          403-Lakeland Lanes
Lakeland,FL                                                 Lakeland, FL 33801-9881
Lakeland Electric/City of                                   501 East Lemon Street
                                    3006678                                                    Sewer             403-Lakeland Lanes
Lakeland,FL                                                 Lakeland, FL 33801-9881
Lakeland Electric/City of                                   501 East Lemon Street
                                    3006679                                                    Sewer             403-Lakeland Lanes
Lakeland,FL                                                 Lakeland, FL 33801-9881
Lakeland Electric/City of                                   501 East Lemon Street
                                    3006678                                                    Solid Waste       403-Lakeland Lanes
Lakeland,FL                                                 Lakeland, FL 33801-9881
Lakeland Electric/City of                                   501 East Lemon Street
                                    3006679                                                    Water             403-Lakeland Lanes
Lakeland,FL                                                 Lakeland, FL 33801-9881


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         Utility Provider                 Account #                    Address             Service Type          Location Serviced
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-446110                                         Electric          401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-549510                                         Electric          401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-446110                                         Natural Gas       401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-446110                                         Sewer             401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-446110                                         Solid Waste       401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         501 W. Meadow Street
Leesburg, FL, City of              585585-446110                                         Water             401-Leesburg Lanes
                                                         Leesburg, FL 34749
                                                         Department of Public Services
Lewisville, TX, City of            021-0001540-001       1100 N. Kealy, Suite D          Sewer             595-Lewisville Lanes
                                                         Lewisville, TX 75057

                                                         Department of Public Services
Lewisville, TX, City of            021-0001540-001       1100 N. Kealy, Suite D          Water             595-Lewisville Lanes
                                                         Lewisville, TX 75057
                                                         220 West Main Street
LG&E - Louisville Gas & Electric   3000-0853-0556                                        Electric          029-Rose Bowl Lanes
                                                         Louisville, KY 40202
                                                         220 West Main Street
LG&E - Louisville Gas & Electric   3000-0961-7931                                        Electric          139-Derby Lanes
                                                         Louisville, KY 40202
                                                         220 West Main Street
LG&E - Louisville Gas & Electric   3000-0961-8103                                        Electric          139-Derby Lanes
                                                         Louisville, KY 40202
                                                         220 West Main Street
LG&E - Louisville Gas & Electric   3000-1041-3213                                        Electric          139-Derby Lanes
                                                         Louisville, KY 40202
                                                         220 West Main Street
LG&E - Louisville Gas & Electric   3000-0853-0556                                        Natural Gas       029-Rose Bowl Lanes
                                                         Louisville, KY 40202



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         Utility Provider                Account #                     Address           Service Type          Location Serviced
                                                         25901 Network Pl
Liberty Power, IL                 4995193983                                           Electric          230-Price Lanes
                                                         Chicago, IL 60673-1259
                                                         515 East Little Canada Road
Little Canada, MN, City of        005540-000                                           Sewer             292-Saxon Lanes
                                                         Little Canada, MN 55117
                                                         515 East Little Canada Road
Little Canada, MN, City of        005540-000                                           Water             292-Saxon Lanes
                                                         Little Canada, MN 55117
                                                         515 East Little Canada Road
Little Canada, MN, City of        005978-000                                           Water             292-Saxon Lanes
                                                         Little Canada, MN 55117
                                                         2255 W BERRY AVE
Littleton, CO, City of            28523 Sewer                                          Water             432-Broadway Lanes
                                                         Littleton, CO 80165
                                                         175 E. Old Country Road
Long Island Power Authority       05066000570                                          Electric          078-Garden City Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       05066000596                                          Electric          078-Garden City Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       05066000604                                          Electric          078-Garden City Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       02748003460                                          Electric          163-East Meadow Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       02748003478                                          Electric          163-East Meadow Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       05169001442                                          Electric          183-Smithtown Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       05169001483                                          Electric          183-Smithtown Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       02826001964                                          Electric          202-Sheridan Lanes
                                                         Hicksville, NY 11801
                                                         175 E. Old Country Road
Long Island Power Authority       02826001980                                          Electric          202-Sheridan Lanes
                                                         Hicksville, NY 11801



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        Utility Provider            Account #                      Address         Service Type          Location Serviced
                                                     175 E. Old Country Road
Long Island Power Authority   02826002103                                        Electric          202-Sheridan Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   02826006369                                        Electric          202-Sheridan Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   07170000306                                        Electric          208-Babylon Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   03375003443                                        Electric          209-Plainview Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   04666001005                                        Electric          237-Bay Shore Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   04666001013                                        Electric          237-Bay Shore Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   05677000324                                        Electric          238-Centereach Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   05677000340                                        Electric          238-Centereach Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   01418002596                                        Electric          239-Melville Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   06926002541                                        Electric          240-Sayville Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   05464001808                                        Electric          241-Shirley Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   05464003960                                        Electric          241-Shirley Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   05464004059                                        Electric          241-Shirley Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   04176002519                                        Electric          242-Syosset Lanes
                                                     Hicksville, NY 11801



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        Utility Provider             Account #                     Address         Service Type          Location Serviced
                                                     175 E. Old Country Road
Long Island Power Authority   04176002535                                        Electric          242-Syosset Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   00281000497                                        Electric          512-Commack Vet's Lanes
                                                     Hicksville, NY 11801
                                                     175 E. Old Country Road
Long Island Power Authority   04156001432                                        Electric          548-Wantagh Lanes
                                                     Hicksville, NY 11801
                                                     155 W. Warren Ave.
Longwood, FL, City of         26245-415                                          Sewer             404-Longwood Lanes
                                                     Longwood, FL 32750
                                                     155 W. Warren Ave.
Longwood, FL, City of         26245-415                                          Water             404-Longwood Lanes
                                                     Longwood, FL 32750
                                                     Boyle Heights CSC
Los Angeles Dept of Water &   4-57-52266-08731-00-
                                                     919 S. Soto Street #10      Electric          263-El Dorado Lanes
Power                         0000-2-01
                                                     Los Angeles, CA 90023

                                                     Boyle Heights CSC
Los Angeles Dept of Water &   4-50-38899-03775-00-
                                                     919 S. Soto Street #10      Electric          264-Mar Vista Lanes
Power                         0000-5-01
                                                     Los Angeles, CA 90023

                                                     Boyle Heights CSC
Los Angeles Dept of Water &   4-50-61930-03771-00-
                                                     919 S. Soto Street #10      Electric          264-Mar Vista Lanes
Power                         9001-5-01
                                                     Los Angeles, CA 90023

                                                     Boyle Heights CSC
Los Angeles Dept of Water &   4-50-87447-12125-00-
                                                     919 S. Soto Street #10      Electric          264-Mar Vista Lanes
Power                         0000-1-01
                                                     Los Angeles, CA 90023

                                                     Boyle Heights CSC
Los Angeles Dept of Water &   1-57-87447-04645-00-
                                                     919 S. Soto Street #10      Electric          265-Midtown Lanes
Power                         0000-2-01
                                                     Los Angeles, CA 90023

                                                     Boyle Heights CSC
Los Angeles Dept of Water &   3-46-87476-23130-00-
                                                     919 S. Soto Street #10      Electric          270-Woodlake Lanes
Power                         9002-4-01
                                                     Los Angeles, CA 90023




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         Utility Provider                   Account #                    Address         Service Type          Location Serviced
                                                           Boyle Heights CSC
Los Angeles Dept of Water &        4-57-52266-08731-00-
                                                           919 S. Soto Street #10      Sewer             263-El Dorado Lanes
Power                              0000-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        4-50-87447-12125-00-
                                                           919 S. Soto Street #10      Sewer             264-Mar Vista Lanes
Power                              0000-1-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        1-57-87447-04645-00-
                                                           919 S. Soto Street #10      Sewer             265-Midtown Lanes
Power                              0000-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        3-46-87476-23130-00-
                                                           919 S. Soto Street #10      Sewer             270-Woodlake Lanes
Power                              9001-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        4-57-52266-08731-00-
                                                           919 S. Soto Street #10      Water             263-El Dorado Lanes
Power                              0000-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        4-50-87447-12125-00-
                                                           919 S. Soto Street #10      Water             264-Mar Vista Lanes
Power                              0000-1-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        1-57-87447-04645-00-
                                                           919 S. Soto Street #10      Water             265-Midtown Lanes
Power                              0000-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        3-46-87476-23130-00-
                                                           919 S. Soto Street #10      Water             270-Woodlake Lanes
Power                              9001-2-01
                                                           Los Angeles, CA 90023

                                                           Boyle Heights CSC
Los Angeles Dept of Water &        3-46-87476-23130-00-
                                                           919 S. Soto Street #10      Water             270-Woodlake Lanes
Power                              9002-2-01
                                                           Los Angeles, CA 90023
Los Angeles, CA, City of-Dept of                           900 S. Fremont Ave
                                   494688                                              Sewer             270-Woodlake Lanes
Pub Work                                                   Alhambra, CA 91803


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          Utility Provider              Account #                      Address         Service Type          Location Serviced
                                                         550 South Third Street
Louisville Water Company         0836022-4                                           Sewer             029-Rose Bowl Lanes
                                                         Louisville, KY 40202
                                                         550 South Third Street
Louisville Water Company         0836450-7                                           Sewer             139-Derby Lanes
                                                         Louisville, KY 40202
                                                         550 South Third Street
Louisville Water Company         0836021-6                                           Water             029-Rose Bowl Lanes
                                                         Louisville, KY 40202
                                                         550 South Third Street
Louisville Water Company         0836022-4                                           Water             029-Rose Bowl Lanes
                                                         Louisville, KY 40202
                                                         550 South Third Street
Louisville Water Company         0836450-7                                           Water             139-Derby Lanes
                                                         Louisville, KY 40202
                                                         550 South Third Street
Louisville Water Company         0836452-3                                           Water             139-Derby Lanes
                                                         Louisville, KY 40202
                                                         900 Church Street
Lynchburg, VA, City of           1567511 22894                                       Sewer             144-Lynchburg Lanes
                                                         Lynchburg, VA 24504
                                                         900 Church Street
Lynchburg, VA, City of           1567511 22894                                       Water             144-Lynchburg Lanes
                                                         Lynchburg, VA 24504
                                                         4200 LAWNDALE AVE
Lyons, IL, Village of            011248-000                                          Sewer             165-Forest Lanes
                                                         Lyons, IL 60534
                                                         4200 LAWNDALE AVE
Lyons, IL, Village of            011248-000                                          Water             165-Forest Lanes
                                                         Lyons, IL 60534
Madison County Sanitary Sewer,                           301 E Chain Of Rocks Rd
                                 02-00002585-10-1                                    Sewer             506-Bowland Lanes
SSA#1                                                    Granite City, IL 62040
                                                         675 North Marietta Pkwy.
Marietta Power                   346652-14664                                        Electric          072-Marietta Lanes
                                                         Marietta, GA 30060
                                                         675 North Marietta Pkwy.
Marietta Power                   346652-14668                                        Electric          072-Marietta Lanes
                                                         Marietta, GA 30060
                                                         675 North Marietta Pkwy.
Marietta Power                   346652-14664                                        Sewer             072-Marietta Lanes
                                                         Marietta, GA 30060



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         Utility Provider             Account #                      Address         Service Type          Location Serviced
                                                       675 North Marietta Pkwy.
Marietta Power                 346652-14668                                        Sewer             072-Marietta Lanes
                                                       Marietta, GA 30060
                                                       675 North Marietta Pkwy.
Marietta Power                 346652-14664                                        Water             072-Marietta Lanes
                                                       Marietta, GA 30060
                                                       675 North Marietta Pkwy.
Marietta Power                 346652-14668                                        Water             072-Marietta Lanes
                                                       Marietta, GA 30060
Medina County Sanitary                                 791 W. Smith Rd.
                               J210-9604835                                        Sewer             523-Medina Lanes
Engineers                                              Medina, OH 44256
                                                       Service Department
Medina, OH, City of            M 010075201             132 North Elmwood Ave.      Solid Waste       523-Medina Lanes
                                                       Medina, OH 44256

                                                       Service Department
Medina, OH, City of            M 010075201             132 North Elmwood Ave.      Water             523-Medina Lanes
                                                       Medina, OH 44256

                                                       Municipal Building
Mesa, AZ, City of              504175-159398           55 N. Center St             Sewer             384-Mesa Lanes
                                                       Mesa, AZ 85201

                                                       Municipal Building
Mesa, AZ, City of              504175-159398           55 N. Center St             Water             384-Mesa Lanes
                                                       Mesa, AZ 85201
                                                       1600 2nd. Avenue North
Metro Water Services TN        0050894301                                          Sewer             048-Pla Mor Lanes
                                                       Nashville, TN 37208
                                                       1600 2nd. Avenue North
Metro Water Services TN        0204205800                                          Sewer             048-Pla Mor Lanes
                                                       Nashville, TN 37208
                                                       1600 2nd. Avenue North
Metro Water Services TN        0050894301                                          Water             048-Pla Mor Lanes
                                                       Nashville, TN 37208
Metropolitan St. Louis Sewer                           2350 Market Street
                               0032622-3                                           Sewer             160-Dick Weber Lanes
District                                               St. Louis, MO 63103-2555



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         Utility Provider                 Account #                       Address         Service Type          Location Serviced
                                                           899 South Telegraph Road
Michigan Gas Utilities              4777532-5                                           Natural Gas       272-Blossom Lanes
                                                           Monroe, MI 48161
                                                           899 South Telegraph Road
Michigan Gas Utilities              4584979-1                                           Natural Gas       541-Sturgis Lanes
                                                           Monroe, MI 48161
                                                           2501 Palermo Dr Ste A
Mid American Natural Resources      RBA 4809930                                         Natural Gas       220-Airport Lanes
                                                           Erie, PA 16506
                                                           2501 Palermo Dr Ste A
Mid American Natural Resources      RBA 4819075                                         Natural Gas       227-Lancaster Lanes
                                                           Erie, PA 16506
                                                           2501 Palermo Dr Ste A
Mid American Natural Resources      RBA 4809912                                         Natural Gas       233-Thruway Lanes
                                                           Erie, PA 16506

                                                           Corporate
                                                           320 LeClaire
MidAmerican Energy Company          70370-34028                                         Electric          321-Des Moines Lanes
                                                           PO Box 4350
                                                           Davenport, IA 52808-4350

                                                           Corporate
                                                           320 LeClaire
MidAmerican Energy Company          70580-34050                                         Electric          321-Des Moines Lanes
                                                           PO Box 4350
                                                           Davenport, IA 52808-4350

                                                           Corporate
                                                           320 LeClaire
MidAmerican Energy Company          70370-34028                                         Natural Gas       321-Des Moines Lanes
                                                           PO Box 4350
                                                           Davenport, IA 52808-4350

                                                           254 Longs Pond Road
Mid-Carolina Electric Cooperative   6100966004                                          Electric          126-Columbia Lanes
                                                           Lexington, SC 29072
                                                           City Hall
Midland, TX, City of                87037-28018            300 N. Loraine First Floor   Sewer             576-Midland Park Lanes
                                                           Midland, TX 79701




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         Utility Provider               Account #                       Address                  Service Type           Location Serviced
                                                         City Hall
Midland, TX, City of             87037-28018             300 N. Loraine First Floor            Solid Waste       576-Midland Park Lanes
                                                         Midland, TX 79701

                                                         City Hall
Midland, TX, City of             87037-28018             300 N. Loraine First Floor            Water             576-Midland Park Lanes
                                                         Midland, TX 79701

                                                         Public Works Department
Milpitas, CA, City of            2020787                 1265 North Milpitas Boulevard         Sewer             577-Mission Lanes
                                                         Milpitas, CA 95035

                                                         Public Works Department
Milpitas, CA, City of            2020787                 1265 North Milpitas Boulevard         Water             577-Mission Lanes
                                                         Milpitas, CA 95035

                                                         Zeidler Municipal Building Room 409
Milwaukee Water Works            399-0242.300            841 N. Broadway                       Sewer             601-West Lanes
                                                         Milwaukee, WI 53202

                                                         Zeidler Municipal Building Room 409
Milwaukee Water Works            399-0242.300            841 N. Broadway                       Water             601-West Lanes
                                                         Milwaukee, WI 53202
                                                         155 Washington Avenue
Mineola, NY, Inc. Village of     60-000390-00                                                  Water             202-Sheridan Lanes
                                                         Mineola, NY 11501
                                                         155 Washington Avenue
Mineola, NY, Inc. Village of     70-000140-00                                                  Water             202-Sheridan Lanes
                                                         Mineola, NY 11501
                                                         Attn: Customer Service
Minnesota Energy Resources
                                 4058288-4               P.O. Box 659795                       Natural Gas       634-City Limits Lanes
Corporation
                                                         San Antonio, TX 78265-9795
                                                         727 Craig Road
Missouri American Water          XX-XXXXXXX-1                                                  Water             160-Dick Weber Lanes
                                                         St. Louis, MO 63141
                                                         3420 Broadway St
Missouri Gas Energy (MGE)        3872967311                                                    Natural Gas       036-Strike N Spare Lanes
                                                         Kansas City, MO 64111


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         Utility Provider                   Account #                    Address          Service Type          Location Serviced
                                                           3420 Broadway St
Missouri Gas Energy (MGE)            8999419955                                         Natural Gas       042-Northland Lanes
                                                           Kansas City, MO 64111
                                                           3420 Broadway St
Missouri Gas Energy (MGE)            5042838081                                         Natural Gas       043-Independence Lanes
                                                           Kansas City, MO 64111
                                                           3420 Broadway St
Missouri Gas Energy (MGE)            3941136020                                         Natural Gas       081-Pro Bowl Lanes
                                                           Kansas City, MO 64111
                                                           745 E Chain of Rocks Road
Mitchell Public Water District, IL   02-00083800-00-9                                   Water             506-Bowland Lanes
                                                           Mitchell, IL 62040-2896
Mobile Area Water & Sewer                                  207 North Catherine Street
                                     0205401300                                         Sewer             615-Camellia Lanes
System-MAWSS                                               Mobile, AL 36604
Mobile Area Water & Sewer                                  207 North Catherine Street
                                     0143535300                                         Sewer             616-Skyline Lanes
System-MAWSS                                               Mobile, AL 36604
Mobile Area Water & Sewer                                  207 North Catherine Street
                                     0205401300                                         Water             615-Camellia Lanes
System-MAWSS                                               Mobile, AL 36604
Mobile Area Water & Sewer                                  207 North Catherine Street
                                     0143535300                                         Water             616-Skyline Lanes
System-MAWSS                                               Mobile, AL 36604
                                                           1 Kennedy Plaza
Mohawk Valley Water Authority        000041252 55C 35BK                                 Sewer             526-Pin-o-rama Lanes
                                                           Utica, NY 13502
                                                           1 Kennedy Plaza
Mohawk Valley Water Authority        000041252 55C 35BK                                 Water             526-Pin-o-rama Lanes
                                                           Utica, NY 13502
                                                           475 Norris Drive
Monroe County Water Authority        0034730               PO Box 10999                 Water             217-Gates Lanes
                                                           Rochester, NY 14610-0999

                                                           475 Norris Drive
Monroe County Water Authority        0390242               PO Box 10999                 Water             217-Gates Lanes
                                                           Rochester, NY 14610-0999

                                                           475 Norris Drive
Monroe County Water Authority        0390299               PO Box 10999                 Water             217-Gates Lanes
                                                           Rochester, NY 14610-0999


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        Utility Provider               Account #                    Address          Service Type          Location Serviced
                                                       475 Norris Drive
Monroe County Water Authority   0013821                PO Box 10999                Water             287-Fairview Lanes
                                                       Rochester, NY 14610-0999

                                                       475 Norris Drive
Monroe County Water Authority   0116812                PO Box 10999                Water             514-Dewey Garden Lanes
                                                       Rochester, NY 14610-0999

                                                       475 Norris Drive
Monroe County Water Authority   0390869                PO Box 10999                Water             514-Dewey Garden Lanes
                                                       Rochester, NY 14610-0999

                                                       475 Norris Drive
Monroe County Water Authority   0127959                PO Box 10999                Water             516-Empire Lanes
                                                       Rochester, NY 14610-0999

                                                       344 E. Madison Ave.
Montebello Land & Water
                                25-22640a-1            PO Box 279                  Water             259-Beverly Lanes
Company
                                                       Montebello, CA 90640

                                                       344 E. Madison Ave.
Montebello Land & Water
                                25-22640b-1            PO Box 279                  Water             259-Beverly Lanes
Company
                                                       Montebello, CA 90640
                                                       301 North Broadway
Moore, OK, City of              24-0060-01                                         Sewer             578-Moore Lanes
                                                       Moore, OK 73160
                                                       301 North Broadway
Moore, OK, City of              24-0060-01                                         Solid Waste       578-Moore Lanes
                                                       Moore, OK 73160
                                                       301 North Broadway
Moore, OK, City of              24-0060-01                                         Water             578-Moore Lanes
                                                       Moore, OK 73160
                                                       131 East Apple Ave
Muskegon County Public Works    WHIT-001150-0000-00                                Sewer             175-Muskegon Lanes
                                                       Muskegon, MI 49442
                                                       131 East Apple Ave
Muskegon County Public Works    WHIT-001150-0000-00                                Water             175-Muskegon Lanes
                                                       Muskegon, MI 49442



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         Utility Provider              Account #                    Address         Service Type          Location Serviced
                                                      131 East Apple Ave
Muskegon County Public Works   WHIT-001150-FIRE-00                                Water             175-Muskegon Lanes
                                                      Muskegon, MI 49442
                                                      1214 Church Street
Nashville Electric Service     0241081-0239011                                    Electric          048-Pla Mor Lanes
                                                      Nashville, TN 37246-0003
                                                      Corporate Headquarters
National Fuel                  4809930 09             6363 Main Street            Natural Gas       220-Airport Lanes
                                                      Williamsville, NY 14221

                                                      Corporate Headquarters
National Fuel                  4819075 06             6363 Main Street            Natural Gas       227-Lancaster Lanes
                                                      Williamsville, NY 14221

                                                      Corporate Headquarters
National Fuel                  4809912 11             6363 Main Street            Natural Gas       233-Thruway Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17687                  Suite 120                   Natural Gas       217-Gates Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17688                  Suite 120                   Natural Gas       217-Gates Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17689                  Suite 120                   Natural Gas       217-Gates Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17690                  Suite 120                   Natural Gas       287-Fairview Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17691                  Suite 120                   Natural Gas       514-Dewey Garden Lanes
                                                      Williamsville, NY 14221




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         Utility Provider              Account #                    Address           Service Type          Location Serviced
                                                      165 Lawrence Bell Dr
National Fuel Resources        17692                  Suite 120                     Natural Gas       516-Empire Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17693                  Suite 120                     Natural Gas       545-Terrace Gardens Lanes
                                                      Williamsville, NY 14221

                                                      165 Lawrence Bell Dr
National Fuel Resources        17694                  Suite 120                     Natural Gas       545-Terrace Gardens Lanes
                                                      Williamsville, NY 14221

                                                      One Metrotech Center
National Grid - Brooklyn       07025-21253            16th floor                    Natural Gas       210-34th Avenue Lanes
                                                      Brooklyn, NY 11201

                                                      Customer Service Center C-3
National Grid - Hicksville     05066000588            300 Erie Boulevard West       Natural Gas       078-Garden City Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     02748003452            300 Erie Boulevard West       Natural Gas       163-East Meadow Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     02748003486            300 Erie Boulevard West       Natural Gas       163-East Meadow Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     05169001459            300 Erie Boulevard West       Natural Gas       183-Smithtown Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     05169001467            300 Erie Boulevard West       Natural Gas       183-Smithtown Lanes
                                                      Syracuse, NY 13202-4250




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         Utility Provider            Account #                      Address           Service Type          Location Serviced
                                                      Customer Service Center C-3
National Grid - Hicksville     02826001998            300 Erie Boulevard West       Natural Gas       202-Sheridan Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     07170000298            300 Erie Boulevard West       Natural Gas       208-Babylon Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     07170000314            300 Erie Boulevard West       Natural Gas       208-Babylon Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     03375003435            300 Erie Boulevard West       Natural Gas       209-Plainview Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     03375003450            300 Erie Boulevard West       Natural Gas       209-Plainview Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     04666000999            300 Erie Boulevard West       Natural Gas       237-Bay Shore Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     04666001021            300 Erie Boulevard West       Natural Gas       237-Bay Shore Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     05677011206            300 Erie Boulevard West       Natural Gas       238-Centereach Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Hicksville     01418002604            300 Erie Boulevard West       Natural Gas       239-Melville Lanes
                                                      Syracuse, NY 13202-4250




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         Utility Provider             Account #                      Address           Service Type          Location Serviced
                                                       Customer Service Center C-3
National Grid - Hicksville      06926004091            300 Erie Boulevard West       Natural Gas       240-Sayville Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      05464003242            300 Erie Boulevard West       Natural Gas       241-Shirley Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      04176002527            300 Erie Boulevard West       Natural Gas       242-Syosset Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      04176002543            300 Erie Boulevard West       Natural Gas       242-Syosset Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      00281000489            300 Erie Boulevard West       Natural Gas       512-Commack Vet's Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      04156001416            300 Erie Boulevard West       Natural Gas       548-Wantagh Lanes
                                                       Syracuse, NY 13202-4250

                                                       Customer Service Center C-3
National Grid - Hicksville      04156001424            300 Erie Boulevard West       Natural Gas       548-Wantagh Lanes
                                                       Syracuse, NY 13202-4250
                                                       40 Sylvan Road
National Grid - Massachusetts   26750-32016                                          Electric          226-Holiday Lanes
                                                       Waltham, MA 02451
                                                       40 Sylvan Road
National Grid - Massachusetts   40524-00007                                          Electric          226-Holiday Lanes
                                                       Waltham, MA 02451
                                                       40 Sylvan Road
National Grid - Massachusetts   40273-64016                                          Electric          504-Auburn Lanes
                                                       Waltham, MA 02451




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         Utility Provider            Account #                      Address           Service Type          Location Serviced
                                                      Customer Service Center C-3
National Grid - New York       01087-68109            300 Erie Boulevard West       Electric          526-Pin-o-rama Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       22863-73100            300 Erie Boulevard West       Electric          526-Pin-o-rama Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       99687-68102            300 Erie Boulevard West       Electric          526-Pin-o-rama Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       25188-50105            300 Erie Boulevard West       Electric          540-Strike N Spare Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       56651-97101            300 Erie Boulevard West       Electric          540-Strike N Spare Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       89687-68110            300 Erie Boulevard West       Natural Gas       526-Pin-o-rama Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - New York       24451-98114            300 Erie Boulevard West       Natural Gas       540-Strike N Spare Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Rhode Island   03348-00001            300 Erie Boulevard West       Electric          513-Cranston Lanes
                                                      Syracuse, NY 13202-4250

                                                      Customer Service Center C-3
National Grid - Rhode Island   53328-09001            300 Erie Boulevard West       Electric          513-Cranston Lanes
                                                      Syracuse, NY 13202-4250




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         Utility Provider               Account #                       Address            Service Type          Location Serviced
                                                         Customer Service Center C-3
National Grid - Rhode Island     43610-87009             300 Erie Boulevard West         Natural Gas       513-Cranston Lanes
                                                         Syracuse, NY 13202-4250

                                                         William J. Conner Building
New Castle County Delaware       0703720102              187A Old Churchmans Rd.         Sewer             230-Price Lanes
                                                         New Castle, DE 19720

                                                         William J. Conner Building
New Castle County Delaware       0703720103              187A Old Churchmans Rd.         Sewer             230-Price Lanes
                                                         New Castle, DE 19720

                                                         Legal Department
New England Gas Company          0300087421121868372     45 North Main Street, Suite 1   Natural Gas       226-Holiday Lanes
                                                         Fall River, MA 02720

                                                         Corporate Headquarters
New Jersey American Water
                                 XX-XXXXXXX-7            1025 Laurel Oak Road            Water             535-Strathmore Lanes
Company
                                                         Voorhees, NJ 08043

                                                         Corporate Headquarters
New Jersey American Water
                                 XX-XXXXXXX-9            1025 Laurel Oak Road            Water             535-Strathmore Lanes
Company
                                                         Voorhees, NJ 08043

                                                         Corporate Headquarters
New Jersey American Water
                                 XX-XXXXXXX-5            1025 Laurel Oak Road            Water             536-Strike N Spare Lanes
Company
                                                         Voorhees, NJ 08043
New Jersey Natural Gas Company                           633 Lake Avenue
                                 22-0007-7147-51                                         Natural Gas       535-Strathmore Lanes
(NJR)                                                    Asbury Park, NJ 07712
New Jersey Natural Gas Company                           633 Lake Avenue
                                 22-0007-7147-94                                         Natural Gas       535-Strathmore Lanes
(NJR)                                                    Asbury Park, NJ 07712
                                                         733 Sunrise Highway
New York American Water          XX-XXXXXXX-8                                            Water             548-Wantagh Lanes
                                                         Lynbrook, NY 11563
                                                         733 Sunrise Highway
New York American Water          XX-XXXXXXX-1                                            Water             548-Wantagh Lanes
                                                         Lynbrook, NY 11563


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        Utility Provider                   Account #                    Address         Service Type          Location Serviced
                                                          34 S. Fifth St.
Newark Water Office               00055613                                            Sewer             188-Valley Lanes
                                                          Newark, OH 43055
                                                          34 S. Fifth St.
Newark Water Office               00055613                                            Water             188-Valley Lanes
                                                          Newark, OH 43055
                                                          700 Town Center Drive
Newport News Waterworks           200000095443                                        Water             250-York Lanes
                                                          Newport News, VA 23606
                                                          1844 Ferry Rd
Nicor Gas                         96-23-31-2000 3                                     Natural Gas       158-Circle Lanes
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         17-84-08-0000 1                                     Natural Gas       165-Forest Lanes
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         94-23-52-1000 5                                     Natural Gas       382-Valley Lanes (Clsd 6/28/12)
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         27-95-66-0000 4                                     Natural Gas       385-Rolling Meadows Lanes
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         44-55-36-0000 6                                     Natural Gas       618-Hoffman Lanes
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         96-75-36-0000 4                                     Natural Gas       618-Hoffman Lanes
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         31-75-14-1000 7                                     Natural Gas       632-Classic Lanes (New)
                                                          Naperville, IL 60563-9662
                                                          1844 Ferry Rd
Nicor Gas                         84-84-74-1000 2                                     Natural Gas       632-Classic Lanes (New)
                                                          Naperville, IL 60563-9662
                                                          24220 Network Place
Noble Americas Energy Solutions   322372                                              Electric          025-Hurst Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322388                                              Electric          025-Hurst Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322369                                              Electric          089-Spare Time Lanes
                                                          Chicago, IL 60673-1242



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        Utility Provider                   Account #                    Address         Service Type          Location Serviced
                                                          24220 Network Place
Noble Americas Energy Solutions   319875                                              Electric          090-Diamond Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319817                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322379                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322380                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322381                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322382                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322383                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322384                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322385                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322386                                              Electric          143-Saratoga Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319878                                              Electric          390-Clear Lake Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319873                                              Electric          391-Bunker Hill Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319874                                              Electric          391-Bunker Hill Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   317949                                              Electric          393-Houston North Lanes
                                                          Chicago, IL 60673-1242



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        Utility Provider                   Account #                    Address         Service Type          Location Serviced
                                                          24220 Network Place
Noble Americas Energy Solutions   319871                                              Electric          394-Willow Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319870                                              Electric          396-Humble Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319872                                              Electric          397-Windfern Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319879                                              Electric          397-Windfern Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319877                                              Electric          398-Stafford Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322368                                              Electric          411-Lake Air Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322375                                              Electric          412-Westview Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319869                                              Electric          414-Star Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319880                                              Electric          414-Star Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319881                                              Electric          414-Star Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   319876                                              Electric          415-Alpha Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322365                                              Electric          557-Euless Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322377                                              Electric          571-Fun Fest Lanes
                                                          Chicago, IL 60673-1242
                                                          24220 Network Place
Noble Americas Energy Solutions   322378                                              Electric          571-Fun Fest Lanes
                                                          Chicago, IL 60673-1242



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         Utility Provider                  Account #                     Address           Service Type          Location Serviced
                                                           24220 Network Place
Noble Americas Energy Solutions   319816                                                 Electric          576-Midland Park Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place                             589-Arlington Lanes (Closed
Noble Americas Energy Solutions   322376                                                 Electric
                                                           Chicago, IL 60673-1242                          7/8/12)
                                                           24220 Network Place
Noble Americas Energy Solutions   322366                                                 Electric          593-Irving Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   322367                                                 Electric          593-Irving Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   319814                                                 Electric          595-Lewisville Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   322363                                                 Electric          595-Lewisville Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   322364                                                 Electric          595-Lewisville Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   322387                                                 Electric          596-Richardson Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 Network Place
Noble Americas Energy Solutions   322370                                                 Electric          603-Desoto Lanes
                                                           Chicago, IL 60673-1242
                                                           24220 N Network Place
Noble Americas Energy Solutions   322374                                                 Electric          603-Desoto Lanes
                                                           Chicago, IL 60673-1242
                                                           16331 North Freeway
North Forest MUD                  1-03-05030-02                                          Sewer             090-Diamond Lanes
                                                           Houston, TX 77090
                                                           16331 North Freeway
North Forest MUD                  1-03-05030-02                                          Water             090-Diamond Lanes
                                                           Houston, TX 77090
                                                           2010 Howell Street
North Kansas City Utilities       20-00503-01                                            Sewer             081-Pro Bowl Lanes
                                                           North Kansas City, MO 64116
                                                           2010 Howell Street
North Kansas City Utilities       20-00503-01                                            Water             081-Pro Bowl Lanes
                                                           North Kansas City, MO 64116



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         Utility Provider               Account #                   Address             Service Type           Location Serviced
                                                       2010 Howell Street
North Kansas City Utilities   20-01851-00                                             Water             081-Pro Bowl Lanes
                                                       North Kansas City, MO 64116
                                                       2010 Howell Street
North Kansas City Utilities   99-00226-01                                             Water             081-Pro Bowl Lanes
                                                       North Kansas City, MO 64116
                                                       2010 Howell Street
North Kansas City Utilities   99-00243-01                                             Water             622-Finnegan's Restaurant
                                                       North Kansas City, MO 64116
                                                       11701 Community Center Drive
Northglenn, CO, City of       006292-000                                              Sewer             358-Northglenn Lanes
                                                       Northglenn, CO 80233
                                                       11701 Community Center Drive
Northglenn, CO, City of       006292-000                                              Water             358-Northglenn Lanes
                                                       Northglenn, CO 80233
                                                       One NSTAR Way
NSTAR                         1011 537 0024                                           Natural Gas       447-Town & Country Lanes
                                                       Westwood, MA 02090
                                                       One NSTAR Way
NSTAR                         1011 634 0026                                           Natural Gas       504-Auburn Lanes
                                                       Westwood, MA 02090
                                                       Corporate Headquarters
NV Energy                     1000070091802602261      6226 West Sahara Avenue        Electric          288-Starlite Lanes
                                                       Las Vegas, NV 89146

                                                       Corporate Headquarters
NV Energy                     1000070091802602261      6226 West Sahara Avenue        Natural Gas       288-Starlite Lanes
                                                       Las Vegas, NV 89146
                                                       220 NW 2nd Ave.
NW Natural                    31449-2                                                 Natural Gas       164-Firebird Lanes
                                                       Portland, OR 97209
                                                       220 NW 2nd Ave.
NW Natural                    557125-2                                                Natural Gas       179-Pro 300 Lanes
                                                       Portland, OR 97209
                                                       220 NW 2nd Ave.
NW Natural                    764258-0                                                Natural Gas       611-Albany Lanes
                                                       Portland, OR 97209




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         Utility Provider                Account #                       Address                   Service Type          Location Serviced

                                                           Department of Environmental
                                                           Protection
NYC Water Board                   10005-45184-001                                                Sewer             210-34th Avenue Lanes
                                                           59-17 Junction Boulevard, 8th Floor
                                                           Flushing, NY 11373

                                                           Department of Environmental
                                                           Protection
NYC Water Board                   10005-45184-001                                                Water             210-34th Avenue Lanes
                                                           59-17 Junction Boulevard, 8th Floor
                                                           Flushing, NY 11373

NYSEG-New York State Electric &                            18 Link Drive
                                  1001-0746-468                                                  Electric          220-Airport Lanes
Gas                                                        Binghamton, NY 13904
NYSEG-New York State Electric &                            18 Link Drive
                                  10013369441                                                    Electric          227-Lancaster Lanes
Gas                                                        Binghamton, NY 13904
NYSEG-New York State Electric &                            18 Link Drive
                                  1001-0937-430                                                  Electric          233-Thruway Lanes
Gas                                                        Binghamton, NY 13904
NYSEG-New York State Electric &                            18 Link Drive
                                  10014924046                                                    Electric          233-Thruway Lanes
Gas                                                        Binghamton, NY 13904
                                                           27424 Robinson Road #115
Oak Ridge North, TX, City of      13-10020-00                                                    Sewer             413-Woodlands Lanes
                                                           Oak Ridge North, TX 77385
                                                           27424 Robinson Road #115
Oak Ridge North, TX, City of      13-10020-00                                                    Solid Waste       413-Woodlands Lanes
                                                           Oak Ridge North, TX 77385
                                                           27424 Robinson Road #115
Oak Ridge North, TX, City of      13-10020-00                                                    Water             413-Woodlands Lanes
                                                           Oak Ridge North, TX 77385
                                                           201 SE 3RD ST
Ocala,FL, City of                 2510200000                                                     Electric          109-Ocala Lanes
                                                           OCALA, FL 34471
                                                           201 SE 3RD ST
Ocala,FL, City of                 7632200000                                                     Electric          206-Galaxy East Lanes
                                                           OCALA, FL 34471
                                                           201 SE 3RD ST
Ocala,FL, City of                 4841154721                                                     Electric          207-Galaxy West Lanes
                                                           OCALA, FL 34471



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         Utility Provider             Account #                      Address            Service Type          Location Serviced
                                                       201 SE 3RD ST
Ocala,FL, City of               2510200000                                            Sewer             109-Ocala Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               7632200000                                            Sewer             206-Galaxy East Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               4841154721                                            Sewer             207-Galaxy West Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               2510200000                                            Solid Waste       109-Ocala Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               7632200000                                            Solid Waste       206-Galaxy East Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               4841154721                                            Solid Waste       207-Galaxy West Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               2510200000                                            Water             109-Ocala Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               7632200000                                            Water             206-Galaxy East Lanes
                                                       Ocala, FL 34471
                                                       201 SE 3RD ST
Ocala,FL, City of               4841154721                                            Water             207-Galaxy West Lanes
                                                       Ocala, FL 34471
OCWA-Onondaga County Water                             PO Box 4949
                                105372-105372                                         Water             540-Strike N Spare Lanes
Authority                                              Syracuse, NY 13221-4949
OCWA-Onondaga County Water                             PO Box 4949
                                173146-173525                                         Water             540-Strike N Spare Lanes
Authority                                              Syracuse, NY 13221-4949
OG&E -Oklahoma Gas & Electric                          PO Box 321
                                2295094-3                                             Electric          092-Yukon Lanes
Service                                                Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                          PO Box 321
                                2295401-0                                             Electric          092-Yukon Lanes
Service                                                Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                          PO Box 321
                                127338320-6                                           Electric          578-Moore Lanes
Service                                                Oklahoma City, OK 73101-0321



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        Utility Provider               Account #                     Address             Service Type          Location Serviced
OG&E -Oklahoma Gas & Electric                           PO Box 321
                                2222706-0                                              Electric          578-Moore Lanes
Service                                                 Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                           PO Box 321
                                2295054-7                                              Electric          578-Moore Lanes
Service                                                 Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                           PO Box 321
                                2219414-6                                              Electric          587-Sunny Lanes
Service                                                 Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                           PO Box 321
                                2222726-8                                              Electric          587-Sunny Lanes
Service                                                 Oklahoma City, OK 73101-0321
OG&E -Oklahoma Gas & Electric                           PO Box 321
                                2274340-5                                              Electric          602-Windsor Lanes
Service                                                 Oklahoma City, OK 73101-0321
                                                        Attn Legal
                                                                                                         255-Twin Star Lanes (CLS
Ohio Edison                     11 00 09 3297 1 2       76 S Main St                   Electric
                                                                                                         7/24/12)
                                                        Akron, OH 44308

                                                        Attn Legal
Ohio Edison                     11 00 09 8448 5 0       76 S Main St                   Electric          523-Medina Lanes
                                                        Akron, OH 44308

                                                        Attn Legal
Ohio Edison                     11 00 08 2193 1 0       76 S Main St                   Electric          529-Riviera Lanes
                                                        Akron, OH 44308
                                                        420 W. Main
Oklahoma City, OK, City of      250101172258                                           Sewer             602-Windsor Lanes
                                                        Oklahoma City, OK 73102
                                                        420 W. Main
Oklahoma City, OK, City of      250101172258                                           Water             602-Windsor Lanes
                                                        Oklahoma City, OK 73102
                                                        401 N. Harvey
Oklahoma Natural Gas Co:
                                211376163 2034450 45    PO Box 401                     Natural Gas       091-Boulevard Lanes
Kansas City
                                                        Oklahoma City, OK 73101-0401

                                                        401 N. Harvey
Oklahoma Natural Gas Co:
                                211193048 1871998 91    PO Box 401                     Natural Gas       092-Yukon Lanes
Kansas City
                                                        Oklahoma City, OK 73101-0401


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        Utility Provider              Account #                    Address             Service Type          Location Serviced
                                                      401 N. Harvey
Oklahoma Natural Gas Co:
                               210003835 1012512 09   PO Box 401                     Natural Gas       276-Sheridan Lanes
Kansas City
                                                      Oklahoma City, OK 73101-0401

                                                      401 N. Harvey
Oklahoma Natural Gas Co:
                               210003837 1012513 45   PO Box 401                     Natural Gas       276-Sheridan Lanes
Kansas City
                                                      Oklahoma City, OK 73101-0401

                                                      401 N. Harvey
Oklahoma Natural Gas Co:
                               211319771 1983667 91   PO Box 401                     Natural Gas       578-Moore Lanes
Kansas City
                                                      Oklahoma City, OK 73101-0401

                                                      401 N. Harvey
Oklahoma Natural Gas Co:
                               210339591 1309870 45   PO Box 401                     Natural Gas       587-Sunny Lanes
Kansas City
                                                      Oklahoma City, OK 73101-0401

                                                      401 N. Harvey
Oklahoma Natural Gas Co:
                               210280626 1258505 73   PO Box 401                     Natural Gas       602-Windsor Lanes
Kansas City
                                                      Oklahoma City, OK 73101-0401
                                                      6113 Pershing Avenue
Orlando Utilities Commission   9762420001                                            Electric          405-Semoran Lanes
                                                      Orlando, FL 32822
                                                      6113 Pershing Avenue
Orlando Utilities Commission   2396700001                                            Sewer             306-Sky Lanes
                                                      Orlando, FL 32822
                                                      6113 Pershing Avenue
Orlando Utilities Commission   9762420001                                            Sewer             405-Semoran Lanes
                                                      Orlando, FL 32822
                                                      6113 Pershing Avenue
Orlando Utilities Commission   9762420001                                            Solid Waste       405-Semoran Lanes
                                                      Orlando, FL 32822
                                                      6113 Pershing Avenue
Orlando Utilities Commission   2396700001                                            Water             306-Sky Lanes
                                                      Orlando, FL 32822
                                                      6113 Pershing Avenue
Orlando Utilities Commission   9762420001                                            Water             405-Semoran Lanes
                                                      Orlando, FL 32822




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         Utility Provider               Account #                    Address          Service Type          Location Serviced
                                                        Bankruptcy Unit
Pacific Gas & Electric            6162060520            PO Box 8329                 Electric          218-Sierra Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            1987264405            PO Box 8329                 Electric          235-Woodhaven Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            6633026517            PO Box 8329                 Electric          235-Woodhaven Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            2252428252            PO Box 8329                 Electric          282-Orchard Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            2251519521            PO Box 8329                 Electric          577-Mission Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            7495485552            PO Box 8329                 Electric          580-Oakridge Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            6131823553            PO Box 8329                 Electric          581-Pinole Valley Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            7426717248            PO Box 8329                 Electric          583-Rocklin Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            4993635917            PO Box 8329                 Electric          584-Rodeo Lanes
                                                        Stockton, CA 95208




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         Utility Provider               Account #                    Address          Service Type          Location Serviced
                                                        Bankruptcy Unit
Pacific Gas & Electric            2203182855            PO Box 8329                 Electric          608-Southwest Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            5532674398            PO Box 8329                 Electric          609-Westchester Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            1696468940            PO Box 8329                 Electric          610-Boulevard Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            6370393840            PO Box 8329                 Natural Gas       218-Sierra Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            6132906604            PO Box 8329                 Natural Gas       235-Woodhaven Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            3761959037            PO Box 8329                 Natural Gas       266-Moonlite Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            2335761580            PO Box 8329                 Natural Gas       282-Orchard Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            6931099288            PO Box 8329                 Natural Gas       561-Alpine Valley Lanes
                                                        Stockton, CA 95208

                                                        Bankruptcy Unit
Pacific Gas & Electric            5087343148            PO Box 8329                 Natural Gas       572-Land Park Lanes
                                                        Stockton, CA 95208




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         Utility Provider               Account #                      Address          Service Type          Location Serviced
                                                          Bankruptcy Unit
Pacific Gas & Electric            6472778500              PO Box 8329                 Natural Gas       572-Land Park Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            2552722265              PO Box 8329                 Natural Gas       573-Mardi Gras Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            6303008989              PO Box 8329                 Natural Gas       575-Southshore Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            6386342317              PO Box 8329                 Natural Gas       575-Southshore Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            9428437601              PO Box 8329                 Natural Gas       577-Mission Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            9290555795-2            PO Box 8329                 Natural Gas       580-Oakridge Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            5076969245              PO Box 8329                 Natural Gas       584-Rodeo Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            2536516167              PO Box 8329                 Natural Gas       608-Southwest Lanes
                                                          Stockton, CA 95208

                                                          Bankruptcy Unit
Pacific Gas & Electric            5574341062              PO Box 8329                 Natural Gas       609-Westchester Lanes
                                                          Stockton, CA 95208




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         Utility Provider                  Account #                    Address                    Service Type          Location Serviced
                                                          Bankruptcy Unit
Pacific Gas & Electric            1613135612              PO Box 8329                            Natural Gas       610-Boulevard Lanes
                                                          Stockton, CA 95208
Pacific Power-Rocky Mountain                              1033 NE 6th Avenue
                                  32173394-003 5                                                 Electric          271-Ritz Club
Power                                                     Portland, OR 97256-0001
Pacific Power-Rocky Mountain                              1033 NE 6th Avenue
                                  06052411-004 0                                                 Electric          611-Albany Lanes
Power                                                     Portland, OR 97256-0001
                                                          Attn Legal
                                                                                                 Telephone Exp.
PAETEC                            ACCT 9209268            600 Willowbrook Office Park                              300 Houston
                                                                                                 Regular
                                                          Fairport, NY 14450

                                                          Attn Legal
                                                                                                 Telephone Exp.
PAETEC                            ACCT 9182792            600 Willowbrook Office Park                              AMF Showplace Lanes
                                                                                                 Regular
                                                          Fairport, NY 14450

                                                          Attn Legal
                                                                                                 Telephone Exp.
PAETEC                            ACCT 9182792            600 Willowbrook Office Park                              AMF Squaw Peak Lanes
                                                                                                 Regular
                                                          Fairport, NY 14450

                                                          4063 Grays Highway
Palmetto Electric Coop            143157001               PO Box 820                             Electric          068-Main Street Lanes
                                                          Ridgeland, SC 29936
Palmetto Wastewater                                       1710 Woodcreek Farms Rd
                                  ABUS13                                                         Sewer             126-Columbia Lanes
Reclamation,LLC                                           Elgin, SC 29045
                                                          150 South Los Robles Ave., Suite 200
Pasadena, CA, City of             251082-4                                                       Electric          257-Bahama Lanes
                                                          Pasadena, CA 91101
                                                          150 South Los Robles Ave., Suite 200
Pasadena, CA, City of             251085-7                                                       Electric          257-Bahama Lanes
                                                          Pasadena, CA 91101
                                                          150 South Los Robles Ave., Suite 200
Pasadena, CA, City of             251092-3                                                       Electric          257-Bahama Lanes
                                                          Pasadena, CA 91101
                                                          150 South Los Robles Ave., Suite 200
Pasadena, CA, City of             251085-7                                                       Sewer             257-Bahama Lanes
                                                          Pasadena, CA 91101


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         Utility Provider             Account #                      Address                    Service Type           Location Serviced
                                                       150 South Los Robles Ave., Suite 200
Pasadena, CA, City of          251085-7                                                       Water             257-Bahama Lanes
                                                       Pasadena, CA 91101
                                                       150 South Los Robles Ave., Suite 200
Pasadena, CA, City of          251094-9                                                       Water             257-Bahama Lanes
                                                       Pasadena, CA 91101
                                                       2301 Market Street
PECO                           15158-01506             PO Box 8699                            Electric          154-Bristol Pike Lanes
                                                       Philadelphia, PA 19101

                                                       2301 Market Street
PECO                           40281-01005             PO Box 8699                            Electric          277-Conchester Lanes
                                                       Philadelphia, PA 19101

                                                       2301 Market Street
PECO                           40312-01507             PO Box 8699                            Natural Gas       277-Conchester Lanes
                                                       Philadelphia, PA 19101

                                                       Utility Office
Pembroke Pines, FL, City of    03-301-04140-0011       13975 Pembroke Road                    Sewer             311-Pembroke Pines Lanes
                                                       Pembroke Pines, FL 33027

                                                       Utility Office
Pembroke Pines, FL, City of    03-301-04140-0011       13975 Pembroke Road                    Water             311-Pembroke Pines Lanes
                                                       Pembroke Pines, FL 33027
Pennsylvania-American Water                            800 W Hersheypark Drive
                               XX-XXXXXXX-3                                                   Sewer             211-Mt. Lebanon Lanes
Company                                                Hershey, PA 17033
Pennsylvania-American Water                            800 W Hersheypark Drive
                               XX-XXXXXXX-3                                                   Water             211-Mt. Lebanon Lanes
Company                                                Hershey, PA 17033
Pennsylvania-American Water                            800 W Hersheypark Drive
                               XX-XXXXXXX-9                                                   Water             212-Noble Manor Lanes
Company                                                Hershey, PA 17033
                                                       8401 W. Monroe Street
Peoria, AZ, City of            00028019-01                                                    Sewer             427-Peoria Lanes
                                                       Peoria, AZ 85345
                                                       8401 W. Monroe Street
Peoria, AZ, City of            00028019-01                                                    Water             427-Peoria Lanes
                                                       Peoria, AZ 85345


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         Utility Provider              Account #                      Address               Service Type          Location Serviced
PEPCO (Potomac Electric Power                           701 Ninth St., NW
                                3823 5650 35                                              Electric          357-Marlow Heights Lanes
Company)                                                Washington, D.C. 20068
PEPCO (Potomac Electric Power                           701 Ninth St., NW
                                3455 4970 36                                              Electric          361-College Park Lanes
Company)                                                Washington, D.C. 20068
PEPCO (Potomac Electric Power                           701 Ninth St., NW
                                3502 1135 29                                              Electric          362-Capital Plaza Lanes
Company)                                                Washington, D.C. 20068
PEPCO (Potomac Electric Power                           701 Ninth St., NW
                                2011 2702 26                                              Electric          368-Shady Grove Lanes
Company)                                                Washington, D.C. 20068
PEPCO (Potomac Electric Power                           701 Ninth St., NW
                                2033 9815 03                                              Electric          368-Shady Grove Lanes
Company)                                                Washington, D.C. 20068
                                                        11 English Street
Petaluma, CA, City of           024837-00                                                 Sewer             610-Boulevard Lanes
                                                        Petaluma, CA 94952
                                                        11 English Street
Petaluma, CA, City of           024835-00                                                 Water             610-Boulevard Lanes
                                                        Petaluma, CA 94952
                                                        11 English Street
Petaluma, CA, City of           024837-00                                                 Water             610-Boulevard Lanes
                                                        Petaluma, CA 94952
                                                        103 W Tabb
Petersburg, VA, City of         7677940                                                   Sewer             118-Walnut Hills Lanes
                                                        Petersburg, VA 23803
                                                        103 W Tabb
Petersburg, VA, City of         7677940                                                   Solid Waste       118-Walnut Hills Lanes
                                                        Petersburg, VA 23803
                                                        103 W Tabb
Petersburg, VA, City of         7677940                                                   Water             118-Walnut Hills Lanes
                                                        Petersburg, VA 23803
                                                        200 W. Washington St. 9th floor
Phoenix, AZ, City of            5800920000                                                Sewer             350-Deer Valley Lanes
                                                        Phoenix, AZ 85003
                                                        200 W. Washington St. 9th floor
Phoenix, AZ, City of            5827720000                                                Sewer             352-Shea Village Lanes
                                                        Phoenix, AZ 85003
                                                        200 W. Washington St. 9th floor
Phoenix, AZ, City of            8602830000                                                Sewer             374-Union Hills Lanes
                                                        Phoenix, AZ 85003



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         Utility Provider             Account #                     Address               Service Type           Location Serviced
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            0021810000                                              Sewer             422-Squaw Peak Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            2603320000                                              Sewer             423-Christown Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            2960530000                                              Sewer             425-Desert Hills Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            3800920000                                              Water             350-Deer Valley Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            5800920000                                              Water             350-Deer Valley Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            5827720000                                              Water             352-Shea Village Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            8037720000                                              Water             352-Shea Village Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            5643830000                                              Water             374-Union Hills Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            8602830000                                              Water             374-Union Hills Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            0021810000                                              Water             422-Squaw Peak Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            2603320000                                              Water             423-Christown Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            7822320000                                              Water             423-Christown Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            8822320000                                              Water             423-Christown Lanes
                                                      Phoenix, AZ 85003
                                                      200 W. Washington St. 9th floor
Phoenix, AZ, City of            2960530000                                              Water             425-Desert Hills Lanes
                                                      Phoenix, AZ 85003



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         Utility Provider              Account #                     Address               Service Type           Location Serviced
                                                       200 W. Washington St. 9th floor
Phoenix, AZ, City of             7070530000                                              Water             425-Desert Hills Lanes
                                                       Phoenix, AZ 85003
                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 2000746039002         4720 Piedmont Row Drive           Natural Gas       023-Star Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 6001010295002         4720 Piedmont Row Drive           Natural Gas       034-All Star Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 8000117143002         4720 Piedmont Row Drive           Natural Gas       048-Pla Mor Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 6000567319005         4720 Piedmont Row Drive           Natural Gas       077-Centennial Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 3002142752001         4720 Piedmont Row Drive           Natural Gas       104-Boulevard Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 6000567319004         4720 Piedmont Row Drive           Natural Gas       123-Winston-salem Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 3000332891002         4720 Piedmont Row Drive           Natural Gas       508-Carolina Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 7000332892002         4720 Piedmont Row Drive           Natural Gas       508-Carolina Lanes
Gas
                                                       Charlotte, NC 28210

                                                       Corporate Office
Piedmont Natural Gas-Nashville
                                 6000567319006         4720 Piedmont Row Drive           Natural Gas       546-University Lanes
Gas
                                                       Charlotte, NC 28210


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         Utility Provider                  Account #                    Address         Service Type          Location Serviced
                                                          480 West Birch Street
Pinedale County Water District    413450                                              Sewer             218-Sierra Lanes
                                                          Pinedale, CA 93650
                                                          480 West Birch Street
Pinedale County Water District    413450                                              Water             218-Sierra Lanes
                                                          Pinedale, CA 93650
                                                          1200 Penn Avenue
Pittsburgh Water & Sewer
                                  254307                  Penn Liberty Plaza I        Sewer             212-Noble Manor Lanes
Authority
                                                          Pittsburgh, PA 15222

                                                          144 Ferguson Road
Placer County Water Agency        000106855-000007887     PO Box 6570                 Water             583-Rocklin Lanes
                                                          Auburn, CA 95604

                                                          144 Ferguson Road
Placer County Water Agency        000106855-000007888     PO Box 6570                 Water             583-Rocklin Lanes
                                                          Auburn, CA 95604
                                                          10 Manetto Hill Road
Plainview Water District          02-3300-10                                          Water             209-Plainview Lanes
                                                          Plainview, NY 11803
                                                          449 South Meridian Street
                                                                                                        255-Twin Star Lanes (CLS
Portage County Water Resources    299-12200-00            PO Box 1217                 Sewer
                                                                                                        7/24/12)
                                                          Ravenna, OH 44266-1217
                                                          121 SW Salmon Street
Portland General Electric (PGE)   0005 21741-534509 9                                 Electric          164-Firebird Lanes
                                                          Portland, OR 97204
                                                          121 SW Salmon Street
Portland General Electric (PGE)   0005 21741-534510 7                                 Electric          164-Firebird Lanes
                                                          Portland, OR 97204
                                                          121 SW Salmon Street
Portland General Electric (PGE)   0005 99527-221432 8                                 Electric          179-Pro 300 Lanes
                                                          Portland, OR 97204
                                                          121 SW Salmon Street
Portland General Electric (PGE)   0005 99528-185624 3                                 Electric          179-Pro 300 Lanes
                                                          Portland, OR 97204
                                                          121 SW Salmon Street
Portland General Electric (PGE)   0005 99528-228296 9                                 Electric          179-Pro 300 Lanes
                                                          Portland, OR 97204



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         Utility Provider                   Account #                    Address            Service Type          Location Serviced
                                                           121 SW Salmon Street
Portland General Electric (PGE)   0006 36068 872174 3                                     Electric          501-20th Century Lanes
                                                           Portland, OR 97204
                                                           121 SW Salmon Street
Portland General Electric (PGE)   0006 36068-482920 1                                     Electric          501-20th Century Lanes
                                                           Portland, OR 97204
                                                           121 SW Salmon Street
Portland General Electric (PGE)   0006 36068-519239 3                                     Electric          501-20th Century Lanes
                                                           Portland, OR 97204
                                                           121 SW Salmon Street
Portland General Electric (PGE)   0006 36068-69326 2                                      Electric          501-20th Century Lanes
                                                           Portland, OR 97204
                                                           Public Utilities
Portland, OR, City of             299-332-540-0            1120 SW Fifth Ave, Suite 600   Sewer             179-Pro 300 Lanes
                                                           Portland, OR 97204

                                                           Public Utilities
Portland, OR, City of             299-037-930-0            1120 SW Fifth Ave, Suite 600   Sewer             501-20th Century Lanes
                                                           Portland, OR 97204

                                                           Public Utilities
Portland, OR, City of             299-332-540-0            1120 SW Fifth Ave, Suite 600   Water             179-Pro 300 Lanes
                                                           Portland, OR 97204

                                                           Public Utilities
Portland, OR, City of             299-037-930-0            1120 SW Fifth Ave, Suite 600   Water             501-20th Century Lanes
                                                           Portland, OR 97204
                                                           2 North 9th Street
PPL Utilities/Allentown           27860-07012                                             Electric          278-Parkway Lanes
                                                           Allentown, PA 18101
                                                           17707 Old Louetta Road
Prestonwood Forest UD             1-01-28840-01                                           Sewer             394-Willow Lanes
                                                           Houston, TX 77070
                                                           17707 Old Louetta Road
Prestonwood Forest UD             1-01-28840-01                                           Water             394-Willow Lanes
                                                           Houston, TX 77070
                                                           8665 South Union Avenue
Price Disposal, Inc.              1-16708                                                 Solid Waste       608-Southwest Lanes
                                                           Bakersfield, CA 93307



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         Utility Provider                Account #                     Address         Service Type          Location Serviced
                                                         1500 Granville Road
Producers Gas Sales, Inc., OH    AMFB1                   PO Box 4970                 Natural Gas       188-Valley Lanes
                                                         Newark, OH 43058-4970
                                                         PO Box 1551
Progress Energy Carolinas, Inc   494 405 6292                                        Electric          024-Star Lanes
                                                         Raleigh, N.C. 27602-1551
                                                         PO Box 1551
Progress Energy Carolinas, Inc   335 222 5050                                        Electric          065-Pleasant Valley Lanes
                                                         Raleigh, N.C. 27602-1551
                                                         PO Box 1551
Progress Energy Carolinas, Inc   759 953 6054                                        Electric          066-South Hills Lanes
                                                         Raleigh, N.C. 27602-1551
                                                         PO Box 1551
Progress Energy Carolinas, Inc   524 918 9159                                        Electric          104-Boulevard Lanes
                                                         Raleigh, N.C. 27602-1551
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    31361 64132                                         Electric          129-Clearwater Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    67957 94111                                         Electric          129-Clearwater Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    86515 98102                                         Electric          306-Sky Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    54417 95174                                         Electric          309-Casselberry Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    79196 93438                                         Electric          309-Casselberry Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    36978 02308                                         Electric          400-Altamonte Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    08894 46593                                         Electric          402-Deltona Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    63547 98213                                         Electric          402-Deltona Lanes
                                                         Clearwater, FL 33760
                                                         5225 Tech Data Drive
Progress Energy Florida, Inc.    56310 36288                                         Electric          404-Longwood Lanes
                                                         Clearwater, FL 33760


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         Utility Provider                  Account #                     Address         Service Type          Location Serviced
                                                           5225 Tech Data Drive
Progress Energy Florida, Inc.     96096 07408                                          Electric          404-Longwood Lanes
                                                           Clearwater, FL 33760
                                                           552 Academy Avenue
Providence Water                  510043                                               Water             513-Cranston Lanes
                                                           Providence, RI 02908
                                                           552 Academy Avenue
Providence Water                  510044                                               Water             513-Cranston Lanes
                                                           Providence, RI 02908

                                                           Corporate Headquarters
PSE&G-Public Service Elec & Gas                            80 Park Plaza
                                  42 007 670 07                                        Electric          189-Wallington Lanes
Co                                                         PO Box 570
                                                           Newark, NJ 07101

                                                           Corporate Headquarters
PSE&G-Public Service Elec & Gas                            80 Park Plaza
                                  65 095 192 08                                        Electric          189-Wallington Lanes
Co                                                         PO Box 570
                                                           Newark, NJ 07101

                                                           Corporate Headquarters
PSE&G-Public Service Elec & Gas                            80 Park Plaza
                                  42 000 821 01                                        Electric          536-Strike N Spare Lanes
Co                                                         PO Box 570
                                                           Newark, NJ 07101

                                                           Corporate Headquarters
PSE&G-Public Service Elec & Gas                            80 Park Plaza
                                  42 007 670 07                                        Natural Gas       189-Wallington Lanes
Co                                                         PO Box 570
                                                           Newark, NJ 07101

                                                           Corporate Headquarters
PSE&G-Public Service Elec & Gas                            80 Park Plaza
                                  42 000 821 01                                        Natural Gas       536-Strike N Spare Lanes
Co                                                         PO Box 570
                                                           Newark, NJ 07101

PSNC Energy (Public Service Co.                            PO Box 100256
                                  7-2100-5285-8778                                     Natural Gas       024-Star Lanes
of NC)                                                     Columbia, SC 29202




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        Utility Provider                 Account #                       Address            Service Type           Location Serviced
PSNC Energy (Public Service Co.                            PO Box 100256
                                  3-1981-0582-8257                                        Natural Gas       064-Durham Lanes
of NC)                                                     Columbia, SC 29202
PSNC Energy (Public Service Co.                            PO Box 100256
                                  4-2100-5285-8584                                        Natural Gas       065-Pleasant Valley Lanes
of NC)                                                     Columbia, SC 29202
PSNC Energy (Public Service Co.                            PO Box 100256
                                  3-2100-5285-8456                                        Natural Gas       103-Gastonia Lanes
of NC)                                                     Columbia, SC 29202
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          137-5309-817                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          706-1730-543                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          707-6179-674                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          782-7082-707                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          792 6594 604                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          792-0031-179                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          792-8128-363                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           # 562 Ave Juan Ponce de Leon   Telephone Exp.
Puerto Rico Telephone Co          792-8360-373                                                              AMF Bolera Paradise Lanes
                                                           Hato Rey, PR 00918             Regular
                                                           Headquarters
                                                                                                            543-Sun Villa Lanes (Closing
Puget Sound Energy                308-668-340-0            10885 N.E. 4th Street          Electric
                                                                                                            June 2012)
                                                           Bellevue, WA 98004-5591

                                                           Headquarters
Puget Sound Energy                623-870-344-8            10885 N.E. 4th Street          Natural Gas       253-Imperial Lanes
                                                           Bellevue, WA 98004-5591



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         Utility Provider                Account #                        Address             Service Type           Location Serviced
                                                           Headquarters
Puget Sound Energy                623-870-620-1            10885 N.E. 4th Street            Natural Gas       253-Imperial Lanes
                                                           Bellevue, WA 98004-5591

                                                           Headquarters
                                                                                                              543-Sun Villa Lanes (Closing
Puget Sound Energy                778-924-018-6            10885 N.E. 4th Street            Natural Gas
                                                                                                              June 2012)
                                                           Bellevue, WA 98004-5591
                                                           PO Box 45360
Questar Gas                       9749860000                                                Natural Gas       271-Ritz Club
                                                           Salt Lake City, UT 84145-0360
                                                           222 W. Hargett St.
Raleigh, NC, City of              2603710000                                                Sewer             065-Pleasant Valley Lanes
                                                           Raleigh, NC 27601
                                                           222 W. Hargett St.
Raleigh, NC, City of              2603710000                                                Water             065-Pleasant Valley Lanes
                                                           Raleigh, NC 27601
                                                           90 SARGENT DR
Regional Water Authority          210230306                                                 Water             326-Milford Lanes
                                                           New Haven, CT 06511-5966
                                                           90 SARGENT DR
Regional Water Authority          210302758                                                 Water             509-Circle Lanes
                                                           New Haven, CT 06511-5966
                                                           John Flansberg, P.E., Director
Reno, NV, City of                 851746-001               1 E. First Street                Sewer             288-Starlite Lanes
                                                           Reno, NV 89501

                                                           Corporate Office
RG&E - Rochester Gas & Electric   20010260386              89 East Avenue                   Electric          217-Gates Lanes
                                                           Rochester, NY 14649

                                                           Corporate Office
RG&E - Rochester Gas & Electric   20010260428              89 East Avenue                   Electric          217-Gates Lanes
                                                           Rochester, NY 14649

                                                           Corporate Office
RG&E - Rochester Gas & Electric   20010260584              89 East Avenue                   Electric          217-Gates Lanes
                                                           Rochester, NY 14649




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        Utility Provider                Account #                     Address          Service Type          Location Serviced
                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260691            89 East Avenue              Electric          217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260691            89 East Avenue              Electric          217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20013891443            89 East Avenue              Electric          217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260659            89 East Avenue              Electric          514-Dewey Garden Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260311            89 East Avenue              Electric          516-Empire Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260345            89 East Avenue              Electric          545-Terrace Gardens Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260691            89 East Avenue              Natural Gas       217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260691            89 East Avenue              Natural Gas       217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260725            89 East Avenue              Natural Gas       217-Gates Lanes
                                                         Rochester, NY 14649




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         Utility Provider               Account #                       Address             Service Type          Location Serviced
                                                         Corporate Office
RG&E - Rochester Gas & Electric   20013891393            89 East Avenue                   Natural Gas       217-Gates Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260790            89 East Avenue                   Natural Gas       287-Fairview Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260618            89 East Avenue                   Natural Gas       514-Dewey Garden Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260329            89 East Avenue                   Natural Gas       516-Empire Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260592            89 East Avenue                   Natural Gas       545-Terrace Gardens Lanes
                                                         Rochester, NY 14649

                                                         Corporate Office
RG&E - Rochester Gas & Electric   20010260600            89 East Avenue                   Natural Gas       545-Terrace Gardens Lanes
                                                         Rochester, NY 14649
                                                         411 W Arapaho Rd
Richardson, TX, City of           92578-2945                                              Sewer             596-Richardson Lanes
                                                         Richardson, TX 75080
                                                         411 W Arapaho Rd
Richardson, TX, City of           92578-2945                                              Solid Waste       596-Richardson Lanes
                                                         Richardson, TX 75080
                                                         411 W Arapaho Rd
Richardson, TX, City of           92578-2945                                              Water             596-Richardson Lanes
                                                         Richardson, TX 75080
                                                         Department of Public Utilities
Richmond, VA, City of             111633-0011593         900 E. Broad St., Room 115       Natural Gas       115-Sunset Lanes
                                                         Richmond, VA 23219




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         Utility Provider              Account #                      Address             Service Type          Location Serviced
                                                       Department of Public Utilities
Richmond, VA, City of            111633-0011596        900 E. Broad St., Room 115       Natural Gas       115-Sunset Lanes
                                                       Richmond, VA 23219

                                                       Department of Public Utilities
Richmond, VA, City of            109280-0091775        900 E. Broad St., Room 115       Natural Gas       128-Shrader Lanes
                                                       Richmond, VA 23219
                                                       3900 Main Street
Riverside Public Utilities, CA   154458-145326                                          Electric          267-Riverside Lanes
                                                       Riverside, CA 92522-0144
                                                       3900 Main Street
Riverside Public Utilities, CA   154458-145326                                          Sewer             267-Riverside Lanes
                                                       Riverside, CA 92522-0144
                                                       3900 Main Street
Riverside Public Utilities, CA   154458-145326                                          Water             267-Riverside Lanes
                                                       Riverside, CA 92522-0144
                                                       519 Kimball Avenue Northeast
Roanoke Gas Company              0562927-4                                              Natural Gas       519-Hilltop Lanes
                                                       Roanoke, VA 24016
                                                       Water Bureau
Rochester, NY, City of           4907200002            10 Felix St.                     Water             545-Terrace Gardens Lanes
                                                       Rochester, NY 14608

                                                       Water Bureau
Rochester, NY, City of           4907210002            10 Felix St.                     Water             545-Terrace Gardens Lanes
                                                       Rochester, NY 14608

                                                       Water Bureau
Rochester, NY, City of           4940080202            10 Felix St.                     Water             545-Terrace Gardens Lanes
                                                       Rochester, NY 14608
                                                       PO Box 289
Rockdale Water Resources         425541-125541                                          Sewer             070-American Lanes
                                                       Conyers, GA 30012
                                                       PO Box 289
Rockdale Water Resources         425541-125541                                          Water             070-American Lanes
                                                       Conyers, GA 30012




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        Utility Provider                  Account #                     Address                   Service Type           Location Serviced
                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     300 Region Cost
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     300 Region Cost
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Atlanta District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Baltimore/Washington District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Central Florida District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Dallas District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Deep South District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Denver/KC District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Employee Relations/Recruiting
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082




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        Utility Provider                  Account #                     Address                   Service Type           Location Serviced
                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Enterprise Applications
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Facilities (A/P Dept CP450)
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Great Lakes District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Houston District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Houston District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     HR
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Long Island District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Los Angeles North District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Los Angeles South District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082




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        Utility Provider                  Account #                     Address                   Service Type           Location Serviced
                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Los Angeles South District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Marketing
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Minneapolis District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Minneapolis District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Northern New England District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Ohio District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Oklahoma District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Phoenix District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     POS Applications
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082




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        Utility Provider                  Account #                     Address                   Service Type           Location Serviced
                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Richmond District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     San Fran/Sacramento District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Seattle District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     South Central Region Cost
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     South Georgia District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     South Georgia District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Southern New England District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Training
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Training
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082




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         Utility Provider                 Account #                     Address                   Service Type           Location Serviced
                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Training
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Training
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Virginia District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     West Region Cost
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Western Carolina District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Western Michigan District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Western NY District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082

                                                         ILD Corp.
                                                                                                Telephone Exp.
Roll Call Telephone Conferenci   627791                  5000 Swargrass Village Circle Ste 30                     Western NY District
                                                                                                Conferencing
                                                         Ponte Vedra Beach, FL 32082
                                                         3900 Berdnick St
Rolling Meadows, IL, City of     000550346000                                                   Sewer             385-Rolling Meadows Lanes
                                                         Rolling Meadows, IL 60008
                                                         3900 Berdnick St
Rolling Meadows, IL, City of     000550346000                                                   Solid Waste       385-Rolling Meadows Lanes
                                                         Rolling Meadows, IL 60008



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         Utility Provider                Account #                      Address         Service Type           Location Serviced
                                                          3900 Berdnick St
Rolling Meadows, IL, City of      000550346000                                        Water             385-Rolling Meadows Lanes
                                                          Rolling Meadows, IL 60008
                                                          2875 145th St West
Rosemount, MN, City of            500130.02                                           Sewer             634-City Limits Lanes
                                                          Rosemount, MN 55068-4997
                                                          2875 145th St West
Rosemount, MN, City of            500130.02                                           Water             634-City Limits Lanes
                                                          Rosemount, MN 55068-4997
                                                          29777 Gratiot
Roseville, MI, City of            724028001                                           Sewer             231-Rose Bowl Lanes
                                                          Roseville, MI 48066
                                                          29777 Gratiot
Roseville, MI, City of            724028001                                           Water             231-Rose Bowl Lanes
                                                          Roseville, MI 48066
                                                          9700 Goethe Road, Suite C                     1569-ARC Properties (closed
Sacramento County Utilities       50005835305                                         Sewer
                                                          Sacramento, CA 95827-3500                     7/1/12)
                                                          9700 Goethe Road, Suite C
Sacramento County Utilities       50002139699                                         Sewer             573-Mardi Gras Lanes
                                                          Sacramento, CA 95827-3500
Sacramento Municipal Utility                              6301 S St.                                    1569-ARC Properties (closed
                                  2602506                                             Electric
District                                                  Sacramento, CA 95817                          7/1/12)
Sacramento Municipal Utility                              6301 S St.
                                  2599760                                             Electric          561-Alpine Valley Lanes
District                                                  Sacramento, CA 95817
Sacramento Municipal Utility                              6301 S St.
                                  2599841                                             Electric          561-Alpine Valley Lanes
District                                                  Sacramento, CA 95817
Sacramento Municipal Utility                              6301 S St.
                                  2601316                                             Electric          561-Alpine Valley Lanes
District                                                  Sacramento, CA 95817
Sacramento Municipal Utility                              6301 S St.
                                  2599846                                             Electric          572-Land Park Lanes
District                                                  Sacramento, CA 95817
Sacramento Municipal Utility                              6301 S St.
                                  2600948                                             Electric          572-Land Park Lanes
District                                                  Sacramento, CA 95817
Sacramento Municipal Utility                              6301 S St.
                                  2600908                                             Electric          573-Mardi Gras Lanes
District                                                  Sacramento, CA 95817



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         Utility Provider                Account #                   Address               Service Type          Location Serviced
Sacramento Suburban Water                               3701 Marconi Avenue, Suite 100
                                  0001418-000200                                         Water             573-Mardi Gras Lanes
District                                                Sacramento, CA 95821-5346
Sacramento, CA, City of-Dept of                         1395 35th Avenue
                                  7148244000                                             Sewer             561-Alpine Valley Lanes
Utilities                                               Sacramento, CA 95822
Sacramento, CA, City of-Dept of                         1395 35th Avenue
                                  3489244000                                             Sewer             572-Land Park Lanes
Utilities                                               Sacramento, CA 95822
Sacramento, CA, City of-Dept of                         1395 35th Avenue
                                  7148244000                                             Water             561-Alpine Valley Lanes
Utilities                                               Sacramento, CA 95822
Sacramento, CA, City of-Dept of                         1395 35th Avenue
                                  3489244000                                             Water             572-Land Park Lanes
Utilities                                               Sacramento, CA 95822
Saint Paul Regional Water                               1900 Rice Street
                                  0543634                                                Sewer             274-Maplewood Lanes
Services                                                Saint Paul, MN 55113-6810
Saint Paul Regional Water                               1900 Rice Street
                                  0543634                                                Water             274-Maplewood Lanes
Services                                                Saint Paul, MN 55113-6810
                                                        Public Works Department
Salem, OR, City of                57194-0001            1410 20th Street SE              Sewer             164-Firebird Lanes
                                                        Salem, OR 97302-1200

                                                        SAWS Main Office
San Antonio Water System, TX      17 7480 129777 4      2800 U.S. Hwy 281 North          Sewer             095-Ponderosa Lanes
                                                        San Antonio, TX 78212

                                                        SAWS Main Office
San Antonio Water System, TX      08 3715 209895 3      2800 U.S. Hwy 281 North          Sewer             155-Country Lanes
                                                        San Antonio, TX 78212

                                                        SAWS Main Office
San Antonio Water System, TX      17 7480 129777 4      2800 U.S. Hwy 281 North          Water             095-Ponderosa Lanes
                                                        San Antonio, TX 78212

                                                        SAWS Main Office
San Antonio Water System, TX      08 3715 209895 3      2800 U.S. Hwy 281 North          Water             155-Country Lanes
                                                        San Antonio, TX 78212


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         Utility Provider               Account #                      Address         Service Type          Location Serviced
                                                        SAWS Main Office
San Antonio Water System, TX    25 0001 209897 3        2800 U.S. Hwy 281 North      Water             155-Country Lanes
                                                        San Antonio, TX 78212
San Bernardino, CA, City of -                           300 N. D. Street 5th Floor
                                128907-10966                                         Sewer             256-Arrowhead Lanes
Water                                                   San Bernardino, CA 92418
San Bernardino, CA, City of -                           300 N. D. Street 5th Floor
                                128905-10964                                         Water             256-Arrowhead Lanes
Water                                                   San Bernardino, CA 92418
San Bernardino, CA, City of -                           300 N. D. Street 5th Floor
                                128907-10966                                         Water             256-Arrowhead Lanes
Water                                                   San Bernardino, CA 92418
                                                        101 Ash St
San Diego Gas & Electric        7726 265 931 5                                       Electric          148-Eagle Lanes
                                                        San Diego, CA 92101
                                                        101 Ash St
San Diego Gas & Electric        7726 267 408 2                                       Natural Gas       148-Eagle Lanes
                                                        San Diego, CA 92101
                                                        Headquarters
San Jose Water Company          5064200000-9            110 W. Taylor St             Water             580-Oakridge Lanes
                                                        San Jose, CA 95110

                                                        Headquarters
San Jose Water Company          6423820000-6            110 W. Taylor St             Water             580-Oakridge Lanes
                                                        San Jose, CA 95110
                                                        230 Inyo Street
Sandstone Rentals               80016                                                Solid Waste       609-Westchester Lanes
                                                        Bakersfield, CA 93305
                                                        1500 Warburton Avenue
Santa Clara, CA, City of        00063617-02             City Hall                    Electric          266-Moonlite Lanes
                                                        Santa Clara, CA 95050

                                                        1500 Warburton Avenue
Santa Clara, CA, City of        00063617-02             City Hall                    Sewer             266-Moonlite Lanes
                                                        Santa Clara, CA 95050




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         Utility Provider             Account #                      Address         Service Type          Location Serviced
                                                       1500 Warburton Avenue
Santa Clara, CA, City of        00063617-02            City Hall                   Solid Waste       266-Moonlite Lanes
                                                       Santa Clara, CA 95050

                                                       1500 Warburton Avenue
Santa Clara, CA, City of        00063617-02            City Hall                   Water             266-Moonlite Lanes
                                                       Santa Clara, CA 95050

                                                       1500 Warburton Avenue
Santa Clara, CA, City of        00063618-02            City Hall                   Water             266-Moonlite Lanes
                                                       Santa Clara, CA 95050

                                                       Public Works Department
                                                       1685 Main Street Room 116
Santa Monica, CA, City of       0602299-07                                         Sewer             258-Bay Shore Lanes
                                                       City Hall
                                                       Santa Monica, CA 90401

                                                       Public Works Department
                                                       1685 Main Street Room 116
Santa Monica, CA, City of       0602299-07                                         Solid Waste       258-Bay Shore Lanes
                                                       City Hall
                                                       Santa Monica, CA 90401

                                                       Public Works Department
                                                       1685 Main Street Room 116
Santa Monica, CA, City of       0550510-07                                         Water             258-Bay Shore Lanes
                                                       City Hall
                                                       Santa Monica, CA 90401

                                                       Public Works Department
                                                       1685 Main Street Room 116
Santa Monica, CA, City of       0602299-07                                         Water             258-Bay Shore Lanes
                                                       City Hall
                                                       Santa Monica, CA 90401

Sarasota County Environmental                          1660 Ringling Blvd
                                180927-132896                                      Sewer             204-Gulf Gate Lanes
Services                                               Sarasota, FL 34236
Sarasota County Environmental                          1660 Ringling Blvd
                                157083-601110                                      Sewer             205-Venice Lanes
Services                                               Sarasota, FL 34236


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        Utility Provider                    Account #                    Address             Service Type           Location Serviced
Sarasota County Environmental                              1660 Ringling Blvd
                                  180927-132896                                            Water             204-Gulf Gate Lanes
Services                                                   Sarasota, FL 34236
Sarasota County Environmental                              1660 Ringling Blvd
                                  157083-601110                                            Water             205-Venice Lanes
Services                                                   Sarasota, FL 34236

                                                           Utility Services
                                                           132 E Broughton St, 2nd Floor                     112-Victory Lanes (Clsd-lsehold
Savannah, GA, City of             005175B                                                  Sewer
                                                           P O Box 1027                                      6/2013)
                                                           Savannah, GA 31402

                                                           Utility Services
                                                           132 E Broughton St, 2nd Floor
Savannah, GA, City of             037220J                                                  Sewer             113-Savannah Lanes
                                                           P O Box 1027
                                                           Savannah, GA 31402

                                                           Utility Services
                                                           132 E Broughton St, 2nd Floor                     112-Victory Lanes (Clsd-lsehold
Savannah, GA, City of             005175B                                                  Water
                                                           P O Box 1027                                      6/2013)
                                                           Savannah, GA 31402

                                                           Utility Services
                                                           132 E Broughton St, 2nd Floor
Savannah, GA, City of             037220J                                                  Water             113-Savannah Lanes
                                                           P O Box 1027
                                                           Savannah, GA 31402

SCE&G-South Carolina Electric &                            PO Box 100255
                                  2-2100-5131-1291                                         Electric          012-Charleston Lanes
Gas                                                        Columbia, SC 29202
SCE&G-South Carolina Electric &                            PO Box 100255
                                  3-2100-5092-1101                                         Electric          012-Charleston Lanes
Gas                                                        Columbia, SC 29202
SCE&G-South Carolina Electric &                            PO Box 100255
                                  8-2100-5131-0785                                         Electric          012-Charleston Lanes
Gas                                                        Columbia, SC 29202
SCE&G-South Carolina Electric &                            PO Box 100255
                                  4-2100-5091-0349                                         Electric          013-Park Lanes
Gas                                                        Columbia, SC 29202



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         Utility Provider                Account #                    Address                     Service Type          Location Serviced
SCE&G-South Carolina Electric &                         PO Box 100255
                                  0-2100-5092-1486                                              Electric          022-Ribaut Lanes
Gas                                                     Columbia, SC 29202
SCE&G-South Carolina Electric &                         PO Box 100255
                                  4-2100-5091-0349                                              Natural Gas       013-Park Lanes
Gas                                                     Columbia, SC 29202
SCE&G-South Carolina Electric &                         PO Box 100255
                                  0-2100-5092-1486                                              Natural Gas       022-Ribaut Lanes
Gas                                                     Columbia, SC 29202
                                                        Utilities
Scottsdale, AZ, City of           2003888303            7447 E. Indian School Road, Suite 110   Sewer             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Utilities
Scottsdale, AZ, City of           2003888402            7447 E. Indian School Road, Suite 110   Sewer             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Utilities
Scottsdale, AZ, City of           2004563502            7447 E. Indian School Road, Suite 110   Sewer             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Utilities
Scottsdale, AZ, City of           2003888303            7447 E. Indian School Road, Suite 110   Water             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Utilities
Scottsdale, AZ, City of           2003888402            7447 E. Indian School Road, Suite 110   Water             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Utilities
Scottsdale, AZ, City of           2004563502            7447 E. Indian School Road, Suite 110   Water             426-Frontier Lanes
                                                        Scottsdale, AZ 85251

                                                        Seattle Public Utilities
                                                        700 Fifth Avenue, Suite 4900
Seattle, WA, City of              1-1069121-418778                                              Electric          253-Imperial Lanes
                                                        PO Box 34018
                                                        Seattle, WA 98124-4018




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         Utility Provider              Account #                      Address            Service Type          Location Serviced

                                                        Seattle Public Utilities
                                                        700 Fifth Avenue, Suite 4900
Seattle, WA, City of            1-321555-280214                                        Electric          253-Imperial Lanes
                                                        PO Box 34018
                                                        Seattle, WA 98124-4018

                                                        Seattle Public Utilities
                                                        700 Fifth Avenue, Suite 4900
Seattle, WA, City of            2-532457-488296                                        Sewer             253-Imperial Lanes
                                                        PO Box 34018
                                                        Seattle, WA 98124-4018

                                                        Seattle Public Utilities
                                                        700 Fifth Avenue, Suite 4900
Seattle, WA, City of            2-520387-488296                                        Water             253-Imperial Lanes
                                                        PO Box 34018
                                                        Seattle, WA 98124-4018

                                                        Seattle Public Utilities
                                                        700 Fifth Avenue, Suite 4900
Seattle, WA, City of            2-532457-488296                                        Water             253-Imperial Lanes
                                                        PO Box 34018
                                                        Seattle, WA 98124-4018

                                                        100 Maple Avenue
SELCO - 9258                    91041375-002                                           Electric          447-Town & Country Lanes
                                                        Shrewsbury, MA 01545
                                                        Environmental Services
Seminole County, FL             48807-327252            500 West Lake Mary Blvd        Sewer             309-Casselberry Lanes
                                                        Sanford, FL 32773-7499

                                                        Environmental Services
Seminole County, FL             48807-327252            500 West Lake Mary Blvd        Water             309-Casselberry Lanes
                                                        Sanford, FL 32773-7499

                                                        Robert Tozeski
Shrewsbury, MA, Town of         62-004545               100 Maple Avenue               Sewer             447-Town & Country Lanes
                                                        Shrewsbury, MA 01545




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         Utility Provider                    Account #                        Address               Service Type          Location Serviced
                                                               Robert Tozeski
Shrewsbury, MA, Town of              62-004545                 100 Maple Avenue                   Water             447-Town & Country Lanes
                                                               Shrewsbury, MA 01545

                                                               Robert Tozeski
Shrewsbury, MA, Town of              62-004546                 100 Maple Avenue                   Water             447-Town & Country Lanes
                                                               Shrewsbury, MA 01545
                                                               Chelsea Piers Pier 62, Suite 300
Silver Screen, LLC                   restrant - SBLOCK - amf                                      Electric          076-300 New York
                                                               New York, NY 10011
                                                               Chelsea Piers Pier 62, Suite 300
Silver Screen, LLC                   restrant - SBLOCK - amf                                      Sewer             076-300 New York
                                                               New York, NY 10011
                                                               Chelsea Piers Pier 62, Suite 300
Silver Screen, LLC                   restrant - SBLOCK - amf                                      Solid Waste       076-300 New York
                                                               New York, NY 10011
                                                               Chelsea Piers Pier 62, Suite 300
Silver Screen, LLC                   restrant - SBLOCK - amf                                      Water             076-300 New York
                                                               New York, NY 10011
SMECO (Southern Maryland                                       15035 Burnt Store Road
                                     8591430000                                                   Electric          373-Waldorf Lanes
Electric Coop)                                                 Hughesville, MD 20637
                                                               14750 Brown Bridge Road
Snapping Shoals EMC                  2523439                                                      Electric          070-American Lanes
                                                               Covington, GA 30016
                                                               14750 Brown Bridge Road
Snapping Shoals EMC                  2523447                                                      Electric          070-American Lanes
                                                               Covington, GA 30016
                                                               3249 County Street
Somerset MA, Town of                 000310353600                                                 Water             226-Holiday Lanes
                                                               Somerset, MA 02726
                                                               Public Works Department
South Chicago Heights, IL, Village
                                     304-0100                  3275 Butler Ave.                   Sewer             632-Classic Lanes (New)
of
                                                               South Chicago Heights, IL 60411

                                                               Public Works Department
South Chicago Heights, IL, Village
                                     304-0100                  3275 Butler Ave.                   Water             632-Classic Lanes (New)
of
                                                               South Chicago Heights, IL 60411




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         Utility Provider                Account #                       Address            Service Type          Location Serviced
                                                           75 Fifth Avenue South
South Huntington Water District   30-1204-00               PO Box 370                     Water             239-Melville Lanes
                                                           Huntington Station, NY 11746

                                                           100 Marshall Avenue
South Milwaukee, WI, City of      002-03650-4-0            PO Box 130                     Sewer             586-South Park Lanes
                                                           South Milwaukee, WI 53172

                                                           100 Marshall Avenue
South Milwaukee, WI, City of      002-03650-4-0            PO Box 130                     Water             586-South Park Lanes
                                                           South Milwaukee, WI 53172

                                                           Administrative Offices
South Norwalk Eletric & Water     000004396                164 Water Street               Water             173-Rip Van Winkle Lanes
                                                           Norwalk, CT 06854
South Placer Municipal Utility                             5807 SPRINGVIEW DR
                                  AME0002                                                 Sewer             583-Rocklin Lanes
District                                                   Rocklin, CA 95677
                                                           220 East Morris Ave
South Salt Lake, UT, City of      2.6706.03                                               Sewer             271-Ritz Club
                                                           South Salt Lake, UT 84115
                                                           220 East Morris Ave
South Salt Lake, UT, City of      2.6706.03                                               Water             271-Ritz Club
                                                           South Salt Lake, UT 84115
                                                           PO Box 800
Southern California Edison        2-22-902-8139                                           Electric          256-Arrowhead Lanes
                                                           Rosemead, CA 91770
                                                           PO Box 800
Southern California Edison        2-22-902-8683                                           Electric          258-Bay Shore Lanes
                                                           Rosemead, CA 91770
                                                           PO Box 800
Southern California Edison        2-25-066-1162                                           Electric          259-Beverly Lanes
                                                           Rosemead, CA 91770
                                                           PO Box 800
Southern California Edison        2-25-066-1246                                           Electric          259-Beverly Lanes
                                                           Rosemead, CA 91770
                                                           PO Box 800
Southern California Edison        2-22-902-8378                                           Electric          261-Bowl-o-drome Lanes
                                                           Rosemead, CA 91770



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        Utility Provider                  Account #                      Address           Service Type           Location Serviced
                                                            PO Box 800
Southern California Edison         2-22-902-7818                                         Electric          262-Carter Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-902-6844                                         Electric          280-Hemet Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-902-9491                                         Electric          284-Valley View Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-902-5986                                         Electric          567-Cerritos Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-903-0150                                         Electric          570-Friendly Hills Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-902-6570                                         Electric          598-Visalia Lanes
                                                            Rosemead, CA 91770
                                                            PO Box 800
Southern California Edison         2-22-903-0333                                         Electric          623-Bowling Square Lanes
                                                            Rosemead, CA 91770
                                                            Centralized Correspondence
Southern California Gas (The Gas
                                   009 521 2637 3           PO Box 3150                  Natural Gas       256-Arrowhead Lanes
Co.)
                                                            San Dimas, CA 91773

                                                            Centralized Correspondence
Southern California Gas (The Gas
                                   080 618 7974 1           PO Box 3150                  Natural Gas       257-Bahama Lanes
Co.)
                                                            San Dimas, CA 91773

                                                            Centralized Correspondence
Southern California Gas (The Gas
                                   029 403 9257 0           PO Box 3150                  Natural Gas       258-Bay Shore Lanes
Co.)
                                                            San Dimas, CA 91773

                                                            Centralized Correspondence
Southern California Gas (The Gas
                                   149 800 6416 7           PO Box 3150                  Natural Gas       259-Beverly Lanes
Co.)
                                                            San Dimas, CA 91773

                                                            Centralized Correspondence
Southern California Gas (The Gas
                                   136 105 0711 6           PO Box 3150                  Natural Gas       261-Bowl-o-drome Lanes
Co.)
                                                            San Dimas, CA 91773


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        Utility Provider                  Account #                   Address           Service Type          Location Serviced
                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   022 310 8144 5        PO Box 3150                  Natural Gas       262-Carter Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   061 804 0152 0        PO Box 3150                  Natural Gas       263-El Dorado Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   007 503 2837 9        PO Box 3150                  Natural Gas       264-Mar Vista Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   108 902 8756 7        PO Box 3150                  Natural Gas       265-Midtown Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   012 723 0539 0        PO Box 3150                  Natural Gas       267-Riverside Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   148 813 2471 0        PO Box 3150                  Natural Gas       270-Woodlake Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   173 125 5154 6        PO Box 3150                  Natural Gas       280-Hemet Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   154 710 9517 2        PO Box 3150                  Natural Gas       284-Valley View Lanes
Co.)
                                                         San Dimas, CA 91773

                                                         Centralized Correspondence
Southern California Gas (The Gas
                                   118 705 9048 3        PO Box 3150                  Natural Gas       567-Cerritos Lanes
Co.)
                                                         San Dimas, CA 91773




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        Utility Provider                  Account #                      Address             Service Type           Location Serviced
                                                           Centralized Correspondence
Southern California Gas (The Gas
                                   100 307 5365 0          PO Box 3150                     Natural Gas       570-Friendly Hills Lanes
Co.)
                                                           San Dimas, CA 91773

                                                           Centralized Correspondence
Southern California Gas (The Gas
                                   125 116 7215 1          PO Box 3150                     Natural Gas       598-Visalia Lanes
Co.)
                                                           San Dimas, CA 91773

                                                           Centralized Correspondence
Southern California Gas (The Gas
                                   078 018 9160 2          PO Box 3150                     Natural Gas       623-Bowling Square Lanes
Co.)
                                                           San Dimas, CA 91773

                                                           Centralized Correspondence
Southern California Gas (The Gas
                                   015 632 3547 0          PO Box 3150                     Natural Gas       638-300 Anaheim
Co.)
                                                           San Dimas, CA 91773
                                                           855 Main Street, 8th Floor
Southern Connecticut Gas (SCG)     050-0010813-2783                                        Natural Gas       184-Saybrook Lanes
                                                           Bridgeport, CT 06604
                                                           855 Main Street, 8th Floor
Southern Connecticut Gas (SCG)     050-0010778-4204                                        Natural Gas       326-Milford Lanes
                                                           Bridgeport, CT 06604
                                                           855 Main Street, 8th Floor
Southern Connecticut Gas (SCG)     058-0000001-3118                                        Natural Gas       509-Circle Lanes
                                                           Bridgeport, CT 06604
                                                           101 Beech Street
Southern Delaware County Auth      4700008-1573                                            Sewer             277-Conchester Lanes
                                                           Boothwyn, PA 19061-4062
                                                           5241 Spring Mountain Road
Southwest Gas Corporation          421-1518288-022                                         Natural Gas       422-Squaw Peak Lanes
                                                           Las Vegas, NV 89150-0002
                                                           5241 Spring Mountain Road
Southwest Gas Corporation          421-1143718-022                                         Natural Gas       423-Christown Lanes
                                                           Las Vegas, NV 89150-0002
                                                           5241 Spring Mountain Road
Southwest Gas Corporation          421-2558713-023                                         Natural Gas       426-Frontier Lanes
                                                           Las Vegas, NV 89150-0002
                                                           2105 City West Boulevard #100
Spark Energy Gas, LP               082450001                                               Natural Gas       173-Rip Van Winkle Lanes
                                                           Houston, TX 77042



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         Utility Provider              Account #                      Address             Service Type          Location Serviced
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            2408361614400                                           Natural Gas       184-Saybrook Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            1186834847                                              Natural Gas       185-Silver Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            1186836985                                              Natural Gas       185-Silver Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            2962552167                                              Natural Gas       185-Silver Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            2531811325970                                           Natural Gas       326-Milford Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            244064177800                                            Natural Gas       509-Circle Lanes
                                                        Houston, TX 77042
                                                        2105 City West Boulevard #100
Spark Energy Gas, LP            2440641778001                                           Natural Gas       509-Circle Lanes
                                                        Houston, TX 77042
Spotsylvania County, VA -                               9104 Courthouse Road
                                051583-525660                                           Sewer             142-Fredericksburg Lanes
Treasurer                                               Spotsylvania, VA 22553
Spotsylvania County, VA -                               9104 Courthouse Road
                                051583-525660                                           Water             142-Fredericksburg Lanes
Treasurer                                               Spotsylvania, VA 22553
                                                        Headquarters
SRP -Salt River Project         807-620-003             1521 N. Project Drive           Electric          351-Glendale Lanes
                                                        Tempe, AZ 85281-1298

                                                        Headquarters
SRP -Salt River Project         271-140-005             1521 N. Project Drive           Electric          353-Tempe Village Lanes
                                                        Tempe, AZ 85281-1298

                                                        Headquarters
SRP -Salt River Project         583-040-005             1521 N. Project Drive           Electric          353-Tempe Village Lanes
                                                        Tempe, AZ 85281-1298




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         Utility Provider              Account #                      Address          Service Type          Location Serviced
                                                         Headquarters
SRP -Salt River Project         161-870-004              1521 N. Project Drive       Electric          354-Chandler Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         589-210-007              1521 N. Project Drive       Electric          384-Mesa Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         040-820-001              1521 N. Project Drive       Electric          422-Squaw Peak Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         980-720-001              1521 N. Project Drive       Electric          422-Squaw Peak Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         686-050-001              1521 N. Project Drive       Electric          423-Christown Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         144-140-003              1521 N. Project Drive       Electric          427-Peoria Lanes
                                                         Tempe, AZ 85281-1298

                                                         Headquarters
SRP -Salt River Project         105-850-006              1521 N. Project Drive       Electric          428-Mcray Plaza Lanes
                                                         Tempe, AZ 85281-1298
Stark County Sanitary -                                  1701 Mahoning Road N.E.
                                09-03504-00-9                                        Sewer             517-Hall of Fame Lanes
Engineering Dept                                         Canton, OH 44705-7901
                                                         130 North Nottawa Street
Sturgis, MI, City of            50093601*2                                           Electric          541-Sturgis Lanes
                                                         Sturgis, MI 49091-1433
                                                         130 North Nottawa Street
Sturgis, MI, City of            50093602*2                                           Electric          541-Sturgis Lanes
                                                         Sturgis, MI 49091-1433
                                                         130 North Nottawa Street
Sturgis, MI, City of            50093602*2                                           Sewer             541-Sturgis Lanes
                                                         Sturgis, MI 49091-1433


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         Utility Provider                 Account #                       Address               Service Type          Location Serviced
                                                            130 North Nottawa Street
Sturgis, MI, City of               50093602*2                                                 Water             541-Sturgis Lanes
                                                            Sturgis, MI 49091-1433
Suburban East Salem Water                                   3805 Labranch Street SE
                                   44685001                                                   Water             164-Firebird Lanes
District                                                    Salem, OR 97301

                                                            One Suburban Plaza 240 Route 10
                                                            West
Suburban Propane/NJ                1112-076019                                                Propane           368-Shady Grove Lanes
                                                            P.O. Box 206
                                                            Whippany, NJ 07981-0206

                                                            335 Yaphank Avenue
Suffolk County Sewer Dist-Ny       3175410001-7AA3                                            Sewer             237-Bay Shore Lanes
                                                            Yaphank, NY 11980-9000
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000253801                                                 Water             183-Smithtown Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000326722                                                 Water             183-Smithtown Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000059999                                                 Water             208-Babylon Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000138022                                                 Water             237-Bay Shore Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000118678                                                 Water             238-Centereach Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000214142                                                 Water             240-Sayville Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   3000301479                                                 Water             241-Shirley Lanes
NY                                                          Oakdale, NY 11769
Suffolk County Water Authority -                            4060 Sunrise Highway
                                   30 0 033 4917                                              Water             512-Commack Vet's Lanes
NY                                                          Oakdale, NY 11769
                                                            2121 Ferguson Road
Summit, MI, Township of            3302404800                                                 Sewer             542-Summit Lanes
                                                            Jackson, MI 49203-5591



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         Utility Provider                Account #                    Address                Service Type          Location Serviced
                                                        2121 Ferguson Road
Summit, MI, Township of         3302404800                                                 Water             542-Summit Lanes
                                                        Jackson, MI 49203-5591
                                                        10770 W Oakland Park Blvd
Sunrise, FL, City of            61347-88668                                                Sewer             307-Davie Lanes
                                                        Sunrise, FL 33351
                                                        10770 W Oakland Park Blvd
Sunrise, FL, City of            61347-88668                                                Water             307-Davie Lanes
                                                        Sunrise, FL 33351
                                                        10770 W Oakland Park Blvd
Sunrise, FL, City of            66249-92662                                                Water             307-Davie Lanes
                                                        Sunrise, FL 33351
                                                        Mike Herr, Interim Administrator
Tampa, FL, City of              0020337-001=8           306 East Jackson Street            Sewer             124-University Lanes
                                                        Tampa, FL 33602

                                                        Mike Herr, Interim Administrator
Tampa, FL, City of              0078437-001=8           306 East Jackson Street            Sewer             225-Florida Lanes
                                                        Tampa, FL 33602

                                                        Mike Herr, Interim Administrator
Tampa, FL, City of              0078437-001=8           306 East Jackson Street            Solid Waste       225-Florida Lanes
                                                        Tampa, FL 33602

                                                        Mike Herr, Interim Administrator
Tampa, FL, City of              0020337-001=8           306 East Jackson Street            Water             124-University Lanes
                                                        Tampa, FL 33602

                                                        Mike Herr, Interim Administrator
Tampa, FL, City of              0078437-001=8           306 East Jackson Street            Water             225-Florida Lanes
                                                        Tampa, FL 33602
Taunton Muni Lighting Plant                             33 Weir Street
                                20035975                                                   Electric          544-Taunton Lanes
(TMLP) - 870                                            Taunton, MA 02780
                                                        15 Summer St
Taunton, MA, City of            009469                                                     Water             544-Taunton Lanes
                                                        Taunton, MA 02780
                                                        PO Box 111
Teco Tampa Electric Company     0861 0585493                                               Electric          124-University Lanes
                                                        Tampa, FL 33601-0111


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         Utility Provider             Account #                       Address               Service Type           Location Serviced
                                                       PO Box 111
Teco Tampa Electric Company    0861 0651032                                               Electric          124-University Lanes
                                                       Tampa, FL 33601-0111
                                                       PO Box 111
Teco Tampa Electric Company    0481 0050433                                               Electric          225-Florida Lanes
                                                       Tampa, FL 33601-0111
                                                       PO Box 111
Teco Tampa Electric Company    0481 0367982                                               Electric          225-Florida Lanes
                                                       Tampa, FL 33601-0111
                                                       702 North Franklin Street
Teco: Peoples Gas              11028701                PO Box 2562                        Natural Gas       206-Galaxy East Lanes
                                                       Tampa, FL 33601-2562

                                                       702 North Franklin Street
Teco: Peoples Gas              11377785                PO Box 2562                        Natural Gas       207-Galaxy West Lanes
                                                       Tampa, FL 33601-2562

                                                       Public Works
Tempe, AZ, City of             4795200000              31 East 5th Street, Garden Level   Sewer             353-Tempe Village Lanes
                                                       Tempe, AZ 85281

                                                       Public Works
Tempe, AZ, City of             4795200000              31 East 5th Street, Garden Level   Water             353-Tempe Village Lanes
                                                       Tempe, AZ 85281
Tennessee-American Water                               1101 Broad Street
                               XX-XXXXXXX-9                                               Sewer             298-Tri State Lanes
Company                                                Chattanooga, TN 37402
Tennessee-American Water                               1101 Broad Street
                               XX-XXXXXXX-9                                               Water             298-Tri State Lanes
Company                                                Chattanooga, TN 37402
Tennessee-American Water                               1101 Broad Street
                               XX-XXXXXXX-4                                               Water             298-Tri State Lanes
Company                                                Chattanooga, TN 37402
                                                       City Hall
Texas City, TX - City of       17959-70655             1801 9th Avenue North              Sewer             414-Star Lanes
                                                       Texas City, TX 77590




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         Utility Provider                  Account #                      Address         Service Type          Location Serviced
                                                            City Hall
Texas City, TX - City of            17959-70655             1801 9th Avenue North       Water             414-Star Lanes
                                                            Texas City, TX 77590

                                                            1301 S. Mopac Expressway
Texas Gas Service                   910836348 1646667 91    Suite 400                   Natural Gas       558-Showplace Lanes
                                                            Austin, TX 78746
                                                            76 South Main Street
The Illuminating Company            11 00 26 0369 3 6                                   Electric          223-Brookgate Lanes
                                                            Akron, OH 44308
                                                            76 South Main Street
The Illuminating Company            11 00 26 7795 1 9                                   Electric          223-Brookgate Lanes
                                                            Akron, OH 44308
                                                            555 Main Street
The Metropolitan District CT        7079261                 PO Box 800                  Sewer             185-Silver Lanes
                                                            Hartford, CT 06142-0800

                                                            555 Main Street
The Metropolitan District CT        7079261                 PO Box 800                  Water             185-Silver Lanes
                                                            Hartford, CT 06142-0800
                                                            9500 Civic Center Drive
Thornton, CO, City of               019926-03                                           Sewer             295-Sonesta Lanes
                                                            Thornton, CO 80229
                                                            9500 Civic Center Drive
Thornton, CO, City of               019926-03                                           Water             295-Sonesta Lanes
                                                            Thornton, CO 80229
                                                            PO Box 70325                Telephone Exp.
TLD de PUERTO RICO                  000001846318                                                          AMF Bolera Paradise Lanes
                                                            San Juan, PR 00936-8325     Regular
                                                            20500 Madrona Ave.
Torrance, CA, City of - Utilities   0000640686-001322369                                Sewer             261-Bowl-o-drome Lanes
                                                            Torrance, CA 90503
                                                            20500 Madrona Ave.
Torrance, CA, City of - Utilities   0000640686-001322379                                Sewer             261-Bowl-o-drome Lanes
                                                            Torrance, CA 90503
                                                            20500 Madrona Ave.
Torrance, CA, City of - Utilities   0000640686-001322369                                Water             261-Bowl-o-drome Lanes
                                                            Torrance, CA 90503



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         Utility Provider                    Account #                       Address                  Service Type           Location Serviced
                                                               20500 Madrona Ave.
Torrance, CA, City of - Utilities   0000640686-001322379                                            Water             261-Bowl-o-drome Lanes
                                                               Torrance, CA 90503

                                    376-382 Route 22 West B1   111 Green Brook Road
Township of Green Brook, NJ                                                                         Water             536-Strike N Spare Lanes
                                    L4                         Green Brook, NJ 08812

Truckee Meadows Water                                          1355 Capital Blvd
                                    00738419                                                        Water             288-Starlite Lanes
Authority, NV                                                  Reno, NV 89502
                                                               City Hall at One Technology Center
Tulsa, OK, City of                  1031 7034 6                175 E.175 E. 2nd St                  Sewer             276-Sheridan Lanes
                                                               Tulsa, OK 74103

                                                               City Hall at One Technology Center
Tulsa, OK, City of                  1031 7045 2                175 E.175 E. 2nd St                  Sewer             276-Sheridan Lanes
                                                               Tulsa, OK 74103

                                                               City Hall at One Technology Center
Tulsa, OK, City of                  1031 7045 2                175 E.175 E. 2nd St                  Solid Waste       276-Sheridan Lanes
                                                               Tulsa, OK 74103

                                                               City Hall at One Technology Center
Tulsa, OK, City of                  1031 7034 6                175 E.175 E. 2nd St                  Water             276-Sheridan Lanes
                                                               Tulsa, OK 74103

                                                               City Hall at One Technology Center
Tulsa, OK, City of                  1031 7045 2                175 E.175 E. 2nd St                  Water             276-Sheridan Lanes
                                                               Tulsa, OK 74103
                                                               2230 6th Street
Tuscaloosa, AL, City of             032849                                                          Sewer             138-Bama Lanes
                                                               Tuscaloosa, AL 35401
                                                               2230 6th Street
Tuscaloosa, AL, City of             032849                                                          Water             138-Bama Lanes
                                                               Tuscaloosa, AL 35401
                                                               One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.           AMFB508                                                         Natural Gas       078-Garden City Lanes
                                                               Wyomissing, PA 19610



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         Utility Provider          Account #                    Address                  Service Type          Location Serviced
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB500                                                  Natural Gas       163-East Meadow Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB501                                                  Natural Gas       163-East Meadow Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB516                                                  Natural Gas       183-Smithtown Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB517                                                  Natural Gas       183-Smithtown Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB509                                                  Natural Gas       202-Sheridan Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB512                                                  Natural Gas       208-Babylon Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB513                                                  Natural Gas       208-Babylon Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB506                                                  Natural Gas       209-Plainview Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB507                                                  Natural Gas       209-Plainview Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB520                                                  Natural Gas       210-34th Avenue Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB514                                                  Natural Gas       237-Bay Shore Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB515                                                  Natural Gas       238-Centereach Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB510                                                  Natural Gas       239-Melville Lanes
                                                  Wyomissing, PA 19610
                                                  One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.     AMFB518                                                  Natural Gas       240-Sayville Lanes
                                                  Wyomissing, PA 19610



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         Utility Provider             Account #                      Address                  Service Type          Location Serviced
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB519                                                      Natural Gas       241-Shirley Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB504                                                      Natural Gas       242-Syosset Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB505                                                      Natural Gas       242-Syosset Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB511                                                      Natural Gas       512-Commack Vet's Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB523                                                      Natural Gas       526-Pin-o-rama Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB524                                                      Natural Gas       540-Strike N Spare Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB502                                                      Natural Gas       548-Wantagh Lanes
                                                       Wyomissing, PA 19610
                                                       One Meridian Boulevard, Suite 2C01
UGI Energy Services, Inc.      AMFB503                                                      Natural Gas       548-Wantagh Lanes
                                                       Wyomissing, PA 19610
                                                       UGI Gas Division Headquarters
UGI Utilities - Gas Service    504044900038            2525 North 12th Street Suite 360     Natural Gas       278-Parkway Lanes
                                                       Reading, PA 19605
                                                       PO Box 1564
United Illuminating Company    010-0000134-9595                                             Electric          326-Milford Lanes
                                                       New Haven, CT 06506-0901
                                                       PO Box 1564
United Illuminating Company    010-0000401-9674                                             Electric          509-Circle Lanes
                                                       New Haven, CT 06506-0901
                                                       PO Box 1564
United Illuminating Company    010-0000480-0255                                             Electric          509-Circle Lanes
                                                       New Haven, CT 06506-0901
                                                       Corporate Headquarters
United Water New
                               10004662512222          200 Old Hook Road                    Water             189-Wallington Lanes
Jersey/Hackensack
                                                       Harrington Park, NJ 07640



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          Utility Provider            Account #                       Address         Service Type          Location Serviced
                                                        201 Vallecitos de Oro
Vallecitos Water District      11149000-05                                          Sewer             148-Eagle Lanes
                                                        San Marcos, CA 92069-1453
                                                        201 Vallecitos de Oro
Vallecitos Water District      11149000-05                                          Water             148-Eagle Lanes
                                                        San Marcos, CA 92069-1453
                                                        201 Vallecitos de Oro
Vallecitos Water District      11149010-02                                          Water             148-Eagle Lanes
                                                        San Marcos, CA 92069-1453
                                                        Vectren Corporation
Vectren Energy Delivery        01-300124067-1123629 3   One Vectren Square          Electric          061-Arc Lanes
                                                        Evansville, IN 47708

                                                        Vectren Corporation
Vectren Energy Delivery        01-300124070-1123631 3   One Vectren Square          Electric          061-Arc Lanes
                                                        Evansville, IN 47708

                                                        Vectren Corporation
Vectren Energy Delivery        01-300124067-1123629 3   One Vectren Square          Natural Gas       061-Arc Lanes
                                                        Evansville, IN 47708

                                                        Vectren Corporation
Vectren Energy Delivery        01-300124070-1123631 3   One Vectren Square          Natural Gas       061-Arc Lanes
                                                        Evansville, IN 47708

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF All Star Lanes-Greensboro
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Circle Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF College Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Dick Weber Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Durham Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Florida Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Garden City Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Gates Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Peach Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pla Mor Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pleasant Valley Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pro Bowl Lanes - MO
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF River City Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Saratoga Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sierra Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Strike 'N Spare Lanes-MO
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   300 Long Island
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   300 New York
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000145542160 03Y     PO Box 3397                                   300 Shady Grove
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF 20th Century Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF 34th Avenue Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider            Account #                      Address         Service Type           Location Serviced
                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Airport Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Airway Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Albany Lanes - Oregon
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Alexandria Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF All Star Lanes - LA
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Alley Katz
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        10 5447 2856113850 02   PO Box 3397                                   AMF Alpha Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Alpha Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Alpine Valley Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Altamonte Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF American Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Annandale Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Arc Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Arlington Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Arrowhead Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Arvada Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Auburn Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Auburn Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Aurora Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Babylon Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bama Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bay Shore Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bay Shore Lanes - CA
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Belleview Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Beverly Lanes - CA
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Blossom Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bolingbrook Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




                                                              184
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Boulevard Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Boulevard Lanes - CA
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Boulevard Lanes - OK
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Boulevard Lanes - PA
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bowlero Lanes - WI
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bowling Square Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bowl-O-Drome Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Boynton Beach Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bradenton Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Bristol Pike Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Broadway Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Brookgate Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Camellia Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Carolina Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Carter Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Casselberry Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Centennial Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Centereach Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000831076243 36Y     PO Box 3397                                   AMF Centreville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Centreville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Cerritos Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Chandler Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Chesapeake Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Chicopee Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Circle Lanes - East Haven
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF City Limits Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Classic Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Clear Lake Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Clearwater Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF College Park Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF College Park Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Colonial Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Columbia Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Commack Vet Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Conchester Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        9386004126725        PO Box 3397                                   AMF Country Club Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Country Club Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Country Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Cranston Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000131016188 85Y     PO Box 3397                                   AMF Dale City Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Dale City Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Davie Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Deer Valley Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Deltona Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Derby Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




                                                              189
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Des Moines Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Desert Hills Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Dewey Garden Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Diamond Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Dundalk Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF E. Carolina Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Eagle Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Earle Brown Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF East Meadow Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Eastbrook Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF El Dorado Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Empire Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Euless Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Fairview Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Firebird Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Forest Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Fredericksburg Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Friendly Hills Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider            Account #                      Address         Service Type          Location Serviced
                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Galaxy East Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Galaxy West Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        516 222 0962 672 27 2   PO Box 3397                                   AMF Garden City Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Garland Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Gastonia Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Glendale Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Gulf Gate Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Hall of Fame Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Harpo's Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702




                                                                 192
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Hemet Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Hilltop Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Hoffman Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Holiday Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Humble Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Imperial Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Inca Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Independence Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Indian River Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider            Account #                      Address         Service Type          Location Serviced
                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Irving Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Kegler's Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Kings Point Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Kissimmee Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Lake Air Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        15 3112 0643368206 08   PO Box 3397                                   AMF Lakeland Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Lakeland Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Laketown Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Lancaster Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702




                                                                 194
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Land Park Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000682350462 39Y     PO Box 3397                                   AMF Laurel Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Laurel Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Leesburg Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Lewisville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Lincoln Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Littleton Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Longwood Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Lynchburg Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Lynnhaven Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Major League Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Maple Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Maplewood Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Mar Vista Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Mardi Gras Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Marietta Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Marlow Heights Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Masters Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider            Account #                      Address         Service Type          Location Serviced
                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF McRay Plaza Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Medina Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Mesa Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        01 2803 1274004829 04   PO Box 3397                                   AMF Midland Park Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Midland Park Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Midtown Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Milford Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Mission Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702

                                                       Bankruptcy Administration
                                                                                   Telephone Exp.
Verizon                        0000018116X25           PO Box 3397                                   AMF Monaco Lanes
                                                                                   Regular
                                                       Bloomington, IL 61702




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          Utility Provider            Account #                    Address         Service Type          Location Serviced
                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Moonlite Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Moore Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Mt. Lebanon Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Noble Manor Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Northglenn Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Northland Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Orchard Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        0000018116X25         PO Box 3397                                   AMF Park Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702

                                                     Bankruptcy Administration
                                                                                 Telephone Exp.
Verizon                        610 797-9846 19356y   PO Box 3397                                   AMF Parkway Lanes
                                                                                 Regular
                                                     Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Parkway Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Parkway Lanes - AL
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pembroke Pines Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Peoria Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Peoria Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Peoria Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pikesville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pin Palace Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pinole Valley Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pin-O-Rama Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Plainview Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Plainview Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Ponderosa Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Price Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pro 300 Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Pro Bowl Lanes - MO
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Redwood Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Richardson Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rip Van Winkle Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Ritchie Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Ritz Classic Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Riverside Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Riviera Lanes - OH
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rocklin Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rodeo Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rolling Meadows Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rose Bowl Lanes - MI
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Rose Bowl Lanes - North
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Savannah Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sawmill Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Saxon Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Saybrook Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sayville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Scottsdale Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Semoran Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Shea Village Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sheridan Lanes - NY
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sheridan Lanes - OK
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Shrader Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Silver Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sky Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Skyline Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Smithtown Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Snellville Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sonesta Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF South Hills Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF South Park Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Southdale Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Southshore Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Southtown Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Southwest Lanes - CA
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Spare Time Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sportsman Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Star Lanes - Asheville
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Star Lanes - Greenville
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Stardust Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Starlite Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Strathmore Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Strike 'N Spare Lanes - IL
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Strike 'N Spare Lanes - NJ
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Strike 'N Spare Lanes - NY
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Summit Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Sun Villa Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider            Account #                       Address         Service Type          Location Serviced
                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Sunny Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Sunset Lanes - VA
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Syosset Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        508 611 2982 709 006 6   PO Box 3397                                   AMF Taunton Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Taunton Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Tempe Village Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Terrace Gardens Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Thruway Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702

                                                        Bankruptcy Administration
                                                                                    Telephone Exp.
Verizon                        0000018116X25            PO Box 3397                                   AMF Timonium Lanes
                                                                                    Regular
                                                        Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.    AMF Town & Country Lanes -
Verizon                        0000018116X25        PO Box 3397
                                                                                Regular           MA
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.    AMF Town & Country Lanes -
Verizon                        0000018116X25        PO Box 3397
                                                                                Regular           MO
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Town N Country Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Towson Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Tri State Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Triangle Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Twin Star Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Union Hills Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF University Lanes - FL
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF University Lanes - NC
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Valley View Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Venice Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Visalia Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Waldorf Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Wallington Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Walnut Hill Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Wantagh Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Waukesha Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




                                                              208
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF West Allis Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF West Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Westchester Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Western Branch Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Westview Lanes - MD
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Westview Lanes - TX
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF White Plains Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Williamsburg Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Willow Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Windfern Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Windsor Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Wonder Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Woodhaven Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Woodlake Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Woodlands Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000749953599 03Y     PO Box 3397                                   AMF Woodlawn Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Woodlawn Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Woodstock Lanes
                                                                                Regular
                                                    Bloomington, IL 61702




                                                              210
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          Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF York Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   AMF Yukon Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        0000018116X25        PO Box 3397                                   POS Applications
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon                        000912200311 56y     PO Box 3397                                   Richmond District
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon Business               Y2686857             PO Box 3397                                   AMF 20th Century Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon Business               Y2686857             PO Box 3397                                   AMF 34th Avenue Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon Business               Y2686857             PO Box 3397                                   AMF Airport Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon Business               Y2686857             PO Box 3397                                   AMF Airway Lanes
                                                                                Regular
                                                    Bloomington, IL 61702

                                                    Bankruptcy Administration
                                                                                Telephone Exp.
Verizon Business               Y2686857             PO Box 3397                                   AMF Albany Lanes - Oregon
                                                                                Regular
                                                    Bloomington, IL 61702




                                                              211
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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Alexandria Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF All Star Lanes - LA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF All Star Lanes-Greensboro
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Alley Katz
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Alpha Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Alpine Valley Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Altamonte Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF American Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Annandale Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Arc Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Arlington Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Arrowhead Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Arvada Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Auburn Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Auburn Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Aurora Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Babylon Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bama Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bay Shore Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bay Shore Lanes - CA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Belleview Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Beverly Lanes - CA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Blossom Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bolingbrook Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Boulevard Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Boulevard Lanes - CA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Boulevard Lanes - OK
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bowl-A-Rama Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bowlero Lanes - WI
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bowling Square Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bowl-O-Drome Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Boynton Beach Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bradenton Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Bristol Pike Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Broadway Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Brookgate Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Camellia Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Capital Plaza Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Carolina Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Carter Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Casselberry Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Centennial Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Centereach Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Centreville Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Cerritos Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Chandler Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Chesapeake Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Chicopee Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Christown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Circle Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Circle Lanes - East Haven
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF City Limits Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Classic Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Clear Lake Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Clearwater Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF College Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF College Park Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Colonial Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Columbia Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Commack Vet Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Conchester Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Country Club Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Country Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Cranston Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Dale City Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Davie Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Deer Valley Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Deltona Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Derby Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Des Moines Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Desert Hills Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Dewey Garden Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Diamond Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Dick Weber Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Dundalk Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Durham Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF E. Carolina Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Eagle Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Earle Brown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF East Meadow Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Eastbrook Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




                                                            220
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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF El Dorado Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Empire Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Euless Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Fairview Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Firebird Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Florida Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Forest Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Fredericksburg Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Friendly Hills Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Galaxy East Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Galaxy West Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Garden City Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Garland Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Gastonia Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Gates Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Glendale Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Gulf Gate Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Hall of Fame Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Hemet Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Hilltop Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Hoffman Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Holiday Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Humble Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Hurst Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Imperial Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Inca Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Independence Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Indian River Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Irving Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Irving Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Kegler's Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Kings Point Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Kissimmee Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lake Air Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lakeland Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Laketown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




                                                            224
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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lancaster Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Land Park Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lang's Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Laurel Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Leesburg Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lewisville Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lincoln Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Littleton Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Longwood Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lynchburg Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Lynnhaven Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Major League Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Maple Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Maplewood Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Mar Vista Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Mardi Gras Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Marietta Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Marlow Heights Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Masters Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF McRay Plaza Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Medina Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Mesa Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Midland Park Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Midtown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Milford Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Mission Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Monaco Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Moonlite Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Moore Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Mt. Lebanon Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Noble Manor Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Norfolk Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Northglenn Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Northland Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Ocala Bowl
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Orchard Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Park Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Parkway Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Parkway Lanes - AL
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Peach Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pembroke Pines Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Peoria Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pikesville Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pin Palace Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pinole Valley Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pin-O-Rama Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pla Mor Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Plainview Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pleasant Valley Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Ponderosa Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Price Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pro 300 Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Pro Bowl Lanes - MO
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Ribaut Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Richardson Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rip Van Winkle Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Ritchie Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Ritz Classic Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF River City Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Riverside Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Riviera Lanes - OH
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rocklin Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rodeo Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rolling Meadows Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rose Bowl Lanes - MI
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Rose Bowl Lanes - North
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Saratoga Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Savannah Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sawmill Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Saxon Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Saybrook Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sayville Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Scottsdale Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Semoran Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Shea Village Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sheridan Lanes - NY
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sheridan Lanes - OK
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Shirley Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Shrader Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sierra Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Silver Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sky Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Skyline Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Smithtown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Snellville Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sonesta Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF South Hills Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF South Park Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Southdale Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Southshore Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Southtown Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Southwest Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Southwest Lanes - CA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Spare Time Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sportsman Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Stafford Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Star Lanes - Asheville
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Star Lanes - Greenville
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Stardust Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Starlite Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Strathmore Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Strike 'N Spare Lanes - IL
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Strike 'N Spare Lanes - NJ
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Strike 'N Spare Lanes - NY
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Strike 'N Spare Lanes-MO
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Summit Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sun Villa Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sunny Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Sunset Lanes - VA
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Syosset Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Taunton Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Tempe Village Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Terrace Gardens Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Thruway Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Timonium Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.    AMF Town & Country Lanes -
Verizon Business             Y2686857             PO Box 3397
                                                                              Regular           MA
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.    AMF Town & Country Lanes -
Verizon Business             Y2686857             PO Box 3397
                                                                              Regular           MO
                                                  Bloomington, IL 61702




                                                            237
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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Town N Country Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Towson Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Tri State Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Triangle Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Twin Star Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Union Hills Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF University Lanes - FL
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF University Lanes - NC
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Valley Lanes - OH
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Valley View Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Venice Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Visalia Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Waldorf Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Wallington Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Walnut Hill Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Wantagh Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Waukesha Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF West Allis Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF West Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Westchester Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Western Branch Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Westview Lanes - MD
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Westview Lanes - TX
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF White Plains Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Williamsburg Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Willow Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Windfern Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Windsor Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Wonder Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Woodhaven Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Woodlake Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Woodlands Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Woodlawn Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Woodstock Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF York Lanes
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   AMF Yukon Lanes
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Telephone Exp.
Verizon Business             Y2686857             PO Box 3397                                   Group Sales
                                                                              Regular
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Anaheim
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Dallas
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 New York
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   300 San Jose
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Atlanta District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Atlanta District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Atlanta District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Baltimore/Washington District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Baltimore/Washington District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Central Florida District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Central Florida District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Comp/Benefits/HRIS
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Dallas District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Dallas District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Database Management
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Deep South District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Deep South District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Denver/KC District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Denver/KC District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Denver/KC District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Denver/KC District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Employee Relations/Recruiting
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Enterprise Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Facilities (A/P Dept CP450)
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Financial Planning & Analysis
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Food & Beverage
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Great Lakes District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Great Lakes District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Group Sales
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Houston District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Houston District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Houston District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Houston District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   HR
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Long Island District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Long Island District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Los Angeles North District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Los Angeles North District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Los Angeles South District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Los Angeles South District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Loss Prevention
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Marketing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Marketing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Marketing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Marketing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Marketing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Minneapolis District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Minneapolis District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type          Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Network Services
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Northeast Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Northern New England District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Northern New England District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Ohio District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Ohio District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Oklahoma District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Oklahoma District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Pennsylvania/MD District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Pennsylvania/MD District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Phoenix District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Phoenix District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   POS Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   POS Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   POS Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   POS Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Purchasing
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Real Estate
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Real Estate
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Richmond District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Richmond District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Risk Management
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Risk Management
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   San Fran/Sacramento District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   San Fran/Sacramento District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Seattle District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   South Central Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   South Central Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   South Central Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   South Central Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Southern Florida District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Southern Florida District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Southern New England District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Southern New England District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Support Desk
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Support Desk
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Support Desk
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Training
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Virginia District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Web Applications
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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        Utility Provider           Account #                    Address         Service Type           Location Serviced
                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   West Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   West Region Cost
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Carolina District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Carolina District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Carolina District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Carolina District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Michigan District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western Michigan District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702

                                                  Bankruptcy Administration
                                                                              Cell
Verizon Wireless             4054268600001        PO Box 3397                                   Western NY District
                                                                              Phones/Pagers
                                                  Bloomington, IL 61702




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         Utility Provider               Account #                     Address              Service Type          Location Serviced
                                                        Bankruptcy Administration
                                                                                         Cell
Verizon Wireless                  4054268600001         PO Box 3397                                        Western NY District
                                                                                         Phones/Pagers
                                                        Bloomington, IL 61702
Village of Hoffman Estates, IL,                         1900 Hassell Road
                                  0393001301-02                                          Sewer             618-Hoffman Lanes
Village of                                              Hoffman Estates, IL 60195-2308
Village of Hoffman Estates, IL,                         1900 Hassell Road
                                  0393001301-02                                          Water             618-Hoffman Lanes
Village of                                              Hoffman Estates, IL 60195-2308
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118356-0218159                                     Sewer             243-Indian River Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118358-0121887                                     Sewer             245-Lynnhaven Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118356-0218159                                     Solid Waste       243-Indian River Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118358-0121887                                     Solid Waste       245-Lynnhaven Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118356-0218159                                     Water             243-Indian River Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        2401 Courthouse Drive
Virginia Beach, VA, City of       000-118358-0121887                                     Water             245-Lynnhaven Lanes
                                                        Virginia Beach, VA 23456-0157
                                                        PO Box 4569
Virginia Natural Gas              4886676940                                             Natural Gas       102-Williamsburg Lanes
                                                        Atlanta, GA 30302-4569
                                                        PO Box 4569
Virginia Natural Gas              8329873321                                             Natural Gas       108-Hanover Lanes
                                                        Atlanta, GA 30302-4569
                                                        PO Box 4569
Virginia Natural Gas              5545096361                                             Natural Gas       243-Indian River Lanes
                                                        Atlanta, GA 30302-4569
                                                        PO Box 4569
Virginia Natural Gas              7937396361                                             Natural Gas       244-Norfolk Lanes
                                                        Atlanta, GA 30302-4569
                                                        PO Box 4569
Virginia Natural Gas              6863206371                                             Natural Gas       245-Lynnhaven Lanes
                                                        Atlanta, GA 30302-4569


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         Utility Provider              Account #                      Address         Service Type           Location Serviced
                                                        PO Box 4569
Virginia Natural Gas            7652319391                                          Natural Gas       248-Chesapeake Lanes
                                                        Atlanta, GA 30302-4569
                                                        PO Box 4569
Virginia Natural Gas            7487706371                                          Natural Gas       250-York Lanes
                                                        Atlanta, GA 30302-4569
Virginia-American Water                                 2223 Duke Street
                                XX-XXXXXXX-5                                        Water             372-Dale City Lanes
Company                                                 Alexandria, VA 22314
                                                        123 West Indiana Avenue
Volusia County Water & Sewer    00100920-01                                         Sewer             402-Deltona Lanes
                                                        Deland, FL 32720-4602
                                                        123 West Indiana Avenue
Volusia County Water & Sewer    00100920-01                                         Water             402-Deltona Lanes
                                                        Deland, FL 32720-4602
                                                        425 Franklin Avenue
Waco, TX, City of               197586-213979                                       Sewer             411-Lake Air Lanes
                                                        Waco, TX 76701
                                                        425 Franklin Avenue
Waco, TX, City of               197586-153615                                       Sewer             412-Westview Lanes
                                                        Waco, TX 76701
                                                        425 Franklin Avenue
Waco, TX, City of               197586-213979                                       Solid Waste       411-Lake Air Lanes
                                                        Waco, TX 76701
                                                        425 Franklin Avenue
Waco, TX, City of               197586-153615                                       Solid Waste       412-Westview Lanes
                                                        Waco, TX 76701
                                                        425 Franklin Avenue
Waco, TX, City of               197586-213979                                       Water             411-Lake Air Lanes
                                                        Waco, TX 76701
                                                        425 Franklin Avenue
Waco, TX, City of               197586-153615                                       Water             412-Westview Lanes
                                                        Waco, TX 76701
                                                        842 Highway 78 NW
Walton EMC                      488449001                                           Electric          316-Snellville Lanes
                                                        Monroe, GA 30655
                                                        842 Highway 78 NW
Walton EMC                      764740002                                           Natural Gas       031-Masters Lanes
                                                        Monroe, GA 30655
                                                        842 Highway 78 NW
Walton EMC                      764740003                                           Natural Gas       070-American Lanes
                                                        Monroe, GA 30655



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       Utility Provider           Account #                    Address          Service Type           Location Serviced
                                                  842 Highway 78 NW
Walton EMC                  764740004                                         Natural Gas       072-Marietta Lanes
                                                  Monroe, GA 30655
                                                  842 Highway 78 NW                             112-Victory Lanes (Clsd-lsehold
Walton EMC                  764740005                                         Natural Gas
                                                  Monroe, GA 30655                              6/2013)
                                                  842 Highway 78 NW
Walton EMC                  764740006                                         Natural Gas       316-Snellville Lanes
                                                  Monroe, GA 30655
                                                  842 Highway 78 NW
Walton EMC                  764740001                                         Natural Gas       319-Chamblee Lanes
                                                  Monroe, GA 30655
                                                  842 Highway 78 NW
Walton EMC                  764740007                                         Natural Gas       408-Woodstock Lanes
                                                  Monroe, GA 30655
                                                  1100 H Street, NW
Washington Gas              3396321030            First Floor                 Natural Gas       213-Annandale Lanes
                                                  Washington, DC 20080

                                                  1100 H Street, NW
Washington Gas              3025025838            First Floor                 Natural Gas       214-Alexandria Lanes
                                                  Washington, DC 20080

                                                  1100 H Street, NW
Washington Gas              2336425018            First Floor                 Natural Gas       357-Marlow Heights Lanes
                                                  Washington, DC 20080

                                                  1100 H Street, NW
Washington Gas              2055746024            First Floor                 Natural Gas       361-College Park Lanes
                                                  Washington, DC 20080

                                                  1100 H Street, NW
Washington Gas              2109172615            First Floor                 Natural Gas       362-Capital Plaza Lanes
                                                  Washington, DC 20080

                                                  1100 H Street, NW
Washington Gas              3245197714            First Floor                 Natural Gas       372-Dale City Lanes
                                                  Washington, DC 20080




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        Utility Provider             Account #                       Address         Service Type          Location Serviced
                                                       1100 H Street, NW
Washington Gas                 3709804615              First Floor                 Natural Gas       388-Centreville Lanes
                                                       Washington, DC 20080
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1289594                                             Sewer             357-Marlow Heights Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1736743                                             Sewer             360-Laurel Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1644103                                             Sewer             361-College Park Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               0921536                                             Sewer             362-Capital Plaza Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               2119170                                             Sewer             368-Shady Grove Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1289594                                             Water             357-Marlow Heights Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1736743                                             Water             360-Laurel Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               1644103                                             Water             361-College Park Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               0921536                                             Water             362-Capital Plaza Lanes
Commission                                             Laurel, MD 20707-5902
Washington Suburban Sanitary                           14501 Sweitzer Lane
                               2119170                                             Water             368-Shady Grove Lanes
Commission                                             Laurel, MD 20707-5902
                                                       10747 Renner Blvd
WaterOne                       400100197905                                        Water             044-College Lanes
                                                       Lenexa, KS 66219
                                                       115 Delafield Street
Waukesha Water Utility         107820000                                           Sewer             599-Waukesha Lanes
                                                       Waukesha, WI 53188
                                                       115 Delafield Street
Waukesha Water Utility         107820000                                           Water             599-Waukesha Lanes
                                                       Waukesha, WI 53188


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        Utility Provider            Account #                     Address          Service Type          Location Serviced
                                                     7725 West North Avenue
Wauwatosa Water Utility      0008351001                                          Sewer             564-Bowlero Lanes
                                                     Wauwatosa, WI 53213
                                                     7725 West North Avenue
Wauwatosa Water Utility      0008351001                                          Water             564-Bowlero Lanes
                                                     Wauwatosa, WI 53213
WE Energies/Wisconsin                                231 W. Michigan St.
                             3272-366-723                                        Electric          564-Bowlero Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             4407-813-730                                        Electric          564-Bowlero Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             0258-522-619                                        Electric          586-South Park Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             1807-273-302                                        Electric          586-South Park Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             5016-688-355                                        Electric          599-Waukesha Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             3870-237-561                                        Electric          600-West Allis Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             5274-603-598                                        Electric          600-West Allis Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             1658-987-619                                        Electric          601-West Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             1831-181-591                                        Natural Gas       564-Bowlero Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             3272-366-723                                        Natural Gas       564-Bowlero Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             1807-273-302                                        Natural Gas       586-South Park Lanes
Electric/Gas                                         Milwaukee, WI 53203
WE Energies/Wisconsin                                231 W. Michigan St.
                             5016-688-355                                        Natural Gas       599-Waukesha Lanes
Electric/Gas                                         Milwaukee, WI 53203



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         Utility Provider                 Account #                       Address          Service Type          Location Serviced
WE Energies/Wisconsin                                      231 W. Michigan St.
                                   3870-237-561                                          Natural Gas       600-West Allis Lanes
Electric/Gas                                               Milwaukee, WI 53203
WE Energies/Wisconsin                                      231 W. Michigan St.
                                   5049-000-254                                          Natural Gas       601-West Lanes
Electric/Gas                                               Milwaukee, WI 53203
                                                           1000 Ridge Road
Webster, NY, Town of               MC127959                                              Sewer             516-Empire Lanes
                                                           Webster, NY 14580
                                                           101 Pennsylvania
Webster, TX, City of               01-0726-01                                            Sewer             415-Alpha Lanes
                                                           Webster, TX 77598
                                                           101 Pennsylvania
Webster, TX, City of               01-0726-01                                            Water             415-Alpha Lanes
                                                           Webster, TX 77598
West Allis Water & Sewer                                   7525 West Greenfield Avenue
                                   10383-10526                                           Sewer             600-West Allis Lanes
Utilities                                                  West Allis, WI 53214
West Allis Water & Sewer                                   7525 West Greenfield Avenue
                                   10381-528476                                          Water             600-West Allis Lanes
Utilities                                                  West Allis, WI 53214
West Allis Water & Sewer                                   7525 West Greenfield Avenue
                                   10383-10526                                           Water             600-West Allis Lanes
Utilities                                                  West Allis, WI 53214
                                                           601 S. Jefferson Street
Western Virginia Water Authority   1000223519-000120912                                  Sewer             519-Hilltop Lanes
                                                           Roanoke, VA 24011
                                                           601 S. Jefferson Street
Western Virginia Water Authority   1000223519-000120912                                  Water             519-Hilltop Lanes
                                                           Roanoke, VA 24011
                                                           Attn Legal
                                                                                         Telephone Exp.
WINDSTREAM                         061243801               600 Willowbrook Office Park                     AMF Carolina Lanes
                                                                                         Regular
                                                           Fairport, NY 14450

                                                           Attn Legal
                                                                                         Telephone Exp.
WINDSTREAM                         041483321               600 Willowbrook Office Park                     AMF Stafford Lanes
                                                                                         Regular
                                                           Fairport, NY 14450

                                                           101 N. Main St.
Winston-Salem, NC, City of         2105421                 Suite 357, City Hall          Sewer             123-Winston-salem Lanes
                                                           Winston-Salem, NC 27101


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        Utility Provider             Account #                     Address          Service Type          Location Serviced
                                                      101 N. Main St.
Winston-Salem, NC, City of    2243800                 Suite 357, City Hall        Sewer             123-Winston-salem Lanes
                                                      Winston-Salem, NC 27101

                                                      101 N. Main St.
Winston-Salem, NC, City of    2050100                 Suite 357, City Hall        Water             123-Winston-salem Lanes
                                                      Winston-Salem, NC 27101

                                                      101 N. Main St.
Winston-Salem, NC, City of    2105421                 Suite 357, City Hall        Water             123-Winston-salem Lanes
                                                      Winston-Salem, NC 27101
                                                      655 N Pioneer Ave
Woodland, CA, City of         080277-002                                          Sewer             235-Woodhaven Lanes
                                                      Woodland, CA 95776
                                                      655 N Pioneer Ave
Woodland, CA, City of         080277-002                                          Water             235-Woodhaven Lanes
                                                      Woodland, CA 95776
                                                      12453 Highway 92
Woodstock, GA, City of        2187                                                Sewer             408-Woodstock Lanes
                                                      Woodstock, GA 30188
                                                      12453 Highway 92
Woodstock, GA, City of        2187                                                Water             408-Woodstock Lanes
                                                      Woodstock, GA 30188
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          251-Earle Brown Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          274-Maplewood Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-6                                        Electric          291-Southtown Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          291-Southtown Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-0                                        Electric          292-Saxon Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-9                                        Electric          292-Saxon Lanes
Power Co.                                             Minneapolis, MN 55401


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        Utility Provider             Account #                     Address          Service Type           Location Serviced
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-3                                        Electric          293-Maple Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-2                                        Electric          634-City Limits Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          634-City Limits Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-7                                        Electric          634-City Limits Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-3                                        Electric          634-City Limits Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-8                                        Natural Gas       274-Maplewood Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Northern States                           414 Nicollet Mall
                              XX-XXXXXXX-0                                        Natural Gas       292-Saxon Lanes
Power Co.                                             Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-7                                        Electric          229-Monaco Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-4                                        Electric          295-Sonesta Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          302-Arvada Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-1                                        Electric          304-Belleview Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-8                                        Electric          330-Aurora Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-3                                        Electric          358-Northglenn Lanes
Company of CO                                         Minneapolis, MN 55401
XCEL Energy:Public Service                            414 Nicollet Mall
                              XX-XXXXXXX-9                                        Electric          430-Littleton Lanes
Company of CO                                         Minneapolis, MN 55401



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         Utility Provider             Account #                        Address       Service Type          Location Serviced
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-3                                        Electric          432-Broadway Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-7                                        Natural Gas       229-Monaco Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-4                                        Natural Gas       295-Sonesta Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-1                                        Natural Gas       302-Arvada Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-1                                        Natural Gas       304-Belleview Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-8                                        Natural Gas       330-Aurora Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-3                                        Natural Gas       358-Northglenn Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-9                                        Natural Gas       430-Littleton Lanes
Company of CO                                          Minneapolis, MN 55401
XCEL Energy:Public Service                             414 Nicollet Mall
                               XX-XXXXXXX-3                                        Natural Gas       432-Broadway Lanes
Company of CO                                          Minneapolis, MN 55401
                                                       56 Prospect St
Yankee Gas Services            57173800012                                         Natural Gas       173-Rip Van Winkle Lanes
                                                       Hartford, CT 06103
                                                       105 Service Dr
York County, VA                46120-04782                                         Sewer             250-York Lanes
                                                       Yorktown, VA 23692

                                                       Yukon City Hall
                                                       Utility Billing Dept
Yukon, OK, City of             15-0140-00                                          Sewer             092-Yukon Lanes
                                                       500 W Main St
                                                       Yukon, OK 73099




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         Utility Provider            Account #                      Address       Service Type          Location Serviced

                                                    Yukon City Hall
                                                    Utility Billing Dept
Yukon, OK, City of            15-0140-00                                        Solid Waste       092-Yukon Lanes
                                                    500 W Main St
                                                    Yukon, OK 73099

                                                    Yukon City Hall
                                                    Utility Billing Dept
Yukon, OK, City of            15-0140-00                                        Water             092-Yukon Lanes
                                                    500 W Main St
                                                    Yukon, OK 73099




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